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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CITIZENS INSURANCE COMPANY             )
OF AMERICA, et al.,                    )
                                       )
      Plaintiffs,                      )
                                       )    Civil Action No.
v.                                     )    1:19-cv-05292-MHC
                                       )
BANYAN TREE MANAGEMENT,                )
LLC; et al.,                           )
                                       )
      Defendants.                      )
                                       )
BANYAN TREE MANAGEMENT,                )
LLC; et al.,                           )
                                       )
      Third-Party Plaintiffs,          )
                                       )
      v.                               )
                                       )
STARR INDEMNITY & LIABILITY            )
COMPANY,                               )
                                       )
      Third-Party Defendant.           )

  THIRD-PARTY DEFENDANT STARR INDEMNITY & LIABILITY
COMPANY'S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION
FOR SUMMARY JUDGMENT ON BANYAN TREE MANAGEMENT, LLC
AND ALBANY DOWNTOWN HOTEL PARTNERS, LLC'S THIRD-PARTY
   COMPLAINT AND ITS THIRD-PARTY COUNTERCLAIM AND
             CROSSCLAIM AGAINST JANE DOE

      Third-Party Defendant Starr Indemnity & Liability Company ("Starr") files

this Memorandum of Law in Support of Its Motion for Summary Judgment on
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Banyan Tree Management, LLC ("Banyan") and Albany Downtown Hotel

Partners, LLC 's ("Albany") Third-Party Complaint and Its Third-Party

Counterclaim and Crossclaim Against Jane Doe, showing the Court as follows:

      In its Third-Party Counterclaim and Crossclaim for Declaratory Judgment,

Starr seeks a declaration that it has no duty to defend or indemnify Third-Party

Plaintiffs Banyan and Albany (collectively, the "Banyan Entities") from the claims

asserted in the underlying lawsuit filed by Crossclaim Defendant Jane Doe in state

court, as the claims do not fall within the coverages of the policy issued by Starr or

are otherwise excluded. The Banyan Entities, in their Third-Party Complaint, seek

a declaration that Starr must defend and indemnify them from the claims asserted

in the underlying suit.

      The Insuring Agreement of Coverage A, which provides coverage for

"bodily injury," is not triggered because the claims do not seek damages because of

"bodily injury" caused by an "occurrence." To the extent that coverage was

potentially triggered under Coverage A, Exclusion o. "Personal and Advertising

Injury" precludes coverage because any "bodily injuries" arose out of "personal

and advertising injury."

      The Insuring Agreement of Coverage B, which provides coverage for

"personal and advertising injury," is not triggered because the claims arise out of


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offenses which occurred prior to the policy period and any alleged offenses that

occurred during the policy period were not offenses arising out of the business of

the Banyan Entities.

      In addition, two endorsements to the Policy exclude coverage under both

Coverage A and Coverage B for the claims, as pled. The "Exclusion-Access Or

Disclosure Of Confidential Personal Information And Data-Related Liability-

Limited Bodily Injury Exception Not Included" endorsement (the "Access or

Disclosure Endorsement") precludes coverage because the claims asserted in the

underlying action are fundamentally based on access to and disclosure of Jane

Doe's personal naked image, her personal information or "any other type of

nonpublic information." The "Violation Of Statutes In Connection With Sending,

Transmitting Or Communicating Any Material Or Information Exclusionary

Endorsement" (the "Violation of Statutes Endorsement") precludes coverage

because the alleged liability of the Banyan Entities is also based on the illegal and

criminal acts of John Doe in violation of statutes, ordinances or regulations that

apply to the transmitting of material or information.




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                        I.    Background Information

    A. The Underlying Litigation

      On July 2, 2019, Jane Doe filed her Complaint against Banyan, Albany and

John Doe in the civil action styled Jane Doe v. Banyan Tree Management, LLC et

al., Case No. 19-C-04673-S3, State Court Of Gwinnett County State of Georgia

(the "Underlying Complaint").1 In the Underlying Complaint, Jane Doe asserts

claims for Negligence and Premises Liability against Banyan and Albany. (See

generally, Underlying Complaint) Jane Doe's claims arise out of her being

allegedly videotaped by a hidden camera while showering in her hotel room at the

Hampton Inn and Suites Albany-Downtown Hotel (the “Hotel”) during July 2015

and that video of her naked image being subsequently used in extortion attempts by

John Doe via his posting of the video on the internet and his related criminal

extortion emails to Jane Doe. (Underlying Complaint, ¶¶ 9, 10, 21 and 28)

      In the Underlying Complaint, Jane Doe alleges that she did not consent to

being recorded while fully nude in the shower and that she did not know that she

was recorded until she received a September 30, 2018 email from John Doe. (Id. at

¶¶ 10 and 11) Jane Doe alleges that the September 30, 2018 email included a link


1
 A true and accurate copy of the Underlying Complaint is attached as Exhibit 1
hereto. (Jane Doe's Objections and Responses to Starr Indemnity's Requests for
Admission, No. 2, Ex. B)

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to the video of her showering, which was publicly available on the internet. (Id. at

¶¶ 11 and 12) She alleges that later that evening she received another email from

John Doe which contained specific personal details about her. (Id. at ¶ 14)

       Jane Doe alleges that she received subsequent emails from John Doe,

including emails in which John Doe attempted to blackmail or extort money from

her under threat of publishing the video.2 (Id. at ¶¶ 15-19) Jane Doe alleges that as

of October 11, 2018, the video was posted on multiple pornographic websites and

that each posting included her full name in the video title. (Id. at ¶ 21) She alleges

that on October 26, 2018 she received an email from John Doe in which he

attempted to extort money from her, writing, inter alia, the following:

              A little bit of money and it all goes away.

              $2,000 USD TODAY. Then $1,000 USD each month for
              one year. You pay some now, a little later, and some after
              that. First payment and I stop the videos. Second
              payment less money, stay quiet. Third payment, stay
              quiet. You're buying peace. Easy right? Reply and then
              you get the BITCOIN address. So easy.

(Id. at ¶ 28) (italics in original)

       In the Underlying Complaint, Jane Doe alleges that the individual or

individuals who recorded her "knew which room she stayed in, knew her full


2
 The texts of the emails that Jane Doe asserts she received are set forth in
Exhibit 2.

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name, and knew her personal email address" and that such information was

provided to the staff of the Hotel upon check-in to her room. (Id. at ¶ 41) She

alleges that in order to have access to such personal information the person who

recorded her, John Doe, would have had to have been an employee of the Hotel.

(Id. at ¶ 43)

       Jane Doe alleges that at the time when she was recorded by the hidden

camera, Banyan managed and operated the Hotel, Albany owned the Hotel and

John Doe was an employee of Banyan and/or Albany. (Id. at ¶¶ 33, 34 and 45) She

alleges that the Banyan Entities breached the duty of care owed to ensure that she

was safe and that her privacy was maintained while she stayed at the Hotel and that

they are vicariously liable for the acts of their employees. (Id. at ¶¶ 52, 54, 58 and

59)

       Jane Doe alleges that after she received the emails from John Doe, she

suffered severe emotional distress which resulted in health issues: "Since the

incident she has sustained significant gastrointestinal issues and has lost over 30

pounds to date. Plaintiff did not have these problems prior to the incident." (Id. at ¶

46) She does not allege that her injuries were ever the result of any unwanted

touching or physical contact by any person or thing.




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     B. The Starr Policy.

         Starr issued Policy No. 1000305221181 with a policy period of July 31,

2018 through July 31, 2019 to the Named Insured "Banyan Tree Management,

LLC" (the "Starr Policy").3 Albany qualifies as an additional insured under the

terms and conditions of the Starr Policy "but only with respect to liability arising

out of the ownership, maintenance or use of that part of the premises leased to you

and shown in the Schedule[.]" (Starr Policy, Additional Insured – Managers or

Lessors of Premises endorsement)

         The Starr Policy contains, inter alia, the following terms and conditions:

               SECTION I – COVERAGES

               COVERAGE A – BODILY INJURY                            AND
               PROPERTY DAMAGE LIABILITY

               1. Insuring Agreement

                  a. We will pay those sums that the insured becomes
                     legally obligated to pay as damages because of
                     "bodily injury" or "property damage" to which this
                     insurance applies. We will have the right and duty
                     to defend the insured against any "suit" seeking
                     those damages. However, we will have no duty to
                     defend the insured against any "suit" seeking
                     damages for "bodily injury" or "property damage"
                     to which this insurance does not apply. We may, at
                     our discretion, investigate any "occurrence" and
                     settle any claim or "suit" that may result. But:

3
    A true and accurate copy of the Starr Policy is attached as Exhibit 3.

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             …

          b. This insurance applies to "bodily injury" and
             "property damage" only if:

              (1) The "bodily injury" or "property damage" is
                  caused by an "occurrence" that takes place in
                  the "coverage territory";

              (2) The "bodily injury" or "property damage"
                  occurs during the policy period; and
      …

      2. Exclusions

          This insurance does not apply to:

          o. Personal And Advertising Injury

             "Bodily injury" arising out of "personal and
             advertising injury".
      …

      COVERAGE B – PERSONAL AND ADVERTISING
      INJURY LIABILITY
      1. Insuring Agreement
         a. We will pay those sums that the insured becomes
            legally obligated to pay as damages because of
            "personal and advertising injury" to which this
            insurance applies. We will have the right and duty
            to defend the insured against any "suit" seeking
            those damages. However, we will have no duty to
            defend the insured against any "suit" seeking
            damages for "personal and advertising injury" to
            which this insurance does not apply. We may, at
            our discretion, investigate any offense and settle
            any claim or "suit" that may result. But:
            …


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                  b. This insurance applies to "personal and advertising
                     injury" caused by an offense arising out of your
                     business but only if the offense was committed in
                     the "coverage territory" during the policy period.
              …

              2. Exclusions

                  This insurance does not apply to:

                  a. Knowing Violation Of Rights Of Another

                     "Personal and advertising injury" caused by or at
                     the direction of the insured with the knowledge
                     that the act would violate the rights of another
                     and would inflict "personal and advertising
                     injury".

                  d. Criminal Acts

                     "Personal and advertising injury" arising out of a
                     criminal act committed by or at the direction of
                     the insured.

              SECTION V – DEFINITIONS
              …

              3. "Bodily injury"4 means physical injury, sickness or
                 disease, including death resulting from any of these;
                 or the following when accompanied by physical
                 injury, sickness or disease: mental anguish; shock; or
                 emotional distress.
              …
              13."Occurrence" means an accident, including
                 continuous or repeated exposure to substantially the
                 same general harmful conditions.


4
    As amended by the Bodily Injury Definition Endorsement.

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              14."Personal and advertising injury" means injury,
                 including consequential "bodily injury", arising out of
                 one or more of the following offenses:
                 …
                 c. The wrongful eviction from, wrongful entry into,
                    or invasion of the right of private occupancy of a
                    room, dwelling or premises that a person occupies,
                    committed by or on behalf of its owner, landlord or
                    lessor;
                 …

                 e. Oral or written publication, in any manner, of
                    material that violates a person's right of privacy;
                 …
     The Access Or Disclosure Endorsement adds the following exclusion to

Coverage A:

              This insurance does not apply to:
              p. Access Or Disclosure Of Confidential Or Personal
                 Information And Data-Related Liability
                 Damages arising out of:
                 (1) Any access to or disclosure of any person's or
                     organization's confidential or personal information,
                     including patents, trade secrets, processing
                     methods, customer lists, financial information,
                     credit card information, health information or any
                     other type of nonpublic information; or
                     …
     The Access Or Disclosure Endorsement adds the following exclusion to

Coverage B:




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            This insurance does not apply to:
            Access Or Disclosure Of Confidential Or Personal
            Information
            "Personal and advertising injury" arising out of any
            access to or disclosure of any person's or organization's
            confidential or personal information, including patents,
            trade secrets, processing methods, customer lists,
            financial information, credit card information, health
            information or any other type of nonpublic information.

      The Violation of Statutes Endorsement" adds the following exclusions to

Coverage A and Coverage B:

            [This insurance does not apply to] “Bodily injury” or
            “property damage” arising directly or indirectly out of
            any action or omission that violates or is alleged to
            violate any statute, ordinance, or regulation of any
            federal, state or local government, including any
            amendment of or addition to such laws, that addresses or
            applies to the sending, transmitting or communicating of
            any material or information, by any means whatsoever.
            …

            [This insurance does not apply to] “Personal and
            advertising injury” arising directly or indirectly out of
            any action or omission that violates or is alleged to
            violate any statute, ordinance, or regulation of any
            federal, state or local government, including any
            amendment of or addition to such laws, that addresses or
            applies to the sending, transmitting or communicating of
            any material or information, by any means whatsoever.

                  II.   Argument and Citations to Authority

      Starr has no duty to defend or indemnify the Banyan Entities from the claims

asserted in the Underlying Complaint because, as pled, they do not fall within the

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coverages of the Starr Policy and, even if they do potentially trigger coverage, they

are explicitly excluded under both Coverage A and Coverage B.

      Under Georgia law, an “insurer's duty to defend turns on the language of the

insurance contract and the allegations of the complaint asserted against the

insured.” City of Atlanta v. St. Paul Fire & Marine Ins., 231 Ga. App. 206, 207,

498 S.E.2d 782 (1998). “[T]he allegations of the complaint are looked to determine

whether a liability covered by the policy is asserted.” Great Am. Insurance Co. v.

McKemie, 244 Ga. 84, 85, 259 S.E.2d 39 (1979). If the facts as alleged in the

complaint even arguably bring the occurrence within the policy's coverage, the

insurer has a duty to defend the action. Id. An insurer’s duty to defend is broader

than its duty to indemnify.” Shafe v. American States Ins. Co., 288 Ga.App. 315,

317, 653 S.E.2d 315 (2007) (citing Penn–America Ins. Co. v. Disabled American

Veterans, 224 Ga.App. 557, 559, 481 S.E.2d 850 (1997). Thus, an insurer that has

no duty to defend has no duty to indemnify.

   A. Jane Doe does not allege claims that fall within the scope of Coverage A.

      The scope of Coverage A is for sums an insured becomes legally obligated

to pay for "bodily injury” occurring during the policy period which is caused by an

"occurrence.” Thus, to potentially fall within the coverage, there must be a an

alleged "occurrence" and alleged resulting "bodily injury."



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      1. Jane Doe does not allege claims for “bodily injury.”

      Jane Doe's alleged injuries do not meet the definition of “bodily injury,”

which the Starr Policy defines as “physical injury, sickness or disease, including

death resulting from any of these; or the following when accompanied by physical

injury, sickness or disease: mental anguish; shock; or emotional distress.” Under

Georgia law, for emotional distress to constitute “bodily injury,” there must have

been at a minimum some form of physical, unwanted touching. See Nationwide

Mut Fire Ins. Co. v. Somers, 264 Ga.App. 421, 427, 591 S.E.2d 430 (2003);

Anderson v. Southern Guaranty Ins. Co. of Georgia, 235 Ga.App. 306, 307, 508

S.E.2d 726 (1999); O'Dell v. St. Paul Fire & Marine Ins. Co., 223 Ga. App. 578,

579-580, 478 S.E.2d 418 (1996); Presidential Hotel v. Canal Ins. Co., 188

Ga.App. 609, 611, 373 S.E.2d 671 (1988). Jane Doe does not allege any physical

contact by anyone or anything. She alleges only mental anguish as a result of

receiving the threatening emails and learning of the disclosure of the illegally

obtained videotape of her on the internet followed by gastrointestinal issues and

weight loss. Thus, Jane Doe does not allege "bodily injury" as defined by the Starr

Policy, and the claims fall outside of Coverage A.5



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  In addition, the Underlying Complaint does not contain any allegations of
"property damage."

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      2. Jane Doe does not allege injuries caused by an “occurrence.”

      The Starr Policy defines an “occurrence as “an accident, including

continuous or repeated exposure to substantially the same general harmful

conditions.” The term “accident” is unambiguous and "is defined as an event which

takes place without one’s foresight, expectation or design.” Rucker v. Columbia

Nat. Ins. Co., 307 Ga.App. 444, 447, 205 S.E.2d 270 (2010) (citing Nationwide &

etc. Ins. Co. v. Somers, 264 Ga.App. 421, 426, 591 S.E.2d 430 (2003)); accord

QBE Ins. Co. v. Couch Pipeline & etc., 303 Ga. App. 196, 198, 692 S.E.2d 795

(2010)). Policies that cover injuries caused by an accident concern an injury due to

accidental means: “[O]ne that is the unexpected result of an unforeseen or

unexpected act that was involuntary or unintentionally done.” Provident Life and

Acc. Ins. Co. v. Hallum, 276 Ga. 147, 148, 576 S.E.2d 844 (2003) (citing Winters

v. Reliance Standard Life Ins. Co., 209 Ga.App. 369, 433 S.E.2d 363 (1993)).6

Deliberate acts with expected consequences are not accidents. See Georgia Farm

Bureau Mut. Ins. Co. v. Hall County, 262 Ga.App. 810, 586 S.E.2d 715 (2003);

City of Atlanta v. St. Paul Fire & Marine Ins. Co., 231 Ga.App. 206, 498 S.E.2d

782 (1998). Whether the specific injuries were intended is immaterial as to whether

they were the result of an accident. Meritplan Ins. Co. v. Leverette, 552 Fed.Appx.

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  This is distinguished from an accidental injury which “is an injury that is
unexpected but may arise from a conscious voluntary act.” Provident Life, supra.

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900. 902 (11th Cir. 2014) (unpublished). There is no insured "occurrence" under

Coverage A as concerns the vicarious liability of an employer, inclusive of

negligent hiring, retention and supervision, for the non-accidental, intentional,

wrongful acts of its employee as insurance policies do not cover any other claims

as a concurrent cause of harm where, but for a harm that is not within the scope of

the policy (i.e., intentional conduct), there would be no claim. See Presidential

Hotel, supra at 673; SCI Liquidating Corp. v. Hartford Fire Ins. Co., 181 F.3d

1210, 1216-17 (11th Cir. 2011); Maryland Cas. Co. v. Jacob Ward MD LLC, Case

No. 1:14-CV-160-MHC; 2015 WL 11237022, *6-7 (N.D.Ga. July 31, 2015);

Maryland Casualty Co. v. Salon Avenue Suite 2, Case No. 1:13–CV–3056–TWT;

2014 WL 4925623, *5 (N.D.Ga. Sept. 29, 2014); ApolloMD Physician Services

GA, LLC v. Traverlers Indem. Co. of Amer., No. 1:11-cv-3973-WSD, 2013 WL

12244918, 9 (N.D.Ga. Feb. 22, 2013).

      Jane Doe alleges that she sustained her injuries due to John Doe's

intentional, wrongful acts in 2015 and his intentional, wrongful acts in 2018. None

of John Doe's alleged acts are accidental in nature. Jane Doe alleges that the

Banyan Entities are vicariously liable for John Doe's intentional, wrongful acts

(alleging the filming of Jane Doe was done within the scope of his employment)

inclusive of the Banyan Entities negligence in hiring and supervising John Doe and


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allowing him to create an unsafe condition in the hotel room by placing his camera

in the bathroom.

      Any liability of the Banyan Entities is premised on John Doe’s alleged

intentional wrongful acts. Thus, the claims against the Banyan Entities do not fall

within Coverage A because they were not caused by an “occurrence.”

      B. Exclusion o. precludes coverage under Coverage A.

      Exclusion o. "Personal and Advertising Injury" states that there is no

coverage for "'[b]odily injury' arising out of 'personal and advertising injury'." The

Policy defines "personal and advertising injury" to include "injury, including

consequential 'bodily injury,' arising out of one or more of the following offenses,"

including the "invasion of the right of private occupancy of a room, dwelling or

premises that a person occupies, committed by or on behalf of its owner, landlord

or lessor" or "[o]ral or written publication, in any manner, of material that violates

a person's right of privacy" (emphasis added).

      In Georgia, the phrase "arising out of" is given broad meaning even in the

context of an exclusion. Fireman's Fund Ins. Co. v. UGA Athletic Ass'n Inc., 288

Ga.App. 355, 366, 654 S.E.2d 207 (2007). Exclusions with such language apply if

“but for” the excluded act there would be no claim against the insured. Id. (citing

Continental Ca. Co. v. HIS Financial Svcs., 266 Ga. 260, 466 S.E.2d 4 (1996)).



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      Jane Doe's claims are based upon John Doe recording her while nude in the

shower without her consent and publishing the video of her naked image on

various websites and to people that she knew. She does not allege that John Doe

physically assaulted her. Although she alleges that she suffered injuries because

she suffered weight loss, gastritis, insomnia and dermatological issues, as pled,

those alleged injuries occurred after she became aware of the publication of the

video and were caused by or as a consequence of that alleged invasion of privacy,

i.e., "personal and advertising injury." See Cabaniss v. Hipsley, 114 Ga.App. 367,

151 S.E.2d 496 (1966) (providing examples of cases involving the invasion of the

right of privacy including where eavesdropping equipment was placed in plaintiff's

hospital room). Stated differently, "but for" the alleged invasion of her right of

privacy through recording her without her consent and publishing that video of her,

Jane Doe would not have suffered any alleged injuries. Thus, even if, for any

reason, the Court found her alleged injuries constitute "bodily injury" caused by an

"occurrence," Exclusion o. "Personal and Advertising Injury" would preclude

coverage under Coverage A, as any "bodily injury" arose out of "personal and

advertising injury." See CMS Security, Inc. v. Burlington Ins. Co., No. c-09-2217,

2010 WL 11545578, *2 (N.D.Cal. Feb. 23, 2010).




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   C. Jane Does' claims do not fall within Coverage B of the Starr Policy.

      To be covered under Coverage B, the injuries claimed by Jane Doe initially

must fall within the definition of "[p]ersonal and advertising injury" and the

“personal and advertising injury" must be "caused by an offense arising out of your

business but only if the offense was committed in the coverage territory during the

policy period" (emphasis added).

      As pled, Jane Doe alleges two distinct periods during which alleged acts

occurred upon which she bases her claim: July 2015, when she was in the hotel

room and John Doe invaded her privacy by illegally videotaping her and 2018,

when John Doe invaded her right of privacy by posting the video of her personal

image on the internet and criminally attempting to extort her.

      There are no allegations that part of the legitimate business of the Banyan

Entities is placing hidden cameras in guest's bathrooms to film them in the shower,

nor is that a reasonable construction of the pleadings. See Salon Avenue Suite 2,

supra (finding that allegation of videotaping women in various states of undress is

not a legitimate part of the Salon's business so the claimed injury did not arise out

of the insured's business to be covered under Coverage B).

      However, even if the allegations, however implausible, are construed to

mean John Doe on behalf of the Banyan Entities as part of their business placed a



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camera in the hotel bathroom and filmed Jane Doe nude in bathroom, there is no

question that this purported activity is specifically alleged to have occurred in

2015. Thus, the invasion of Jane Doe's privacy in 2015 and the capturing of her

personal image on video or other media (which is the necessary "offense"

underpinning all her claims), was not an offense "committed . . . during the policy

period" of the Starr Policy, which incepted July 31, 2018, and any damages as a

result of such offense do not fall within the coverage of Coverage B. See

Nationwide Prop. & Cas. Ins. Co. v. Sewell Vault and Monument, Inc., No. 3:11-

cv-92-TCB, 2012 WL 13028694 (N.D.Ga. Feb. 13, 2012) (finding no coverage

because offense occurred prior to the inception of the policy).

      Turning to the time period of relevance for the Starr Policy, while Jane Doe

in the beginning of the Complaint asserts a broad allegation that "[a]t all material

times referred to in this Complaint, John Doe was conducting himself in the

normal course of business acting within the scope of his employment with one or

more of the named Defendants" (Underlying Complaint, ¶ 8), Jane Doe does not

affirmatively allege that John Doe was an employee of the Banyan Entities in 2018

or that he was acting in the scope of his employment with them in 2018 when he

published the video on the internet and conducted his blackmail campaign against

Jane Doe. To the contrary such actions by John Doe in 2018 are clearly of a sick,


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personal motive, illegal and far beyond any legitimate business purpose. Jane Doe

does not allege that during 2018 the Banyan Entities participated in any of the

criminal acts of John Doe or that his illegal acts in 2018 were in any manner

known and permitted by them or done by or on their behalf.

      Pointedly, there is no allegation that the Banyan Entities published the video

in 2018. Absent an insured under the Starr Policy having published the material

during the policy period so as to have committed an offense, coverage for

"Personal and advertising injury" is not triggered.7 See St. Paul Fire & Marine Ins.

Co. v. Rosen Millennium, Inc., 337 F.Supp.3d 1176 (M.D. Fla. 2018) (finding that

the insured had to be the publisher for coverage to be triggered); Innovak

International, Inc. v. Hanover Ins. Co., 280 F.Supp.3d 1340 (M.D. Fla 2017)

(stating "the only plausible interpretation of the [insurance policy] is that it requires

the insured to be the publisher of the [private information]").

      Because the Banyan Entities are not alleged to have published the offending

material and because John Doe's illegal publications and criminal extortion emails

in 2018 are not alleged as "offenses" arising out of the business of the Banyan

Entities (and which cannot reasonably be construed to be "offenses arising out of


7
 John Doe would qualify as an insured in 2018 only if he was an employee of the
Banyan Entities and only for acts within the scope of his employment. (Starr
Policy, Section II,2.(a).

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their business) and the Banyan Entities are not alleged to have committed any

offense during the policy period, there is no coverage under Coverage B for any

damages as a result publications by John Doe in 2018. See Salon Avenue Suite 2,

supra.

         If the allegations could be construed as John Doe having committed an

offense during the policy period, which arose out of the Banyan Entities' business,

then Exclusion a. "Knowing Violation of Rights of Another" and Exclusion d.

"Criminal Acts" would preclude coverage. If the acts of John Doe making the

video available on the internet and sending threatening, extortionist emails to Jane

Doe, which are without a doubt criminal acts that violated her rights,8 were part of

the Banyan Entities' legitimate business purpose, then those acts must have been

undertaken with the knowledge and consent of the Banyan Entities, as one could

not have sent the threatening, extortionist emails and posted the naked images of

Jane Doe on the internet without her consent without knowing that they were

committing criminal acts or violating her rights. Thus, coverage would be

precluded.




   8
       See e.g., N.Y. PENAL CODE § 155.05; 18 U.S.C. § 875.

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   D. The Access Or Disclosure Endorsement precludes coverage under
      Coverage A and Coverage B.

      Coverage A and Coverage B are subject to the exclusionary terms of the

Access Or Disclosure Endorsement that provides the coverages do not apply to

damages arising out of any access to or disclosure of any person's personal

information or "any other type of nonpublic information" (emphasis added). See

Cooper v. Westfield Ins. Co., 488 F.Supp.3d 430 (S.D.W.Va. 2020) (finding the

exclusion to apply unambiguously regardless of intent of actor); State Auto Prop.

and Cas. Ins. Co. v. Campbell, Case No. 5:18-cv-173; 2020 WL 8188426

(N.D.W.Va. April 17, 2020) ("The language of the Policy is unambiguous that the

mere access, regardless of intent, of an individual's confidential or personal

information is excluded").

       Jane Doe alleges that John Doe illegally gained access to Jane Doe's naked

image and disclosed her naked image with reference to her name on porn sites and

to others. Jane Doe's naked image linked to her name is indisputably "nonpublic

information" and protected personal information. See Lake v. Wal-Mart Stores,

Inc., 582 N.W.2d 231 (Minn. 1998) (recognizing tort of invasion of privacy and

stating, "One's naked body is a very private part of one's person and generally

known to others only by choice. This is a type of privacy interest worthy of

protection"). Furthermore, Jane Doe alleges that an integral part of her claim is that

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John Doe improperly obtained access to her name, addresses, email and other

personal data information linked to the specific date and specific room that she

stayed in at the Hotel, which was non-public information. Having this nonpublic

information and the confidential video of her nude in the shower gave John Doe

the ability to disclose the private image and private information by posting the

video with her name referenced and then later track down Jane Doe and conduct a

blackmail campaign against her. Thus, the Access Or Disclosure Endorsement

precludes coverage under Coverage A and Coverage B for all of Jane Doe's

injuries.

   E. The Violation Of Statutes Endorsement precludes coverage under
      Coverage A and Coverage B.

       Coverage A and Coverage B are subject to the Violation Of Statutes

Endorsement, which states that the coverages do not apply to "bodily injury" or

"personal and advertising injury" "arising directly or indirectly out of any action or

omission that violates or is alleged to violate any statute, ordinance or regulation of

any federal, state, or local government that addresses or applies to sending,

transmitting or communicating of any material or information by any means

whatsoever."

       After John Doe allegedly gained unauthorized access to Jane Doe's naked

image with her full name, address and date and room of her stay, he then used that

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information through internet transmissions in an effort to extort money from Jane

Doe: "A little bit of money and it all goes away." He also posted the illegally

obtained footage of her private image on public internet pages.

      John Doe's alleged transmissions of his emails and publications of her video

whereby he attempted to extort from Jane Doe additional video or pictures of her

nude and money are all acts in violation of federal and state statutes and

regulations. For example, New York, where the Hotel is located, criminalizes the

dissemination of an unlawful surveillance image. N.Y. PENAL CODE § 250.45

and 55. New York also has a statutory right of privacy. N.Y. CIV. RIGHTS CODE

§ 50. The statute criminalizes a person who uses an individual's image for

commercial exploitation without that subject's written consent. New York

criminalizes extortion. N.Y. PENAL CODE § 155.05(e). Blackmail is also a

federal crime. 18 U.S.C. § 875. The alleged conduct falls squarely within terms of

the Violation Of Statutes Endorsement whether Jane Doe sustained her injuries in

2015 or later in 2018; thus, coverage is precluded. See Steadfast Ins. Co. v. Tomei,

Case No. 477 WDA 2015; 2016 WL 2989982 (Pa.Super. May 24, 2016) (finding

that exclusion for distribution of material in violation of any statute, ordinance or

regulation that prohibits the sending, transmitting, communicating or distribution




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of material applied to claims based on the secret recording of and posting of nude

videos on the internet).

                                IV.   Conclusion

      For the reasons stated above, Starr has no duty under the Starr Policy to

defend or indemnify the Banyan Entities from the claims asserted in the

Underlying Complaint, and Starr respectfully requests the Court to grant its Motion

for Summary Judgment as to the Banyan Defendant's Third-Party Complaint and

Starr's Third-Party Counterclaim and Crossclaim, declaring that Starr has no duty

to defend or indemnify the Banyan Entities from the claims asserted in the

Underlying Complaint.

      Respectfully submitted this 23rd day of September, 2021.

                                         HALL BOOTH SMITH, P.C.

                                         /s/Thomas K. Wingfield
                                         C. Michael Johnson
                                         Georgia Bar No. 392550
191 Peachtree Street, NE                 Thomas K. Wingfield
Suite 2900                               Georgia Bar No. 770653
Atlanta, GA 30303-1775
Phone: 404-954-5000
mjohnson@hallboothsmith.com
twingfield@hallboothsmith.com            Counsel for Starr Indemnity & Liability
                                           Company




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                 LR 7.1 CERTIFICATE OF COMPLIANCE

      Counsel certifies, pursuant to LR 7.1 that the forgoing Memorandum of Law

has been prepared using Times New Roman (14 point font) and complies with the

formatting requirements of LR 5.1

                                       /s/Thomas K. Wingfield
                                       Thomas K. Wingfield
                                       Ga. Bar No. 770653
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this day I served the foregoing THIRD-

PARTY DEFENDANT STARR INDEMNITY & LIABILITY COMPANY'S

MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR

SUMMARY JUDGMENT ON BANYAN TREE MANAGEMENT, LLC AND

ALBANY DOWNTOWN HOTEL PARTNERS, LLC'S THIRD-PARTY

COMPLAINT         AND      ITS   THIRD-PARTY         COUNTERCLAIM           AND

CROSSCLAIM AGAINST JANE DOE by serving all counsel of record via

electronic filing through NextGen portal with the United States District Court for

the Northern District of Georgia to the following:

Joel Scott Isenberg, Esq.                  Spencer McCartney Taylor, I, Esq.
Kenneth W. Boyles, Jr., Esq.               BARZE TAYLOR NOLES
Susan Haygood McCurry, Esq.                   LOWTHER LLC
ELY & ISENBERG, LLC                        2204 Lakeshore Drive
Suite 380, 2100B SouthBridge Parkway       Suite 330
Birmingham, AL 35209                       Birmingham, AL 35209
jisenberg@elylawllc.com                    staylor@htnllaw.com
kboyles@elylawllc.com
smccurry@elylawllc.com

Counsel for Citizens Insurance Company Counsel for Banyan Tree
of America – And – Massachusetts Bay Management, LLC – And – Albany
Insurance Company                      Downtown Hotel Partners, LLC
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Charles L. Clay, Jr., Esq.                    Shattuck Ely, Esq.
PRATT CLAY, LLC                               Derek Schwahn, Esq.
4401 Northside Parkway, N.W.                  FELLOWS LA BRIOLA, LLP
Suite 520                                     225 Peachtree Street, N.E.
Atlanta, GA 30327                             South Tower, Suite 2300
chuck@chuckclay.com                           Atlanta, GA 30303-1731
                                              dschwahn@fellab.com
                                              tely@fellab.com

Counsel for Jane Doe                          Counsel for Banyan Tree
                                              Management, LLC – And – Albany
                                              Downtown Hotel Partners, LLC
Richard Hoyle Hill, Jr., Esq.                 Micajah D. Boatright, Esq.
MABRY & MCCLELLAND                            Roland T. Christensen, Esq.
2200 Century Parkway, N.E.                    ARNOLD & ITKIN- TX
Tenth Floor                                   6009 Memorial Drive
Atlanta, GA 30345-3105                        Houston, TX 77007
rhill@m-mlegal.com                            Cboatright@arnolditkin.com
                                              Rchristensen@arnolditkin.com

Counsel for Westfield Insurance               Counsel for Jane Doe
Company

      This 23rd day of September, 2021.

                                     HALL BOOTH SMITH, P.C.

                                     /s/Thomas K. Wingfield
                                     Thomas K. Wingfield
                                     Georgia Bar No. 770653

                                     Counsel for Starr Indemnity & Liability
                                       Company




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      EXHIBIT “1”
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                                                       *S66556*


  Entity Name: Banyan Tree Management, LLC
    Jurisdiction: GA
           Date: 7/9/2019
 Receipt Method: Process Server
  Case Number: 19-C-04673-S3
        Plaintiff: JANE DOE
      Defendant: BANYAN TREE MANAGEMENT, LLC
 Document Type: Summons & Complaint




                              Exhibit 1
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      EXHIBIT “2”
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              "On October 1, 2018, Plaintiff received another email from the same

                sender stating: "'I'm a perv. I don't hurt anyone. I like to watch. No

                need to worry about me 1 just like to watch and then I move on to the

                next." (Underlying Complaint, ¶ 15) (italics in original)

              "Later that day on October 1, 2018, Plaintiff received another email

                from the same sender stating: 'Promise me my own show. That's the

                hottest. No need to show your face. Then 1 disappear and remove the

                videos forever before they get copied on every website.'" (Id. at ¶ 16)

                (italics in original)

              "Without responding, Plaintiff received another email from the same

                sender on October 1, 2018, stating: 'Are you here still? I know it's you.

                I don't want to embarrass you. Please reply before it's too late to stop

                it.'" (Id. at ¶ 17) (italics in original)

              "Just minutes later, the video of Plaintiff, once again with her full

                name, was posted on the website pornhub.com." (Id. at ¶ 18)

              "In the early evening of October 1, 2018, Plaintiff received another

                email from the same sender now threatening: 'You have until midnight

                to send me something good. Or I will post videos, your name, info

                everywhere. Then I send to people you know. You can enjoy being

                famous.'" (Id. at ¶ 19) (italics in original)


                                        EXHIBIT 2
71312419-1
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      EXHIBIT “3”
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  Starr Indemnity & Liability Company Commercial Casualty Impairment
                              Liability Program
                       Claim Reporting Guidelines


Please Send All Commercial Casualty Impairment Loss Notices To:

    Sedgwick
    PO Box 14155
    Lexington, KY 40512


    Claims E-mail: 6260StarrCompanies@sedgwickcms.com
    Claims Fax:     (855) 563-4382
    After hours emergency call service:
                    (855) 498-2379

Our preferred method of reporting is by email but Loss Notices may be submitted via certified mail or faxed. If
immediate attention is needed, e-mailing or faxing the Loss Notice and/or Claim or Litigation information is
strongly recommended. If you have a claim related question and need to contact Sedgwick by telephone,
please do so at (855) 498-2379.

Consult Your Policy For Loss Reporting Requirements

Your policy states when to report a loss and details the information to be submitted with a First Notice of Loss.
This is often found in the General Conditions section, although it may be changed by an endorsement.
Additionally, the following information/documentation will always be helpful in assisting us with our evaluation.

    •     Citing Starr Indemnity & Liability Company policy, or claim number, in all correspondence.
    •     Providing a copy of any suit, demand for arbitration or mediation, a governmental
          agency notice, claim letter or any similar notice.
    •     Sending a copy of any internal reports related to the loss.
    •     Forwarding copies of status reports prepared by your defense counsel and/or your claim
          handler, if the case has been pending for a period of time.

Our claim’s administrator will always acknowledge each First Notice of Loss, initiate contact to open lines of
communication, and will request any additional information that may be needed. Our formal claims
acknowledgment will identify the person responsible for handling your reported Claim, and their specific
contact information.

If you have questions or would like to discuss a specific loss with one of our Claims Team members, please
feel free to contact us. Thank you.




                                            Exhibit 3
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                 Dallas, TX 1-866-519-2522                                                                        REDACTED



      COMMERCIAL GENERAL LIABILITY, INCLUDING
          LIQUOR LIABILITY, DECLARATIONS
POLICY NO:             1000305221181
RENEWAL OF NO: New
NAMED INSURED & MAILING ADDRESS:
Banyan Tree Management, LLC
3384 Peachtree Rd NE, Suite 875
Atlanta GA 30326

PRODUCER'S NAME & MAILING ADDRESS
Mcgriff, Selbels & Williams, Inc
5605 Glenridge Dr. Suite 300
Atlanta GA 30342

POLICY PERIOD: From July 31, 2018 to July 31, 2019 at 12:01 A.M. Standard Time at your mailing
address shown above.

FORM OF BUSINESS:     INDIVIDUAL PARTNERSHIP JOINT VENTURE X LIMITED
LIABILITY COMPANY   ORGANIZATION, INCLUDING A CORPORATION (BUT NOT INCLUDING A
PARTNERSHIP, JOINT VENTURE OR LIMITED LIABILITY COMPANY) TRUST

DESCRIPTION OF BUSINESS: HOTEL MANAGEMENT

LOCATION OF ALL PREMISES YOU OWN, RENT OR OCCUPY:                                                        ON FILE WITH
COMPANY
IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF
THIS POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS
POLICY.

POLICY PREMIUM:
PREMIUM FOR TERRORISM COVERAGE:                                             (included in Policy Premium)
MINIMUM PREMIUM:

SCHEDULE OF STATE TAXES, FEES AND SURCHARGES, IF APPLICABLE:**
**State Taxes, Fees and Surcharges shown are in addition to the above referenced Policy Premium.

ENDORSEMENTS ATTACHED TO THIS POLICY: (SEE ATTACHED FORMS SCHEDULE)

THESE DECLARATIONS, TOGETHER WITH THE COMMON POLICY CONDITIONS AND COVERAGE
FORM(S) AND ANY ENDORSEMENT(S), COMPLETE THE ABOVE NUMBERED POLICY.

Date Issued: September 27, 2018




GLLL 001 D (03/17)                                                                                                      Page 1 of 3
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                                                                                                                                  REDACTED

                       Dallas, TX 1-866-519-2522



                                                        LIMITS OF INSURANCE
GENERAL LIABILITY
EACH OCCURRENCE LIMIT                                                           $      1,000,000
DAMAGE TO PREMISES RENTED TO YOU LIMIT                                          $      1,000,000 ANY ONE PREMISES
MEDICAL EXPENSE LIMIT ANY ONE PERSON                                             $          10,000 ANY ONE PERSON
PERSONAL & ADVERTISING INJURY LIMIT                                              $      1,000,000 ANY ONE PERSON OR ORGANIZATION
GENERAL AGGREGATE                             $                                        2,000,000
PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT $                                        2,000,000
LIQUOR LIABILITY
EACH COMMON CAUSE LIMIT                                                         $      1,000,000
AGGREGATE LIMIT                                                                 $      2,000,000

                                         RETROACTIVE DATE (CG 00 02 ONLY)

 RETROACTIVE DATE:         NONE

                     (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES.)


                                         RETROACTIVE DATE (CG 00 34 ONLY)

 RETROACTIVE DATE:         NONE

                     (ENTER DATE OR "NONE" IF NO RETROACTIVE DATE APPLIES.)


                                               CLASSIFICATION AND PREMIUM
                                                                                                 RATE                         ADVANCE PREMIUM
CLASSIFICATION                           CODE            PREMIUM                 Prem/Ops               Prod/Comp         Prem/Ops     Prod/Comp
                                          NO.              BASE                                               Ops                         Ops
ON FILE WITH COMPANY FOR THE                                                    $                       $                 $           $
LOCATIONS
                                                                                                                         Total:
                                                       A = AREA
                                                       M = ADMISSIONS
                                                       O = TOTAL OPERATING EXPENSES
                                                       P = PAYROLL
                                                       S = GROSS SALES
                                                       T = OTHER
                                                       U = UNITS (EACH)

 AUDIT PERIOD (IF APPLICABLE)             X   ANNUAL                         SEMI-ANNUAL                             QUARTERLY       MONTHLY




      GLLL 001 D (03/17)                                                                                                                  Page 2 of 3
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                 Dallas, TX 1-866-519-2522




ADDRESS OF INSURER AND ITS AUTHORIZED AGENTS FOR NOTICES UNDER THIS
POLICY
     A. Claims - Related Notices:

         New Claims must be reported to:                                              Address
         Sedgwick                                                                     PO Box 14155
         6260StarrCompanies@sedgwickcms.com                                           Lexington KY 40512
         Claims Fax Number : (855) 563-4382
         Claims Phone Number : (855) 498-2379

         After hours emergency service call: (855) 498-2379


         All Other Notices to the Insurer:                                            Starr Indemnity & Liability Company
                                                                                      399 Park Avenue 8th Floor
                                                                                      New York, NY 10022




THIS POLICY CONTAINS AGGREGATE LIMITS; REFER TO SECTION III - LIMITS OF
INSURANCE OF THE APPLICABLE COVERAGE PART(S) FOR DETAILS

      The foregoing discloses all hazards insured hereunder known to exist at the inception
      date of this Policy, unless otherwise stated herein by endorsement on this Policy.




 COUNTERSIGNED                  September 27, 2018                              BY
                                           DATE                                          AUTHORIZED REPRESENTATIVE

Signed for STARR INDEMNITY & LIABILITY COMPANY




           Steve Blakey, President                                          Nehemiah E. Ginsburg, General Counsel




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                    Dallas, TX 1-866-519-2522




                                                                                                                          INTERLINE
                                                                                                                     SIIL-0000 (1212)


                                                SIGNATURE PAGE

In witness whereof, we, as officers of the stock Company designated on the Declarations Page, have caused this
policy to be executed and attested. If required by state law, this policy shall not be valid unless countersigned by
our authorized representative.




                                                               Steve Blakey
                                                                President




                                                    Nehemiah E. Ginsburg
                                                Senior Counsel and Senior Vice
                                                          President




SIIL 0000 (12/12)                                                                                                           Page 1 of 1


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                                                                                                   IL P 001 01 04

  U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
              ASSETS CONTROL ("OFAC")
         ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the
coverages you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives
issued by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
     •   Foreign agents;
     •   Front organizations;
     •   Terrorists;
     •   Terrorist organizations; and
     •  Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States
Treasury's web site – http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be
such a blocked or frozen contract, no payments nor premium refunds may be made without authorization from
OFAC. Other limitations on the premiums and payments also apply.




IL P 001 01 04                            © ISO Properties, Inc., 2004                                Page 1 of 1

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                 Dallas, TX 1-866-519-2522




Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC

This policy includes all the forms and endorsements listed in the Schedule below:

                                   SCHEDULE OF FORMS AND ENDORSEMENTS


     Claim Reporting Guidelines                                                                                 CLAIMS RPT (00/00)

     Commercial General Liability, Including Liquor Liability, Declarations                                     GLLL 001 D (03/17)

     Signature Page                                                                                             SIIL 0000 (12/12)

     U.S. Treasury Department's Office Of Foreign Assets Control (OFAC)                                         IL P 001 01 04
     Advisory Notice To Policyholders

     Schedule of Forms & Endorsements                                                                           PC 101 (02/09)

     Common Policy Conditions                                                                                   IL 00 17 11 98

     Nuclear Energy Liability Exclusion Endorsement (Broad Form)                                                IL 00 21 09 08

     Georgia Changes - Cancellation And Nonrenewal                                                              IL 02 62 02 15

     Disclosure Pursuant To Terrorism Risk Insurance Act                                                        IL 09 85 01 15

     Commercial General Liability Coverage Form                                                                 CG 00 01 04 13

     Liquor Liability Coverage Form                                                                             CG 00 33 04 13

     Employee Benefits Liability Coverage                                                                       CG 04 35 12 07

     Coverage For Injury To Leased Workers                                                                      CG 04 24 10 93

     Additional Insured - Managers Or Lessors Of Premises                                                       CG 20 11 04 13

     Additional Insured - State Or Governmental Agency Or Subdivision Or                                        CG 20 12 04 13
     Political Subdivision - Permits and Authorizations

     Additional Insured - Vendors                                                                               CG 20 15 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

PC 101 (02/09)                                                                                                                       Page 1 of 4


                                                        Exhibit 3
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                 Dallas, TX 1-866-519-2522



     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Mortgagee, Assignee Or Receiver                                                       CG 20 18 04 13

     Additional Insured - Grantor Of Franchise                                                                  CG 20 29 04 13

     Exclusion - Access or Disclosure of Confidential or Personal Information                                   CG 21 07 05 14
     and Data-Related Liability - With Limited Bodily Injury Exception Not
     Included

     Exclusion - Designated Professional Services                                                               CG 21 16 04 13

     Employment-Related Practices Exclusion                                                                     CG 21 47 12 07

     Total Pollution Exclusion With A Building Heating, Cooling And                                             CG 21 65 12 04
     Dehumidifying Equipment Exception And A Hostile Fire Exception

     Fungi Or Bacteria Exclusion                                                                                CG 21 67 12 04

     Exclusion of Other Acts of Terrorism Committed Outside the United States                                   CG 21 71 01 15
     Cap on Losses from Certified Acts of Terrorism

     Exclusion of Certified Nuclear Biological Chemical or Radiological Acts of                                 CG 21 84 01 15
     Terrorism Cap on Losses from Certified Acts of Terrorism

     Extended Reporting Period for Terrorism Coverage                                                           CG 21 93 07 04

     Limited Contractual Liability Coverage For Personal And Advertising Injury                                 CG 22 74 10 01

     Waiver of Transfer of Rights of Recovery Against Others to Us                                              CG 24 04 05 09

     Composite Rating Plan Premium Endorsement                                                                  OG 100 (11/09)


PC 101 (02/09)                                                                                                                   Page 2 of 4


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                 Dallas, TX 1-866-519-2522

     Primary and Non-Contributory Condition                                                                       OG 107 (04/11)

     Broad Form Named Insured                                                                                     OG 111 (06/11)

     Unintentional Errors and Omissions Endorsement                                                               OG 114 (07/11)

     Amendment of Limits of Insurance (Per Project or Per Location Aggregate                                      OG 139 (07/11)
     Limit)

     Early Notice of Cancellation Provided by Us                                                                  OG 141 (03/12)

     Asbestos and Silica Exclusion Endorsement                                                                    OG 142 (03/12)

     Total Lead Exclusion                                                                                         OG 143 (03/12)

     Bodily Injury Definition Extension Endorsement                                                               OG 144 (03/12)

     Violation of Statutes in Connection with Sending, Transmitting or                                            OG 166 (09/17)
     Communicating any Material or Information Exclusionary Endorsement

     Expected or Intended Injury Endorsement                                                                      OG 167 (04/12)

     Insured s Duties in the Event of a Claim, Occurrence or Suit                                                 OG 171 (04/12)

     Newly Acquired or Formed Entities                                                                            OG 172 (04/12)

     Non Owned Watercraft Endorsement                                                                             OG 173 (04/12)

     Additional Insured - Owners, Lessees, Or Contractors - Scheduled Person                                      OG 180 (04/12)
     Or Organization

     Additional Insured - Where Required Under Contract or Agreement                                              OG 184 (04/12)

     Additional Insured - Designated Person or Organization                                                       OG 213 04 (10/14)

     Additional Insured - Designated Person or Organization                                                       OG 213 04 (10/14)




PC 101 (02/09)                                                                                                                        Page 3 of 4
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                 Dallas, TX 1-866-519-2522


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




PC 101 (02/09)                                                                                                              Page 4 of 4


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                                                                                                       IL 00 17 11 98


                           COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                      b. Give you reports on the conditions we find;
                                                                        and
   1. The first Named Insured shown in the
      Declarations may cancel this policy by mailing                c. Recommend changes.
      or delivering to us advance written notice of              2. We are not obligated to make any inspections,
      cancellation.                                                 surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or                       such actions we do undertake relate only to
      delivering to the first Named Insured written                 insurability and the premiums to be charged.
      notice of cancellation at least:                              We do not make safety inspections. We do not
                                                                    undertake to perform the duty of any person or
      a. 10 days before the effective date of                       organization to provide for the health or safety
           cancellation if we cancel for nonpayment of              of workers or the public. And we do not warrant
           premium; or                                              that conditions:
      b. 30 days before the effective date of                       a. Are safe or healthful; or
           cancellation if we cancel for any other
           reason.                                                  b. Comply with laws, regulations, codes or
                                                                       standards.
   3. We will mail or deliver our notice to the first
      Named Insured's last mailing address known to              3. Paragraphs 1. and 2. of this condition apply not
      us.                                                           only to us, but also to any rating, advisory, rate
                                                                    service or similar organization which makes
   4. Notice of cancellation will state the effective               insurance inspections, surveys, reports or
      date of cancellation. The policy period will end              recommendations.
      on that date.
                                                                 4. Paragraph 2. of this condition does not apply to
   5. If this policy is cancelled, we will send the first           any      inspections,   surveys,     reports    or
      Named Insured any premium refund due. If we                   recommendations we may make relative to
      cancel, the refund will be pro rata. If the first             certification, under state or municipal statutes,
      Named Insured cancels, the refund may be                      ordinances or regulations, of boilers, pressure
      less than pro rata. The cancellation will be                  vessels or elevators.
      effective even if we have not made or offered a
      refund.                                                 E. Premiums
   6. If notice is mailed, proof of mailing will be              The first Named Insured shown in the
      sufficient proof of notice.                                Declarations:
B. Changes                                                       1. Is responsible for the payment of all premiums;
                                                                     and
   This policy contains all the agreements between
   you and us concerning the insurance afforded.                 2. Will be the payee for any return premiums we
   The first Named Insured shown in the Declarations                 pay.
   is authorized to make changes in the terms of this         F. Transfer Of Your Rights And Duties Under This
   policy with our consent. This policy's terms can be           Policy
   amended or waived only by endorsement issued                  Your rights and duties under this policy may not be
   by us and made a part of this policy.                         transferred without our written consent except in
C. Examination Of Your Books And Records                         the case of death of an individual named insured.
   We may examine and audit your books and                       If you die, your rights and duties will be transferred
   records as they relate to this policy at any time             to your legal representative but only while acting
   during the policy period and up to three years                within the scope of duties as your legal
   afterward.                                                    representative. Until your legal representative is
D. Inspections And Surveys                                       appointed, anyone having proper temporary
                                                                 custody of your property will have your rights and
   1. We have the right to:                                      duties but only with respect to that property.
      a. Make inspections and surveys at any time;




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                      (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                 C. Under any Liability Coverage, to "bodily injury"
                                                                    or    "property      damage"    resulting  from
   A. Under any Liability Coverage, to "bodily injury"              "hazardous properties" of "nuclear material", if:
      or "property damage":
                                                                   (1) The "nuclear material" (a) is at any "nuclear
     (1) With respect to which an "insured" under                      facility" owned by, or operated by or on
          the policy is also an insured under a                        behalf of, an "insured" or (b) has been
          nuclear energy liability policy issued by                    discharged or dispersed therefrom;
          Nuclear     Energy       Liability      Insurance
          Association, Mutual Atomic Energy Liability              (2) The "nuclear material" is contained in
          Underwriters,         Nuclear           Insurance            "spent fuel" or "waste" at any time
          Association of Canada or any of their                        possessed, handled, used, processed,
          successors, or would be an insured under                     stored, transported or disposed of, by or on
          any such policy but for its termination upon                 behalf of an "insured"; or
          exhaustion of its limit of liability; or                 (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is                      connection with the planning, construction,
          required to maintain financial protection                    maintenance, operation or use of any
          pursuant to the Atomic Energy Act of 1954,                   "nuclear facility", but if such facility is
          or any law amendatory thereof, or (b) the                    located within the United States of America,
          "insured" is, or had this policy not been                    its territories or possessions or Canada, this
          issued would be, entitled to indemnity from                  exclusion (3) applies only to "property
          the United States of America, or any                         damage" to such "nuclear facility" and any
          agency thereof, under any agreement                          property thereat.
          entered into by the United States of                2. As used in this endorsement:
          America, or any agency thereof, with any               "Hazardous properties" includes radioactive, toxic
          person or organization.                                or explosive properties.
   B. Under any Medical Payments coverage, to                    "Nuclear material" means "source material",
      expenses incurred with respect to "bodily                  "special nuclear material" or "by-product material".
      injury"   resulting     from      the     "hazardous
      properties" of "nuclear material" and arising out
      of the operation of a "nuclear facility" by any
      person or organization.




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    "Source material", "special nuclear material", and               packaging "waste";
   "by-product material" have the meanings given                 (c) Any equipment or device used for the
   them in the Atomic Energy Act of 1954 or in any                     processing, fabricating or alloying of
   law amendatory thereof.                                             "special nuclear material" if at any time the
   "Spent fuel" means any fuel element or fuel                         total amount of such material in the custody
   component, solid or liquid, which has been used or                  of the "insured" at the premises where such
   exposed to radiation in a "nuclear reactor".                        equipment or device is located consists of
                                                                       or contains more than 25 grams of
   "Waste" means any waste material (a) containing                     plutonium or uranium 233 or any
   "by-product material" other than the tailings or                    combination thereof, or more than 250
   wastes produced          by       the extraction  or                grams of uranium 235;
   concentration of uranium or thorium from any ore
   processed primarily for its "source material"                 (d) Any structure, basin, excavation, premises
   content, and (b) resulting from the operation by                    or place prepared or used for the storage or
   any person or organization of any "nuclear facility"                disposal of "waste";
   included under the first two paragraphs of the             and includes the site on which any of the foregoing
   definition of "nuclear facility".                          is located, all operations conducted on such site
   "Nuclear facility" means:                                  and all premises used for such operations.
     (a) Any "nuclear reactor";                               "Nuclear reactor" means any apparatus designed
                                                              or used to sustain nuclear fission in a
     (b) Any equipment or device designed or used             self-supporting chain reaction or to contain a
         for (1) separating the isotopes of uranium or        critical mass of fissionable material.
         plutonium, (2) processing or utilizing "spent
         fuel", or (3) handling, processing or                "Property damage" includes all forms of
                                                              radioactive contamination of property.




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                                                                                                      IL 02 62 02 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   GEORGIA CHANGES – CANCELLATION
                          AND NONRENEWAL

This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraph A.1. of the Cancellation Common                           (2) The effective date of cancellation stated
   Policy Condition is replaced by the following:                          in the first Named Insured's notice to us.
   1. The first Named Insured shown in the                    B. Paragraph A.5. of the Cancellation Common
      Declarations may cancel this policy by mailing             Policy Condition is replaced by the following:
      or delivering to us advance written notice of              5. Premium Refund
      cancellation stating a future date on which the
      policy is to be cancelled, subject to the                     a. If this policy is cancelled, we will send the
      following:                                                       first Named Insured any premium refund
                                                                       due.
       a. If only the interest of the first Named
           Insured is affected, the effective date of               b. If we cancel, the refund will be pro rata,
           cancellation will be either the date we                     except as provided in c. below.
           receive notice from the first Named Insured              c. If the cancellation results from failure of the
           or the date specified in the notice,                        first Named Insured to pay, when due, any
           whichever is later. However, upon receiving                 premium to us or any amount, when due,
           a written notice of cancellation from the first             under a premium finance agreement, then
           Named Insured, we may waive the                             the refund may be less than pro rata.
           requirement that the notice state the future                Calculation of the return premium at less
           date of cancellation, by confirming the date                than pro rata represents a penalty charged
           and time of cancellation in writing to the first            on unearned premium.
           Named Insured.                                           d. If the first Named Insured cancels, the
      b. If by statute, regulation or contract this                    refund may be less than pro rata.
           policy may not be cancelled unless notice is             e. The cancellation will be effective even if we
           given     to    a    governmental     agency,               have not made or offered a refund.
           mortgagee or other third party, we will mail
           or deliver at least 10 days' notice to the first
           Named Insured and the third party as soon
           as practicable after receiving the first
           Named Insured's request for cancellation.
           Our notice will state the effective date of
           cancellation, which will be the later of the
           following:
          (1) 10 days from the date of mailing or
               delivering our notice; or


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C. The following is added to the Cancellation                       Named Insured at least 10 days before the
   Common Policy Condition and supersedes any                       date cancellation takes effect.
   other provisions to the contrary:                            2. When this policy has been in effect for more
   If we decide to:                                                 than 60 days, or at any time if it is a renewal
                                                                    with us, we may cancel for one or more of the
   1. Cancel or nonrenew this policy; or                            following reasons:
   2. Increase current policy premium by more than                  a. Nonpayment of premium, whether payable
       15% (other than any increase due to change in                     to us or to our agent;
       risk, exposure or experience modification or
       resulting from an audit of auditable coverages);             b. Upon discovery of fraud, concealment of a
       or                                                                material fact, or material misrepresentation
                                                                         made by or with the knowledge of any
   3. Change any policy provision which would limit                      person insured under this policy in
       or restrict coverage;                                             obtaining this policy, continuing this policy
   then:                                                                 or presenting a claim under this policy;
   We will mail or deliver notice of our action                     c. Upon the occurrence of a change in the risk
   (including the dollar amount of any increase in                       which substantially increases any hazard
   renewal premium of more than 15%) to the first                        insured against; or
   Named Insured and lienholder, if any, at the last                d. Upon the violation of any of the material
   mailing address known to us. Except as applicable                     terms or conditions of this policy by any
   as described in Paragraph D. or E. below, we will                     person insured under this policy.
   mail or deliver notice at least:
                                                                    We may cancel by providing notice to the first
        a. 10 days before the effective date of                     Named Insured at least:
            cancellation if this policy has been in effect
            less than 60 days or if we cancel for                       (1) 10 days before the effective date of
            nonpayment of premium; or                                        cancellation     if   we      cancel  for
                                                                             nonpayment of premium; or
        b. 45 days before the effective date of
            cancellation if this policy has been in effect              (2) 45 days before the effective date of
            60 or more days and we cancel for a                              cancellation if we cancel for any of the
            reason other than nonpayment of premium;                         reasons listed in b., c. or d. above.
            or                                               E. With respect to a policy that is written to permit an
        c. 45 days before the expiration date of this           audit, the following is added to the Cancellation
            policy if we decide to nonrenew, increase           Common Policy Condition:
            the premium or limit or restrict coverage.          If you fail to submit to or allow an audit for the
D. The following provisions apply to insurance                  current or most recently expired term, we may
   covering residential real property only provided             cancel this policy subject to the following:
   under the:                                                   1. We will make two documented efforts to send
   Capital Assets Program (Output Policy) Coverage                  you and your agent notification of potential
   Part;                                                            cancellation. After the second notice has been
                                                                    sent, we have the right to cancel this policy by
   Commercial Property Coverage Part;                               mailing or delivering a written notice of
   Farm Coverage Part;                                              cancellation to the first Named Insured at least
   if the named insured is a natural person.                        10 days before the effective date of
   With respect to such insurance, the following is                 cancellation, but not within 20 days of the first
   added to the Cancellation Common Policy                          documented effort.
   Condition and supersedes any provisions to the               2. If we cancel this policy based on your failure to
   contrary except as applicable as described in                    submit to or allow an audit, we will send the
   Paragraph E.:                                                    written notice of cancellation to the first Named
   1. When this policy has been in effect for 60 days               Insured at the last known mailing address by
        or less and is not a renewal with us, we may                certified mail or statutory overnight delivery
        cancel for any reason by notifying the first                with return receipt requested.




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POLICY NUMBER: 1000305221181                        REDACTED                                       IL 09 85 01 15


    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.


         DISCLOSURE PURSUANT TO TERRORISM RISK
                     INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified Acts)
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):
 Commercial General Liability Coverage Form
 Employee Benefits Liability Coverage Form
 1000305221181

 Additional information, if any, concerning the terrorism premium:



 SCHEDULE – PART II
 Federal share of terrorism losses                      Year: 2015
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses                      Year: 2016
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses                      Year: 2017
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses                      Year: 2018
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses                      Year: 2019
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses                      Year: 2020
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Disclosure Of Premium                                     attributable to terrorist acts certified under the
   In accordance with the federal Terrorism Risk             Terrorism Risk Insurance Act exceed $100 billion
   Insurance Act, we are required to provide you with        in a calendar year, the Treasury shall not make
   a notice disclosing the portion of your premium, if       any payment for any portion of the amount of such
   any, attributable to coverage for terrorist acts          losses that exceeds $100 billion.
   certified under the Terrorism Risk Insurance Act.      C. Cap On Insurer Participation In Payment Of
   The portion of your premium attributable to such          Terrorism Losses
   coverage is shown in the Schedule of this                 If aggregate insured losses attributable to terrorist
   endorsement or in the policy Declarations.                acts certified under the Terrorism Risk Insurance
B. Disclosure Of Federal Participation In Payment            Act exceed $100 billion in a calendar year and we
   Of Terrorism Losses                                       have met our insurer deductible under the
   The United States Government, Department of the           Terrorism Risk Insurance Act, we shall not be
   Treasury, will pay a share of terrorism losses            liable for the payment of any portion of the amount
   insured under the federal program. The federal            of such losses that exceeds $100 billion, and in
   share equals a percentage (as shown in Part II of         such case insured losses up to that amount are
   the Schedule of this endorsement or in the policy         subject to pro rata allocation in accordance with
   Declarations) of that portion of the amount of such       procedures established by the Secretary of the
   insured losses that exceeds the applicable insurer        Treasury.
   retention. However, if aggregate insured losses




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.             (3) Prior to the policy period, no insured listed
Read the entire policy carefully to determine rights,                 under Paragraph 1. of Section II – Who Is
duties and what is and is not covered.                                An Insured and no "employee" authorized
                                                                      by you to give or receive notice of an
Throughout this policy the words "you" and "your"                     "occurrence" or claim, knew that the "bodily
refer to the Named Insured shown in the Declarations,                 injury" or "property damage" had occurred,
and any other person or organization qualifying as a                  in whole or in part. If such a listed insured
Named Insured under this policy. The words "we",                      or authorized "employee" knew, prior to the
"us" and "our" refer to the company providing this                    policy period, that the "bodily injury" or
insurance.                                                            "property damage" occurred, then any
The word "insured" means any person or organization                   continuation, change or resumption of such
qualifying as such under Section II – Who Is An                       "bodily injury" or "property damage" during
Insured.                                                              or after the policy period will be deemed to
                                                                      have been known prior to the policy period.
Other words and phrases that appear in quotation
marks have special meaning. Refer to Section V                 c. "Bodily injury" or "property damage" which
–Definitions.                                                     occurs during the policy period and was not,
                                                                  prior to the policy period, known to have
SECTION I – COVERAGES
                                                                  occurred by any insured listed under
COVERAGE A – BODILY INJURY AND PROPERTY                           Paragraph 1. of Section II – Who Is An Insured
DAMAGE LIABILITY                                                  or any "employee" authorized by you to give or
1. Insuring Agreement                                             receive notice of an "occurrence" or claim,
                                                                  includes any continuation, change or
   a. We will pay those sums that the insured
                                                                  resumption of that "bodily injury" or "property
       becomes legally obligated to pay as damages
                                                                  damage" after the end of the policy period.
       because of "bodily injury" or "property damage"
       to which this insurance applies. We will have           d. "Bodily injury" or "property damage" will be
       the right and duty to defend the insured against           deemed to have been known to have occurred
       any "suit" seeking those damages. However,                 at the earliest time when any insured listed
       we will have no duty to defend the insured                 under Paragraph 1. of Section II – Who Is An
       against any "suit" seeking damages for "bodily             Insured or any "employee" authorized by you
       injury" or "property damage" to which this                 to give or receive notice of an "occurrence" or
       insurance does not apply. We may, at our                   claim:
       discretion, investigate any "occurrence" and              (1) Reports all, or any part, of the "bodily injury"
       settle any claim or "suit" that may result. But:               or "property damage" to us or any other
      (1) The amount we will pay for damages is                       insurer;
           limited as described in Section III – Limits          (2) Receives a written or verbal demand or
           Of Insurance; and                                          claim for damages because of the "bodily
      (2) Our right and duty to defend ends when we                   injury" or "property damage"; or
           have used up the applicable limit of                  (3) Becomes aware by any other means that
           insurance in the payment of judgments or                   "bodily injury" or "property damage" has
           settlements under Coverages A or B or                      occurred or has begun to occur.
           medical expenses under Coverage C.
                                                               e. Damages because of "bodily injury" include
       No other obligation or liability to pay sums or            damages claimed by any person or
       perform acts or services is covered unless                 organization for care, loss of services or death
       explicitly provided for under Supplementary                resulting at any time from the "bodily injury".
       Payments – Coverages A and B.
   b. This insurance applies to "bodily injury" and
       "property damage" only if:
      (1) The "bodily injury" or "property damage" is
           caused by an "occurrence" that takes place
           in the "coverage territory";
      (2) The "bodily injury" or "property damage"
          occurs during the policy period; and


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2. Exclusions                                                         (b) Providing       or    failing  to   provide
                                                                           transportation with respect to any
   This insurance does not apply to:                                       person that may be under the influence
   a. Expected Or Intended Injury                                          of alcohol;
      "Bodily injury" or "property damage" expected                if the "occurrence" which caused the "bodily
      or intended from the standpoint of the insured.              injury" or "property damage", involved that
      This exclusion does not apply to "bodily injury"             which is described in Paragraph (1), (2) or (3)
      resulting from the use of reasonable force to                above.
      protect persons or property.                                 However, this exclusion applies only if you are
   b. Contractual Liability                                        in the business of manufacturing, distributing,
      "Bodily injury" or "property damage" for which               selling, serving or furnishing alcoholic
      the insured is obligated to pay damages by                   beverages. For the purposes of this exclusion,
      reason of the assumption of liability in a                   permitting a person to bring alcoholic
      contract or agreement. This exclusion does not               beverages on your premises, for consumption
      apply to liability for damages:                              on your premises, whether or not a fee is
                                                                   charged or a license is required for such
     (1) That the insured would have in the absence                activity, is not by itself considered the business
          of the contract or agreement; or                         of selling, serving or furnishing alcoholic
     (2) Assumed in a contract or agreement that is                beverages.
          an "insured contract", provided the "bodily           d. Workers' Compensation And Similar Laws
          injury" or "property damage" occurs
          subsequent to the execution of the contract              Any obligation of the insured under a workers'
          or agreement. Solely for the purposes of                 compensation,       disability  benefits   or
          liability assumed in an "insured contract",              unemployment compensation law or any
          reasonable attorneys' fees and necessary                 similar law.
          litigation expenses incurred by or for a party        e. Employer's Liability
          other than an insured are deemed to be                   "Bodily injury" to:
          damages because of "bodily injury" or
          "property damage", provided:                            (1) An "employee" of the insured arising out of
                                                                      and in the course of:
         (a) Liability to such party for, or for the cost
               of, that party's defense has also been                (a) Employment by the insured; or
               assumed in the same "insured contract";               (b) Performing duties related to the conduct
               and                                                       of the insured's business; or
         (b) Such attorneys' fees and litigation                  (2) The spouse, child, parent, brother or sister
               expenses are for defense of that party                 of that "employee" as a consequence of
               against a civil or alternative dispute                 Paragraph (1) above.
               resolution proceeding in which damages              This exclusion applies whether the insured
               to which this insurance applies are                 may be liable as an employer or in any other
               alleged.                                            capacity and to any obligation to share
   c. Liquor Liability                                             damages with or repay someone else who
      "Bodily injury" or "property damage" for which               must pay damages because of the injury.
      any insured may be held liable by reason of:                 This exclusion does not apply to liability
     (1) Causing or contributing to the intoxication of            assumed by the insured under an "insured
         any person;                                               contract".
     (2) The furnishing of alcoholic beverages to a             f. Pollution
         person under the legal drinking age or                   (1) "Bodily injury" or "property damage" arising
         under the influence of alcohol; or                           out of the actual, alleged or threatened
     (3) Any statute, ordinance or regulation relating                discharge, dispersal, seepage, migration,
         to the sale, gift, distribution or use of                    release or escape of "pollutants":
         alcoholic beverages.                                        (a) At or from any premises, site or location
                                                                          which is or was at any time owned or
      This exclusion applies even if the claims                           occupied by, or rented or loaned to, any
      against any insured allege negligence or other                      insured. However, this subparagraph
      wrongdoing in:                                                      does not apply to:
        (a) The supervision, hiring, employment,                          (i) "Bodily injury" if sustained within a
            training or monitoring of others by that                          building and caused by smoke,
            insured; or                                                       fumes, vapor or soot produced by or
                                                                              originating from equipment that is


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                 used to heat, cool or dehumidify the                         fuels, lubricants or other operating
                 building, or equipment that is used to                       fluids are brought on or to the
                 heat water for personal use, by the                          premises, site or location with the
                 building's occupants or their guests;                        intent that they be discharged,
            (ii) "Bodily injury" or "property damage"                         dispersed or released as part of the
                 for which you may be held liable, if                         operations being performed by such
                 you are a contractor and the owner                           insured, contractor or subcontractor;
                 or lessee of such premises, site or                     (ii) "Bodily injury" or "property damage"
                 location has been added to your                              sustained within a building and
                 policy as an additional insured with                         caused by the release of gases,
                 respect to your ongoing operations                           fumes or vapors from materials
                 performed for that additional insured                        brought into that building in
                 at that premises, site or location and                       connection with operations being
                 such premises, site or location is not                       performed by you or on your behalf
                 and never was owned or occupied                              by a contractor or subcontractor; or
                 by, or rented or loaned to, any                        (iii) "Bodily injury" or "property damage"
                 insured, other than that additional                          arising out of heat, smoke or fumes
                 insured; or                                                  from a "hostile fire".
           (iii) "Bodily injury" or "property damage"               (e) At or from any premises, site or location
                 arising out of heat, smoke or fumes                      on which any insured or any contractors
                 from a "hostile fire";                                   or subcontractors working directly or
        (b) At or from any premises, site or location                     indirectly on any insured's behalf are
             which is or was at any time used by or                       performing operations if the operations
             for any insured or others for the                            are to test for, monitor, clean up,
             handling, storage, disposal, processing                      remove, contain, treat, detoxify or
             or treatment of waste;                                       neutralize, or in any way respond to, or
        (c) Which are or were at any time                                 assess the effects of, "pollutants".
             transported, handled, stored, treated,              (2) Any loss, cost or expense arising out of
             disposed of, or processed as waste by                   any:
             or for:                                                (a) Request, demand, order or statutory or
            (i) Any insured; or                                           regulatory requirement that any insured
           (ii) Any person or organization for whom                       or others test for, monitor, clean up,
                you may be legally responsible; or                        remove, contain, treat, detoxify or
                                                                          neutralize, or in any way respond to, or
        (d) At or from any premises, site or location                     assess the effects of, "pollutants"; or
            on which any insured or any contractors
            or subcontractors working directly or                   (b) Claim or suit by or on behalf of a
            indirectly on any insured's behalf are                        governmental authority for damages
            performing operations if the "pollutants"                     because of testing for, monitoring,
            are brought on or to the premises, site                       cleaning up, removing, containing,
            or location in connection with such                           treating, detoxifying or neutralizing, or in
            operations by such insured, contractor                        any way responding to, or assessing the
            or     subcontractor.    However,       this                  effects of, "pollutants".
            subparagraph does not apply to:                          However, this paragraph does not apply to
            (i) "Bodily injury" or "property damage"                 liability for damages because of "property
                arising out of the escape of fuels,                  damage" that the insured would have in the
                lubricants or other operating fluids                 absence of such request, demand, order or
                which are needed to perform the                      statutory or regulatory requirement, or such
                normal electrical, hydraulic or                      claim or "suit" by or on behalf of a
                mechanical functions necessary for                   governmental authority.
                the operation of "mobile equipment"            g. Aircraft, Auto Or Watercraft
                or its parts, if such fuels, lubricants           "Bodily injury" or "property damage" arising out
                or other operating fluids escape from             of the ownership, maintenance, use or
                a vehicle part designed to hold, store            entrustment to others of any aircraft, "auto" or
                or receive them. This exception does              watercraft owned or operated by or rented or
                not apply if the "bodily injury" or               loaned to any insured. Use includes operation
                "property damage" arises out of the               and "loading or unloading".
                intentional discharge, dispersal or
                release of the fuels, lubricants or               This exclusion applies even if the claims
                other operating fluids, or if such                against any insured allege negligence or other


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      wrongdoing in the supervision, hiring,                      (3) Insurrection, rebellion, revolution, usurped
      employment, training or monitoring of others by                 power, or action taken by governmental
      that insured, if the "occurrence" which caused                  authority in hindering or defending against
      the "bodily injury" or "property damage"                        any of these.
      involved the ownership, maintenance, use or               j. Damage To Property
      entrustment to others of any aircraft, "auto" or
      watercraft that is owned or operated by or                   "Property damage" to:
      rented or loaned to any insured.                            (1) Property you own, rent, or occupy, including
      This exclusion does not apply to:                               any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
     (1) A watercraft while ashore on premises you                    repair,     replacement,     enhancement,
         own or rent;                                                 restoration or maintenance of such property
     (2) A watercraft you do not own that is:                         for any reason, including prevention of
        (a) Less than 26 feet long; and                               injury to a person or damage to another's
                                                                      property;
        (b) Not being used to carry persons or
             property for a charge;                               (2) Premises you sell, give away or abandon, if
                                                                      the "property damage" arises out of any
     (3) Parking an "auto" on, or on the ways next                    part of those premises;
         to, premises you own or rent, provided the
         "auto" is not owned by or rented or loaned               (3) Property loaned to you;
         to you or the insured;                                   (4) Personal property in the care, custody or
     (4) Liability assumed under any "insured                           control of the insured;
         contract" for the ownership, maintenance or              (5) That particular part of real property on
         use of aircraft or watercraft; or                              which you or any contractors or
     (5) "Bodily injury" or "property damage" arising                   subcontractors working directly or indirectly
         out of:                                                        on your behalf are performing operations, if
                                                                        the "property damage" arises out of those
        (a) The operation of machinery or                               operations; or
            equipment that is attached to, or part of,
            a land vehicle that would qualify under               (6) That particular part of any property that
            the definition of "mobile equipment" if it                  must be restored, repaired or replaced
            were not subject to a compulsory or                         because "your work" was incorrectly
            financial responsibility law or other                       performed on it.
            motor vehicle insurance law where it is                Paragraphs (1), (3) and (4) of this exclusion do
            licensed or principally garaged; or                    not apply to "property damage" (other than
        (b) The operation of any of the machinery                  damage by fire) to premises, including the
            or equipment listed in Paragraph f.(2) or              contents of such premises, rented to you for a
            f.(3) of the definition of "mobile                     period of seven or fewer consecutive days. A
            equipment".                                            separate limit of insurance applies to Damage
                                                                   To Premises Rented To You as described in
   h. Mobile Equipment                                             Section III – Limits Of Insurance.
      "Bodily injury" or "property damage" arising out             Paragraph (2) of this exclusion does not apply
      of:                                                          if the premises are "your work" and were never
     (1) The transportation of "mobile equipment" by               occupied, rented or held for rental by you.
          an "auto" owned or operated by or rented or             Paragraphs (3), (4), (5) and (6) of this
          loaned to any insured; or                               exclusion do not apply to liability assumed
     (2) The use of "mobile equipment" in, or while               under a sidetrack agreement.
          in practice for, or while being prepared for,           Paragraph (6) of this exclusion does not apply
          any prearranged racing, speed, demolition,              to "property damage" included in the
          or stunting activity.                                   "products-completed operations hazard".
   i. War                                                      k. Damage To Your Product
      "Bodily injury" or "property damage", however               "Property damage" to "your product" arising out
      caused, arising, directly or indirectly, out of:            of it or any part of it.
     (1) War, including undeclared or civil war;                l. Damage To Your Work
     (2) Warlike action by a military force, including             "Property damage" to "your work" arising out of
         action in hindering or defending against an               it or any part of it and included in the "products-
         actual or expected attack, by any                         completed operations hazard".
         government, sovereign or other authority
         using military personnel or other agents; or              This exclusion does not apply if the damaged
                                                                   work or the work out of which the damage


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     arises was performed on your behalf by a                     omission that violates or is alleged to violate:
     subcontractor.                                              (1) The Telephone Consumer Protection Act
  m. Damage To Impaired Property Or Property                         (TCPA), including any amendment of or
     Not Physically Injured                                          addition to such law;
     "Property damage" to "impaired property" or                 (2) The CAN-SPAM Act of 2003, including any
     property that has not been physically injured,                  amendment of or addition to such law;
     arising out of:                                             (3) The Fair Credit Reporting Act (FCRA), and
    (1) A defect, deficiency, inadequacy or                          any amendment of or addition to such law,
         dangerous condition in "your product" or                    including the Fair and Accurate Credit
         "your work"; or                                             Transactions Act (FACTA); or
    (2) A delay or failure by you or anyone acting               (4) Any federal, state or local statute,
         on your behalf to perform a contract or                     ordinance or regulation, other than the
         agreement in accordance with its terms.                     TCPA, CAN-SPAM Act of 2003 or FCRA
      This exclusion does not apply to the loss of use               and their amendments and additions, that
      of other property arising out of sudden and                    addresses, prohibits, or limits the printing,
      accidental physical injury to "your product" or                dissemination,       disposal,       collecting,
      "your work" after it has been put to its intended              recording,        sending,        transmitting,
      use.                                                           communicating or distribution of material or
                                                                     information.
   n. Recall Of Products, Work Or Impaired
      Property                                                Exclusions c. through n. do not apply to damage
                                                              by fire to premises while rented to you or
      Damages claimed for any loss, cost or                   temporarily occupied by you with permission of the
      expense incurred by you or others for the loss          owner. A separate limit of insurance applies to this
      of use, withdrawal, recall, inspection, repair,         coverage as described in Section III – Limits Of
      replacement, adjustment, removal or disposal            Insurance.
      of:
                                                           COVERAGE B – PERSONAL AND ADVERTISING
     (1) "Your product";                                   INJURY LIABILITY
     (2) "Your work"; or                                   1. Insuring Agreement
     (3) "Impaired property";                                 a. We will pay those sums that the insured
      if such product, work, or property is withdrawn             becomes legally obligated to pay as damages
      or recalled from the market or from use by any              because of "personal and advertising injury" to
      person or organization because of a known or                which this insurance applies. We will have the
      suspected defect, deficiency, inadequacy or                 right and duty to defend the insured against
      dangerous condition in it.                                  any "suit" seeking those damages. However,
                                                                  we will have no duty to defend the insured
   o. Personal And Advertising Injury
                                                                  against any "suit" seeking damages for
      "Bodily injury" arising out of "personal and                "personal and advertising injury" to which this
      advertising injury".                                        insurance does not apply. We may, at our
   p. Electronic Data                                             discretion, investigate any offense and settle
                                                                  any claim or "suit" that may result. But:
      Damages arising out of the loss of, loss of use
      of, damage to, corruption of, inability to access,         (1) The amount we will pay for damages is
      or inability to manipulate electronic data.                     limited as described in Section III – Limits
                                                                      Of Insurance; and
      However, this exclusion does not apply to
      liability for damages because of "bodily injury".          (2) Our right and duty to defend end when we
                                                                      have used up the applicable limit of
      As used in this exclusion, electronic data                      insurance in the payment of judgments or
      means information, facts or programs stored as                  settlements under Coverages A or B or
      or on, created or used on, or transmitted to or                 medical expenses under Coverage C.
      from computer software, including systems and
      applications software, hard or floppy disks,                No other obligation or liability to pay sums or
      CD-ROMs,         tapes,   drives,    cells,   data          perform acts or services is covered unless
      processing devices or any other media which                 explicitly provided for under Supplementary
      are used with electronically controlled                     Payments – Coverages A and B.
      equipment.                                              b. This insurance applies to "personal and
   q. Recording And Distribution Of Material Or                   advertising injury" caused by an offense arising
      Information In Violation Of Law                             out of your business but only if the offense was
                                                                  committed in the "coverage territory" during the
      "Bodily injury" or "property damage" arising                policy period.
      directly or indirectly out of any action or


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2. Exclusions                                                      However, this exclusion does not apply to
   This insurance does not apply to:                               infringement, in your "advertisement", of
                                                                   copyright, trade dress or slogan.
   a. Knowing Violation Of Rights Of Another
                                                                j. Insureds In Media And Internet Type
      "Personal and advertising injury" caused by or               Businesses
      at the direction of the insured with the
      knowledge that the act would violate the rights              "Personal and advertising injury" committed by
      of another and would inflict "personal and                   an insured whose business is:
      advertising injury".                                        (1) Advertising, broadcasting, publishing or
   b. Material Published With Knowledge Of                              telecasting;
      Falsity                                                     (2) Designing or determining content of web
      "Personal and advertising injury" arising out of                  sites for others; or
      oral or written publication, in any manner, of              (3) An Internet search, access, content or
      material, if done by or at the direction of the                   service provider.
      insured with knowledge of its falsity.                       However, this exclusion does not apply to
   c. Material Published Prior To Policy Period                    Paragraphs 14.a., b. and c. of "personal and
      "Personal and advertising injury" arising out of             advertising injury" under the Definitions
      oral or written publication, in any manner, of               section.
      material whose first publication took place                  For the purposes of this exclusion, the placing
      before the beginning of the policy period.                   of frames, borders or links, or advertising, for
   d. Criminal Acts                                                you or others anywhere on the Internet, is not
                                                                   by itself, considered the business of
      "Personal and advertising injury" arising out of             advertising, broadcasting, publishing or
      a criminal act committed by or at the direction              telecasting.
      of the insured.
                                                               k. Electronic Chatrooms Or Bulletin Boards
   e. Contractual Liability
                                                                  "Personal and advertising injury" arising out of
      "Personal and advertising injury" for which the             an electronic chatroom or bulletin board the
      insured has assumed liability in a contract or              insured hosts, owns, or over which the insured
      agreement. This exclusion does not apply to                 exercises control.
      liability for damages that the insured would
      have in the absence of the contract or                   l. Unauthorized Use Of Another's Name Or
      agreement.                                                  Product
   f. Breach Of Contract                                          "Personal and advertising injury" arising out of
                                                                  the unauthorized use of another's name or
      "Personal and advertising injury" arising out of            product in your e-mail address, domain name
      a breach of contract, except an implied                     or metatag, or any other similar tactics to
      contract to use another's advertising idea in               mislead another's potential customers.
      your "advertisement".
                                                              m. Pollution
   g. Quality Or Performance Of Goods – Failure
      To Conform To Statements                                   "Personal and advertising injury" arising out of
                                                                 the actual, alleged or threatened discharge,
      "Personal and advertising injury" arising out of           dispersal, seepage, migration, release or
      the failure of goods, products or services to              escape of "pollutants" at any time.
      conform with any statement of quality or
      performance made in your "advertisement".                n. Pollution-related
   h. Wrong Description Of Prices                                 Any loss, cost or expense arising out of any:
       "Personal and advertising injury" arising out of          (1) Request, demand, order or statutory or
       the wrong description of the price of goods,                  regulatory requirement that any insured or
       products or services stated in your                           others test for, monitor, clean up, remove,
       "advertisement".                                              contain, treat, detoxify or neutralize, or in
                                                                     any way respond to, or assess the effects
    i. Infringement       Of     Copyright,      Patent,             of, "pollutants"; or
       Trademark Or Trade Secret
                                                                 (2) Claim or suit by or on behalf of a
       "Personal and advertising injury" arising out of              governmental authority for damages
       the infringement of copyright, patent,                        because of testing for, monitoring, cleaning
       trademark, trade secret or other intellectual                 up,     removing,    containing,     treating,
       property rights. Under this exclusion, such                   detoxifying or neutralizing, or in any way
       other intellectual property rights do not include             responding to, or assessing the effects of,
       the use of another's advertising idea in your                 "pollutants".
       "advertisement".


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   o. War                                                                 reasonably require.
      "Personal and advertising injury", however                b. We will make these payments regardless of
      caused, arising, directly or indirectly, out of:             fault. These payments will not exceed the
     (1) War, including undeclared or civil war;                   applicable limit of insurance. We will pay
                                                                   reasonable expenses for:
     (2) Warlike action by a military force, including
          action in hindering or defending against an             (1) First aid administered at the time of an
          actual or expected attack, by any                           accident;
          government, sovereign or other authority                (2) Necessary medical, surgical, X-ray and
          using military personnel or other agents; or                dental services,      including   prosthetic
     (3) Insurrection, rebellion, revolution, usurped                 devices; and
          power, or action taken by governmental                  (3) Necessary        ambulance,        hospital,
          authority in hindering or defending against                 professional nursing and funeral services.
          any of these.                                     2. Exclusions
   p. Recording And Distribution Of Material Or                We will not pay expenses for "bodily injury":
      Information In Violation Of Law
                                                               a. Any Insured
      "Personal and advertising injury" arising
      directly or indirectly out of any action or                 To any insured, except "volunteer workers".
      omission that violates or is alleged to violate:         b. Hired Person
     (1) The Telephone Consumer Protection Act                    To a person hired to do work for or on behalf of
          (TCPA), including any amendment of or                   any insured or a tenant of any insured.
          addition to such law;
                                                                c. Injury On Normally Occupied Premises
     (2) The CAN-SPAM Act of 2003, including any                   To a person injured on that part of premises
          amendment of or addition to such law;                    you own or rent that the person normally
     (3) The Fair Credit Reporting Act (FCRA), and                 occupies.
          any amendment of or addition to such law,
                                                                d. Workers' Compensation And Similar Laws
          including the Fair and Accurate Credit
          Transactions Act (FACTA); or                             To a person, whether or not an "employee" of
                                                                   any insured, if benefits for the "bodily injury"
     (4) Any federal, state or local statute,                      are payable or must be provided under a
          ordinance or regulation, other than the                  workers' compensation or disability benefits
          TCPA, CAN-SPAM Act of 2003 or FCRA                       law or a similar law.
          and their amendments and additions, that
          addresses, prohibits, or limits the printing,         e. Athletics Activities
          dissemination,      disposal,       collecting,          To a person injured while practicing, instructing
          recording,       sending,        transmitting,           or participating in any physical exercises or
          communicating or distribution of material or             games, sports, or athletic contests.
          information.
                                                                f. Products-Completed Operations Hazard
COVERAGE C – MEDICAL PAYMENTS
                                                                   Included within the "products-completed
1. Insuring Agreement                                              operations hazard".
   a. We will pay medical expenses as described                g. Coverage A Exclusions
      below for "bodily injury" caused by an accident:
                                                                  Excluded under Coverage A.
                                                            SUPPLEMENTARY PAYMENTS – COVERAGES A
      (1) On premises you own or rent;
                                                            AND B
      (2) On ways next to premises you own or rent;
                                                            1. We will pay, with respect to any claim we
          or
                                                               investigate or settle, or any "suit" against an
      (3) Because of your operations;                          insured we defend:
       provided that:                                           a. All expenses we incur.
          (a) The accident takes place in the                   b. Up to $250 for cost of bail bonds required
              "coverage territory" and during the                  because of accidents or traffic law violations
              policy period;                                       arising out of the use of any vehicle to which
         (b) The expenses are incurred and reported                the Bodily Injury Liability Coverage applies. We
              to us within one year of the date of the             do not have to furnish these bonds.
              accident; and                                     c. The cost of bonds to release attachments, but
          (c) The injured person submits to                        only for bond amounts within the applicable
              examination, at our expense, by                      limit of insurance. We do not have to furnish
              physicians of our choice as often as we              these bonds.


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   d. All reasonable expenses incurred by the                          (d) Cooperate with us with respect to
       insured at our request to assist us in the                          coordinating other applicable insurance
       investigation or defense of the claim or "suit",                    available to the indemnitee; and
       including actual loss of earnings up to $250 a              (2) Provides us with written authorization to:
       day because of time off from work.
                                                                      (a) Obtain records and other information
   e. All court costs taxed against the insured in the                    related to the "suit"; and
       "suit". However, these payments do not include
       attorneys' fees or attorneys' expenses taxed                   (b) Conduct and control the defense of the
       against the insured.                                               indemnitee in such "suit".
    f. Prejudgment interest awarded against the                  So long as the above conditions are met,
       insured on that part of the judgment we pay. If           attorneys' fees incurred by us in the defense of
       we make an offer to pay the applicable limit of           that indemnitee, necessary litigation expenses
       insurance, we will not pay any prejudgment                incurred by us and necessary litigation expenses
       interest based on that period of time after the           incurred by the indemnitee at our request will be
       offer.                                                    paid        as       Supplementary     Payments.
                                                                 Notwithstanding the provisions of Paragraph
   g. All interest on the full amount of any judgment            2.b.(2) of Section I – Coverage A – Bodily Injury
       that accrues after entry of the judgment and              And Property Damage Liability, such payments will
       before we have paid, offered to pay, or                   not be deemed to be damages for "bodily injury"
       deposited in court the part of the judgment that          and "property damage" and will not reduce the
       is within the applicable limit of insurance.              limits of insurance.
   These payments will not reduce the limits of                  Our obligation to defend an insured's indemnitee
   insurance.                                                    and to pay for attorneys' fees and necessary
2. If we defend an insured against a "suit" and an               litigation expenses as Supplementary Payments
   indemnitee of the insured is also named as a party            ends when we have used up the applicable limit of
   to the "suit", we will defend that indemnitee if all of       insurance in the payment of judgments or
   the following conditions are met:                             settlements or the conditions set forth above, or
   a. The "suit" against the indemnitee seeks                    the terms of the agreement described in
       damages for which the insured has assumed                 Paragraph f. above, are no longer met.
       the liability of the indemnitee in a contract or      SECTION II – WHO IS AN INSURED
       agreement that is an "insured contract";              1. If you are designated in the Declarations as:
   b. This insurance applies to such liability                  a. An individual, you and your spouse are
       assumed by the insured;                                      insureds, but only with respect to the conduct
   c. The obligation to defend, or the cost of the                  of a business of which you are the sole owner.
       defense of, that indemnitee, has also been               b. A partnership or joint venture, you are an
       assumed by the insured in the same "insured                  insured. Your members, your partners, and
       contract";                                                   their spouses are also insureds, but only with
   d. The allegations in the "suit" and the information             respect to the conduct of your business.
       we know about the "occurrence" are such that             c. A limited liability company, you are an insured.
       no conflict appears to exist between the                     Your members are also insureds, but only with
       interests of the insured and the interests of the            respect to the conduct of your business. Your
       indemnitee;                                                  managers are insureds, but only with respect
   e. The indemnitee and the insured ask us to                      to their duties as your managers.
       conduct and control the defense of that                  d. An organization other than a partnership, joint
       indemnitee against such "suit" and agree that                venture or limited liability company, you are an
       we can assign the same counsel to defend the                 insured. Your "executive officers" and directors
       insured and the indemnitee; and                              are insureds, but only with respect to their
    f. The indemnitee:                                              duties as your officers or directors. Your
      (1) Agrees in writing to:                                     stockholders are also insureds, but only with
                                                                    respect to their liability as stockholders.
         (a) Cooperate with us in the investigation,
             settlement or defense of the "suit";               e. A trust, you are an insured. Your trustees are
                                                                    also insureds, but only with respect to their
         (b) Immediately send us copies of any                      duties as trustees.
             demands, notices, summonses or legal
             papers received in connection with the          2. Each of the following is also an insured:
             "suit";                                            a. Your "volunteer workers" only while performing
         (c) Notify any other insurer whose coverage               duties related to the conduct of your business,
             is available to the indemnitee; and                   or your "employees", other than either your
                                                                   "executive officers" (if you are an organization


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      other than a partnership, joint venture or limited   3. Any organization you newly acquire or form, other
      liability company) or your managers (if you are          than a partnership, joint venture or limited liability
      a limited liability company), but only for acts          company, and over which you maintain ownership
      within the scope of their employment by you or           or majority interest, will qualify as a Named
      while performing duties related to the conduct           Insured if there is no other similar insurance
      of your business. However, none of these                 available to that organization. However:
      "employees" or "volunteer workers" are                   a. Coverage under this provision is afforded only
      insureds for:                                               until the 90th day after you acquire or form the
     (1) "Bodily injury" or "personal and advertising             organization or the end of the policy period,
          injury":                                                whichever is earlier;
         (a) To you, to your partners or members (if           b. Coverage A does not apply to "bodily injury" or
               you are a partnership or joint venture),           "property damage" that occurred before you
               to your members (if you are a limited              acquired or formed the organization; and
               liability company), to a co-"employee"          c. Coverage B does not apply to "personal and
               while in the course of his or her                  advertising injury" arising out of an offense
               employment or performing duties related            committed before you acquired or formed the
               to the conduct of your business, or to             organization.
               your other "volunteer workers" while
               performing duties related to the conduct    No person or organization is an insured with respect
               of your business;                           to the conduct of any current or past partnership, joint
                                                           venture or limited liability company that is not shown
         (b) To the spouse, child, parent, brother or      as a Named Insured in the Declarations.
               sister of that co-"employee" or
               "volunteer worker" as a consequence of      SECTION III – LIMITS OF INSURANCE
               Paragraph (1)(a) above;                     1. The Limits of Insurance shown in the Declarations
         (c) For which there is any obligation to             and the rules below fix the most we will pay
               share damages with or repay someone            regardless of the number of:
               else who must pay damages because of           a. Insureds;
               the injury described in Paragraph (1)(a)
                                                              b. Claims made or "suits" brought; or
               or (b) above; or
                                                              c. Persons or organizations making claims or
         (d) Arising out of his or her providing or              bringing "suits".
               failing to provide professional health
               care services.                              2. The General Aggregate Limit is the most we will
                                                              pay for the sum of:
     (2) "Property damage" to property:
                                                               a. Medical expenses under Coverage C;
        (a) Owned, occupied or used by;
                                                               b. Damages under Coverage A, except damages
        (b) Rented to, in the care, custody or                    because of "bodily injury" or "property damage"
            control of, or over which physical control            included in the "products-completed operations
            is being exercised for any purpose by;                hazard"; and
         you, any of your "employees", "volunteer
                                                              c. Damages under Coverage B.
         workers", any partner or member (if you are
         a partnership or joint venture), or any           3. The Products-Completed Operations Aggregate
         member (if you are a limited liability               Limit is the most we will pay under Coverage A for
         company).                                            damages because of "bodily injury" and "property
                                                              damage" included in the "products-completed
   b. Any person (other than your "employee" or               operations hazard".
      "volunteer worker"), or any organization while
      acting as your real estate manager.                  4. Subject to Paragraph 2. above, the Personal And
                                                              Advertising Injury Limit is the most we will pay
   c. Any person or organization having proper                under Coverage B for the sum of all damages
       temporary custody of your property if you die,         because of all "personal and advertising injury"
       but only:                                              sustained by any one person or organization.
      (1) With respect to liability arising out of the     5. Subject to Paragraph 2. or 3. above, whichever
           maintenance or use of that property; and           applies, the Each Occurrence Limit is the most we
      (2) Until your legal representative has been            will pay for the sum of:
           appointed.                                          a. Damages under Coverage A; and
   d. Your legal representative if you die, but only           b. Medical expenses under Coverage C
       with respect to duties as such. That
       representative will have all your rights and            because of all "bodily injury" and "property
       duties under this Coverage Part.                        damage" arising out of any one "occurrence".
                                                           6. Subject to Paragraph 5. above, the Damage To


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    Premises Rented To You Limit is the most we will                   the "suit"; and
    pay under Coverage A for damages because of                  (4) Assist us, upon our request, in the
    "property damage" to any one premises, while                       enforcement of any right against any
    rented to you, or in the case of damage by fire,                   person or organization which may be liable
    while rented to you or temporarily occupied by you                 to the insured because of injury or damage
    with permission of the owner.                                      to which this insurance may also apply.
7. Subject to Paragraph 5. above, the Medical                  d. No insured will, except at that insured's own
    Expense Limit is the most we will pay under                   cost, voluntarily make a payment, assume any
    Coverage C for all medical expenses because of                obligation, or incur any expense, other than for
    "bodily injury" sustained by any one person.                  first aid, without our consent.
The Limits of Insurance of this Coverage Part apply        3. Legal Action Against Us
separately to each consecutive annual period and to
any remaining period of less than 12 months, starting         No person or organization has a right under this
with the beginning of the policy period shown in the          Coverage Part:
Declarations, unless the policy period is extended            a. To join us as a party or otherwise bring us into
after issuance for an additional period of less than 12          a "suit" asking for damages from an insured; or
months. In that case, the additional period will be
deemed part of the last preceding period for purposes          b. To sue us on this Coverage Part unless all of
of determining the Limits of Insurance.                            its terms have been fully complied with.
SECTION IV – COMMERCIAL GENERAL LIABILITY                      A person or organization may sue us to recover on
CONDITIONS                                                     an agreed settlement or on a final judgment
1. Bankruptcy                                                  against an insured; but we will not be liable for
   Bankruptcy or insolvency of the insured or of the           damages that are not payable under the terms of
   insured's estate will not relieve us of our                 this Coverage Part or that are in excess of the
   obligations under this Coverage Part.                       applicable limit of insurance. An agreed settlement
                                                               means a settlement and release of liability signed
2. Duties In The Event Of Occurrence, Offense,                 by us, the insured and the claimant or the
   Claim Or Suit                                               claimant's legal representative.
   a. You must see to it that we are notified as soon      4. Other Insurance
       as practicable of an "occurrence" or an offense
       which may result in a claim. To the extent             If other valid and collectible insurance is available
       possible, notice should include:                       to the insured for a loss we cover under
                                                              Coverages A or B of this Coverage Part, our
      (1) How, when and where the "occurrence" or             obligations are limited as follows:
          offense took place;
                                                               a. Primary Insurance
      (2) The names and addresses of any injured
          persons and witnesses; and                              This insurance is primary except when
                                                                  Paragraph b. below applies. If this insurance is
     (3) The nature and location of any injury or                 primary, our obligations are not affected unless
          damage arising out of the "occurrence" or               any of the other insurance is also primary.
          offense.                                                Then, we will share with all that other
   b. If a claim is made or "suit" is brought against             insurance by the method described in
      any insured, you must:                                      Paragraph c. below.
     (1) Immediately record the specifics of the               b. Excess Insurance
          claim or "suit" and the date received; and              (1) This insurance is excess over:
      (2) Notify us as soon as practicable.                          (a) Any of the other insurance, whether
       You must see to it that we receive written                         primary, excess, contingent or on any
       notice of the claim or "suit" as soon as                           other basis:
       practicable.                                                       (i) That is Fire, Extended Coverage,
   c. You and any other involved insured must:                                Builder's Risk, Installation Risk or
     (1) Immediately send us copies of any                                    similar coverage for "your work";
         demands, notices, summonses or legal                            (ii) That is Fire insurance for premises
         papers received in connection with the                               rented to you or temporarily
         claim or "suit";                                                     occupied by you with permission of
     (2) Authorize us to obtain records and other                             the owner;
         information;                                                   (iii) That is insurance purchased by you
     (3) Cooperate with us in the investigation or                            to cover your liability as a tenant for
         settlement of the claim or defense against                           "property damage" to premises
                                                                              rented to you or temporarily


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                 occupied by you with permission of             b. Premium shown in this Coverage Part as
                 the owner; or                                     advance premium is a deposit premium only.
           (iv) If the loss arises out of the                      At the close of each audit period we will
                 maintenance or use of aircraft,                   compute the earned premium for that period
                 "autos" or watercraft to the extent not           and send notice to the first Named Insured.
                 subject to Exclusion g. of Section I –            The due date for audit and retrospective
                 Coverage A – Bodily Injury And                    premiums is the date shown as the due date
                 Property Damage Liability.                        on the bill. If the sum of the advance and audit
                                                                   premiums paid for the policy period is greater
        (b) Any other primary insurance available to               than the earned premium, we will return the
             you covering liability for damages                    excess to the first Named Insured.
             arising out of the premises or
             operations, or the products and                    c. The first Named Insured must keep records of
             completed operations, for which you                   the information we need for premium
             have been added as an additional                      computation, and send us copies at such times
             insured.                                              as we may request.
     (2) When this insurance is excess, we will have         6. Representations
         no duty under Coverages A or B to defend               By accepting this policy, you agree:
         the insured against any "suit" if any other            a. The statements in the Declarations are
         insurer has a duty to defend the insured                  accurate and complete;
         against that "suit". If no other insurer
         defends, we will undertake to do so, but we            b. Those     statements      are     based upon
         will be entitled to the insured's rights                  representations you made to us; and
         against all those other insurers.                      c. We have issued this policy in reliance upon
     (3) When this insurance is excess over other                  your representations.
         insurance, we will pay only our share of the        7. Separation Of Insureds
         amount of the loss, if any, that exceeds the           Except with respect to the Limits of Insurance, and
         sum of:                                                any rights or duties specifically assigned in this
        (a) The total amount that all such other                Coverage Part to the first Named Insured, this
             insurance would pay for the loss in the            insurance applies:
             absence of this insurance; and                     a. As if each Named Insured were the only
        (b) The total of all deductible and                         Named Insured; and
             self-insured amounts under all that other          b. Separately to each insured against whom claim
             insurance.                                             is made or "suit" is brought.
     (4) We will share the remaining loss, if any,           8. Transfer Of Rights Of Recovery Against Others
         with any other insurance that is not                   To Us
         described in this Excess Insurance
         provision and was not bought specifically to           If the insured has rights to recover all or part of
         apply in excess of the Limits of Insurance             any payment we have made under this Coverage
         shown in the Declarations of this Coverage             Part, those rights are transferred to us. The
         Part.                                                  insured must do nothing after loss to impair them.
                                                                At our request, the insured will bring "suit" or
   c. Method Of Sharing                                         transfer those rights to us and help us enforce
      If all of the other insurance permits contribution        them.
      by equal shares, we will follow this method            9. When We Do Not Renew
      also. Under this approach each insurer
      contributes equal amounts until it has paid its           If we decide not to renew this Coverage Part, we
      applicable limit of insurance or none of the loss         will mail or deliver to the first Named Insured
      remains, whichever comes first.                           shown in the Declarations written notice of the
                                                                nonrenewal not less than 30 days before the
      If any of the other insurance does not permit             expiration date.
      contribution by equal shares, we will contribute
      by limits. Under this method, each insurer's              If notice is mailed, proof of mailing will be sufficient
      share is based on the ratio of its applicable             proof of notice.
      limit of insurance to the total applicable limits of   SECTION V – DEFINITIONS
      insurance of all insurers.
                                                             1. "Advertisement" means a notice that is broadcast
5. Premium Audit                                                or published to the general public or specific
   a. We will compute all premiums for this                     market segments about your goods, products or
      Coverage Part in accordance with our rules                services for the purpose of attracting customers or
      and rates.                                                supporters. For the purposes of this definition:



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   a. Notices that are published include material          8. "Impaired property" means tangible property, other
      placed on the Internet or on similar electronic         than "your product" or "your work", that cannot be
      means of communication; and                             used or is less useful because:
   b. Regarding web sites, only that part of a web            a. It incorporates "your product" or "your work"
      site that is about your goods, products or                  that is known or thought to be defective,
      services for the purposes of attracting                     deficient, inadequate or dangerous; or
      customers or supporters is considered an                b. You have failed to fulfill the terms of a contract
      advertisement.                                              or agreement;
2. "Auto" means:                                              if such property can be restored to use by the
   a. A land motor vehicle, trailer or semitrailer            repair, replacement, adjustment or removal of
      designed for travel on public roads, including          "your product" or "your work" or your fulfilling the
      any attached machinery or equipment; or                 terms of the contract or agreement.
   b. Any other land vehicle that is subject to a          9. "Insured contract" means:
      compulsory or financial responsibility law or           a. A contract for a lease of premises. However,
      other motor vehicle insurance law where it is               that portion of the contract for a lease of
      licensed or principally garaged.                            premises that indemnifies any person or
                                                                  organization for damage by fire to premises
   However, "auto" does not include "mobile                       while rented to you or temporarily occupied by
   equipment".                                                    you with permission of the owner is not an
3. "Bodily injury" means bodily injury, sickness or               "insured contract";
   disease sustained by a person, including death              b. A sidetrack agreement;
   resulting from any of these at any time.                    c. Any easement or license agreement, except in
4. "Coverage territory" means:                                    connection with construction or demolition
   a. The United States of America (including its                 operations on or within 50 feet of a railroad;
       territories and possessions), Puerto Rico and           d. An obligation, as required by ordinance, to
       Canada;                                                    indemnify a municipality, except in connection
   b. International waters or airspace, but only if the           with work for a municipality;
       injury or damage occurs in the course of travel         e. An elevator maintenance agreement;
       or transportation between any places included           f. That part of any other contract or agreement
       in Paragraph a. above; or                                  pertaining to your business (including an
   c. All other parts of the world if the injury or               indemnification of a municipality in connection
       damage arises out of:                                      with work performed for a municipality) under
      (1) Goods or products made or sold by you in                which you assume the tort liability of another
           the territory described in Paragraph a.                party to pay for "bodily injury" or "property
           above;                                                 damage" to a third person or organization. Tort
                                                                  liability means a liability that would be imposed
      (2) The activities of a person whose home is in             by law in the absence of any contract or
           the territory described in Paragraph a.                agreement.
           above, but is away for a short time on your
           business; or                                           Paragraph f. does not include that part of any
                                                                  contract or agreement:
      (3) "Personal and advertising injury" offenses
           that take place through the Internet or               (1) That indemnifies a railroad for "bodily
           similar electronic means of communication;                 injury" or "property damage" arising out of
                                                                      construction or demolition operations, within
   provided the insured's responsibility to pay                       50 feet of any railroad property and
   damages is determined in a "suit" on the merits, in                affecting any railroad bridge or trestle,
   the territory described in Paragraph a. above or in                tracks, road-beds, tunnel, underpass or
   a settlement we agree to.                                          crossing;
5. "Employee"       includes    a   "leased   worker".           (2) That indemnifies an architect, engineer or
   "Employee" does not include a "temporary                           surveyor for injury or damage arising out of:
   worker".
6. "Executive officer" means a person holding any of                 (a) Preparing, approving, or failing to
   the officer positions created by your charter,                        prepare or approve, maps, shop
   constitution, bylaws or any other similar governing                   drawings, opinions, reports, surveys,
   document.                                                             field orders, change orders or drawings
7. "Hostile fire" means one which becomes                                and specifications; or
   uncontrollable or breaks out from where it was                    (b) Giving directions or instructions, or
   intended to be.


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                failing to give them, if that is the primary       f. Vehicles not described in Paragraph a., b., c.
                cause of the injury or damage; or                     or d. above maintained primarily for purposes
       (3) Under which the insured, if an architect,                  other than the transportation of persons or
            engineer or surveyor, assumes liability for               cargo.
            an injury or damage arising out of the                     However, self-propelled vehicles with the
            insured's rendering or failure to render                  following types of permanently attached
            professional services, including those listed             equipment are not "mobile equipment" but will
            in (2) above and supervisory, inspection,                 be considered "autos":
            architectural or engineering activities.                 (1) Equipment designed primarily for:
10. "Leased worker" means a person leased to you by                     (a) Snow removal;
    a labor leasing firm under an agreement between
    you and the labor leasing firm, to perform duties                   (b) Road maintenance, but not construction
    related to the conduct of your business. "Leased                        or resurfacing; or
    worker" does not include a "temporary worker".                        (c) Street cleaning;
11. "Loading or unloading" means the handling of                      (2) Cherry pickers and similar devices mounted
    property:                                                              on automobile or truck chassis and used to
    a. After it is moved from the place where it is                        raise or lower workers; and
        accepted for movement into or onto an aircraft,               (3) Air compressors, pumps and generators,
        watercraft or "auto";                                              including spraying, welding, building
    b. While it is in or on an aircraft, watercraft or                     cleaning, geophysical exploration, lighting
        "auto"; or                                                         and well servicing equipment.
    c. While it is being moved from an aircraft,                   However, "mobile equipment" does not include
        watercraft or "auto" to the place where it is              any land vehicles that are subject to a compulsory
        finally delivered;                                         or financial responsibility law or other motor
                                                                   vehicle insurance law where it is licensed or
    but "loading or unloading" does not include the                principally garaged. Land vehicles subject to a
    movement of property by means of a mechanical                  compulsory or financial responsibility law or other
    device, other than a hand truck, that is not                   motor vehicle insurance law are considered
    attached to the aircraft, watercraft or "auto".                "autos".
12. "Mobile equipment" means any of the following              13. "Occurrence" means an accident, including
    types of land vehicles, including any attached                 continuous or repeated exposure to substantially
    machinery or equipment:                                        the same general harmful conditions.
    a. Bulldozers, farm machinery, forklifts and other         14. "Personal and advertising injury" means injury,
        vehicles designed for use principally off public           including consequential "bodily injury", arising out
        roads;                                                     of one or more of the following offenses:
    b. Vehicles maintained for use solely on or next to            a. False arrest, detention or imprisonment;
        premises you own or rent;
                                                                   b. Malicious prosecution;
   c. Vehicles that travel on crawler treads;
                                                                   c. The wrongful eviction from, wrongful entry into,
   d. Vehicles, whether self-propelled or not,                         or invasion of the right of private occupancy of
      maintained primarily to provide mobility to                      a room, dwelling or premises that a person
      permanently mounted:                                             occupies, committed by or on behalf of its
     (1) Power cranes, shovels, loaders, diggers or                    owner, landlord or lessor;
          drills; or                                               d. Oral or written publication, in any manner, of
     (2) Road construction or resurfacing equipment                    material that slanders or libels a person or
          such as graders, scrapers or rollers;                        organization or disparages a person's or
   e. Vehicles not described in Paragraph a., b., c.                   organization's goods, products or services;
      or d. above that are not self-propelled and are              e. Oral or written publication, in any manner, of
      maintained primarily to provide mobility to                      material that violates a person's right of
      permanently attached equipment of the                            privacy;
      following types:                                              f. The use of another's advertising idea in your
     (1) Air compressors, pumps and generators,                        "advertisement"; or
          including spraying, welding, building                    g. Infringing upon another's copyright, trade dress
          cleaning, geophysical exploration, lighting                  or slogan in your "advertisement".
          and well servicing equipment; or
                                                               15. "Pollutants" mean any solid, liquid, gaseous or
     (2) Cherry pickers and similar devices used to                thermal irritant or contaminant, including smoke,
          raise or lower workers;                                  vapor, soot, fumes, acids, alkalis, chemicals and


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   waste. Waste includes materials to be recycled,                information, facts or programs stored as or on,
   reconditioned or reclaimed.                                    created or used on, or transmitted to or from
16. "Products-completed operations hazard":                       computer software, including systems and
                                                                  applications software, hard or floppy disks,
    a. Includes all "bodily injury" and "property                 CD-ROMs, tapes, drives, cells, data processing
       damage" occurring away from premises you                   devices or any other media which are used with
       own or rent and arising out of "your product" or           electronically controlled equipment.
       "your work" except:
                                                              18. "Suit" means a civil proceeding in which damages
      (1) Products that are still in your physical                because of "bodily injury", "property damage" or
           possession; or                                         "personal and advertising injury" to which this
      (2) Work that has not yet been completed or                 insurance applies are alleged. "Suit" includes:
           abandoned. However, "your work" will be                a. An arbitration proceeding in which such
           deemed completed at the earliest of the                    damages are claimed and to which the insured
           following times:                                           must submit or does submit with our consent;
          (a) When all of the work called for in your                 or
               contract has been completed.                       b. Any other alternative dispute resolution
          (b) When all of the work to be done at the                  proceeding in which such damages are
               job site has been completed if your                    claimed and to which the insured submits with
               contract calls for work at more than one               our consent.
               job site.                                      19. "Temporary worker" means a person who is
          (c) When that part of the work done at a job            furnished to you to substitute for a permanent
               site has been put to its intended use by           "employee" on leave or to meet seasonal or short-
               any person or organization other than              term workload conditions.
               another contractor or subcontractor            20. "Volunteer worker" means a person who is not
               working on the same project.                       your "employee", and who donates his or her work
           Work that may need service, maintenance,               and acts at the direction of and within the scope of
           correction, repair or replacement, but which           duties determined by you, and is not paid a fee,
           is otherwise complete, will be treated as              salary or other compensation by you or anyone
           completed.                                             else for their work performed for you.
    b. Does not include "bodily injury" or "property          21. "Your product":
       damage" arising out of:                                    a. Means:
      (1) The transportation of property, unless the                (1) Any goods or products, other than real
           injury or damage arises out of a condition in                property, manufactured, sold, handled,
           or on a vehicle not owned or operated by                     distributed or disposed of by:
           you, and that condition was created by the
           "loading or unloading" of that vehicle by any               (a) You;
           insured;                                                    (b) Others trading under your name; or
      (2) The existence of tools, uninstalled                          (c) A person or organization whose
           equipment or abandoned or unused                                 business or assets you have acquired;
           materials; or                                                    and
      (3) Products or operations for which the                      (2) Containers (other than vehicles), materials,
           classification, listed in the Declarations or in             parts or equipment furnished in connection
           a      policy     Schedule,      states     that             with such goods or products.
           products-completed operations are subject             b. Includes:
           to the General Aggregate Limit.
                                                                    (1) Warranties or representations made at any
17. "Property damage" means:                                            time with respect to the fitness, quality,
    a. Physical injury to tangible property, including                  durability, performance or use of "your
        all resulting loss of use of that property. All                 product"; and
        such loss of use shall be deemed to occur at                (2) The providing of or failure to provide
        the time of the physical injury that caused it; or              warnings or instructions.
    b. Loss of use of tangible property that is not              c. Does not include vending machines or other
        physically injured. All such loss of use shall be            property rented to or located for the use of
        deemed to occur at the time of the                           others but not sold.
        "occurrence" that caused it.
                                                              22. "Your work":
    For the purposes of this insurance, electronic data
    is not tangible property.                                     a. Means:
    As used in this definition, electronic data means               (1) Work or operations performed by you or on


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         your behalf; and                                         time with respect to the fitness, quality,
     (2) Materials, parts or equipment furnished in               durability, performance or use of "your
         connection with such work or operations.                 work"; and
  b. Includes:                                                (2) The providing of or failure to provide
                                                                  warnings or instructions.
     (1) Warranties or representations made at any




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                                                                            COMMERCIAL GENERAL LIABILITY
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                     LIQUOR LIABILITY COVERAGE FORM

Various provisions in this policy restrict coverage.                     by you to give or receive notice of an
Read the entire policy carefully to determine rights,                    "injury" or claim, knew that the "injury" had
duties and what is and is not covered.                                   occurred, in whole or in part. If such a
                                                                         listed insured or authorized "employee"
Throughout this policy the words "you" and "your"                        knew, prior to the policy period, that the
refer to the Named Insured shown in the Declarations,                    "injury" occurred, then any continuation,
and any other person or organization qualifying as a                     change or resumption of such "injury"
Named Insured under this policy. The words "we",                         during or after the policy period will be
"us" and "our" refer to the company providing this                       deemed to have been known prior to the
insurance.                                                               policy period.
The word "insured" means any person or organization             c. "Injury" which occurs during the policy period
qualifying as such under Section II – Who Is An                     and was not, prior to the policy period, known
Insured.                                                            to have occurred by any insured listed under
Other words and phrases that appear in quotation                    Paragraph 1. of Section II – Who Is An
marks have special meaning. Refer to Section V –                    Insured or any "employee" authorized by you
Definitions.                                                        to give or receive notice of an "injury" or
                                                                    claim, includes any continuation, change or
SECTION I – LIQUOR LIABILITY COVERAGE
                                                                    resumption of that "injury" after the end of the
1. Insuring Agreement                                               policy period.
    a. We will pay those sums that the insured                   d. "Injury" will be deemed to have been known
        becomes legally obligated to pay as damages                 to have occurred at the earliest time when
        because of "injury" to which this insurance                 any insured listed under Paragraph 1. of
        applies if liability for such "injury" is imposed           Section II – Who Is An Insured or any
        on the insured by reason of the selling,                    "employee" authorized by you to give or
        serving or furnishing of any alcoholic                      receive notice of an "injury" or claim:
        beverage. We will have the right and duty to
        defend the insured against any "suit" seeking              (1)Reports all, or any part, of the "injury" to us
        those damages. However, we will have no                        or any other insurer;
        duty to defend the insured against any "suit"              (2)Receives a written or verbal demand or
        seeking damages for "injury" to which this                     claim for damages because of the "injury";
        insurance does not apply. We may, at our                       or
        discretion, investigate any "injury" and settle            (3)Becomes aware by any other means that
        any claim or "suit" that may result. But:                      "injury" has occurred or has begun to occur.
       (1)The amount we will pay for damages is              2. Exclusions
          limited as described in Section III – Limits
          Of Insurance; and                                     This insurance does not apply to:
       (2) Our right and duty to defend ends when                a. Expected Or Intended Injury
            we have used up the applicable limit of                "Injury" expected or intended from the
            insurance in the payment of judgments or               standpoint of the insured. This exclusion does
            settlements.                                           not apply to "bodily injury" resulting from the
      No other obligation or liability to pay sums or              use of reasonable force to protect persons or
      perform acts or services is covered unless                   property.
      explicitly provided for under Supplementary                b.Workers' Compensation And Similar Laws
      Payments.                                                    Any obligation of the insured under a workers'
    b. This insurance applies to "injury" only if:                 compensation,       disability  benefits   or
       (1)The "injury" occurs during the policy period             unemployment compensation law or any
          in the "coverage territory"; and                         similar law.
       (2) Prior to the policy period, no insured listed
            under Paragraph 1. of Section II – Who Is
            An Insured and no "employee" authorized


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    c. Employer's Liability                                             any of these.
      "Bodily injury" to:                                  SUPPLEMENTARY PAYMENTS
       (1)An "employee" of the insured arising out of      We will pay, with respect to any claim we investigate
          and in the course of:                            or settle, or any "suit" against an insured we defend:
         (a) Employment by the insured; or                 1. All expenses we incur.
         (b) Performing duties related to the conduct      2. The cost of bonds to release attachments, but
             of the insured's business; or                      only for bond amounts within the applicable limit
                                                                of insurance. We do not have to furnish these
       (2)The spouse, child, parent, brother or sister          bonds.
          of that "employee" as a consequence of
          Paragraph (1) above.                             3. All reasonable expenses incurred by the insured
                                                                at our request to assist us in the investigation or
      This exclusion applies whether the insured                defense of the claim or "suit", including actual
      may be liable as an employer or in any other              loss of earnings up to $250 a day because of
      capacity and to any obligation to share                   time off from work.
      damages with or repay someone else who
      must pay damages because of the "injury".            4. All court costs taxed against the insured in the
                                                                "suit". However, these payments do not include
    d. Liquor License Not In Effect                             attorneys' fees or attorneys' expenses taxed
      "Injury" arising out of any alcoholic beverage            against the insured.
      sold, served or furnished while any required         5. Prejudgment interest awarded against the insured
      license is not in effect.                                 on that part of the judgment we pay. If we make
    e. Your Product                                             an offer to pay the applicable limit of insurance,
      "Injury" arising out of "your product". This              we will not pay any prejudgment interest based
      exclusion does not apply to "injury" for which            on that period of time after the offer.
      the insured or the insured's indemnitees may         6. All interest on the full amount of any judgment
      be held liable by reason of:                             that accrues after entry of the judgment and
       (1)Causing or contributing to the intoxication of       before we have paid, offered to pay, or deposited
          any person;                                          in court the part of the judgment that is within the
                                                               applicable limit of insurance.
       (2)The furnishing of alcoholic beverages to a
          person under the legal drinking age or           7. Expenses incurred by the insured for first aid
          under the influence of alcohol; or                   administered to others at the time of an event to
                                                               which this insurance applies.
       (3)Any statute, ordinance or regulation relating
          to the sale, gift, distribution or use of        These payments will not reduce the limits of
          alcoholic beverages.                             insurance.

    f. Other Insurance                                     SECTION II – WHO IS AN INSURED
      Any "injury" with respect to which other             1. If you are designated in the Declarations as:
      insurance is afforded, or would be afforded but          a.An individual, you and your spouse are
      for the exhaustion of the limits of insurance.              insureds.
      This exclusion does not apply if the other               b. A partnership or joint venture, you are an
      insurance responds to liability for "injury"                  insured. Your members, your partners, and
      imposed on the insured by reason of the                       their spouses are also insureds, but only with
      selling, serving or furnishing of any alcoholic               respect to the conduct of your business.
      beverage.                                                c. A limited liability company, you are an
    g. War                                                          insured. Your members are also insureds, but
      "Injury", however caused, arising, directly or                only with respect to the conduct of your
      indirectly, out of:                                           business. Your managers are insureds, but
                                                                    only with respect to their duties as your
      (1) War, including undeclared or civil war;                   managers.
      (2) Warlike action by a military force, including        d. An organization other than a partnership, joint
          action in hindering or defending against an               venture or limited liability company, you are
          actual or expected attack, by any                         an insured. Your "executive officers" and
          government, sovereign or other authority                  directors are insureds, but only with respect
          using military personnel or other agents;                 to their duties as your officers or directors.
          or                                                        Your stockholders are also insureds, but only
      (3) Insurrection, rebellion, revolution, usurped              with respect to their liability as stockholders.
          power, or action taken by governmental               e. A trust, you are an insured. Your trustees are
          authority in hindering or defending against               also insureds, but only with respect to their


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      duties as trustees.                                            the organization or the end of the policy
2. Each of the following is also an insured:                         period, whichever is earlier; and
   a. Your "employees", other than either your                   b. Coverage does not apply to "injury" that
      "executive officers" (if you are an organization               occurred before you acquired or formed the
      other than a partnership, joint venture or                     organization.
      limited liability company) or your managers (if       No person or organization is an insured with respect
      you are a limited liability company), but only        to the conduct of any current or past partnership, joint
      for acts within the scope of their employment         venture or limited liability company that is not shown
      by you or while performing duties related to          as a Named Insured in the Declarations.
      the conduct of your business. However, none           SECTION III – LIMITS OF INSURANCE
      of these "employees" is an insured for:
                                                            1. The Limits of Insurance shown in the Declarations
       (1) "Injury":                                           and the rules below fix the most we will pay
         (a) To you, to your partners or members (if           regardless of the number of:
              you are a partnership or joint venture),           a.Insureds;
              to your members (if you are a limited
              liability company), or to a co-"employee"          b.Claims made or "suits" brought; or
              while that co-"employee" is either in the          c.Persons or organizations making claims or
              course of his or her employment or                    bringing "suits".
              performing duties related to the conduct
                                                            2. The Aggregate Limit is the most we will pay for all
              of your business;
                                                                 "injury" as the result of the selling, serving or
         (b) To the spouse, child, parent, brother or            furnishing of alcoholic beverages.
             sister of that co-"employee" as a
                                                            3. Subject to the Aggregate Limit, the Each
             consequence of Paragraph (a) above; or
                                                                 Common Cause Limit is the most we will pay for
         (c) For which there is any obligation to                all "injury" sustained by one or more persons or
             share damages with or repay someone                 organizations as the result of the selling, serving
             else who must pay damages because of                or furnishing of any alcoholic beverage to any
             the injury described in Paragraph (a) or            one person.
             (b) above.
                                                            The Limits of Insurance of this Coverage Part apply
      (2) "Property damage" to property:                    separately to each consecutive annual period and to
        (a) Owned or occupied by; or                        any remaining period of less than 12 months, starting
                                                            with the beginning of the policy period shown in the
        (b) Rented or loaned;                               Declarations, unless the policy period is extended
         to that "employee", any of your other              after issuance for an additional period of less than 12
         "employees", by any of your partners or            months. In that case, the additional period will be
         members (if you are a partnership or joint         deemed part of the last preceding period for purposes
         venture), or by any of your members (if you        of determining the Limits of Insurance.
         are a limited liability company).                  SECTION IV – LIQUOR LIABILITY CONDITIONS
   b.Any person or organization having proper               1. Bankruptcy
     temporary custody of your property if you die,
     but only:                                                 Bankruptcy or insolvency of the insured or of the
                                                               insured's estate will not relieve us of our
      (1)With respect to liability arising out of the          obligations under this Coverage Part.
         maintenance or use of that property; and
                                                             2. Duties In The Event Of Injury, Claim Or Suit
      (2)Until your legal representative has been
         appointed.                                              a. You must see to it that we are notified as
                                                                     soon as practicable of an "injury" which may
   c. Your legal representative if you die, but only                 result in a claim. To the extent possible,
       with respect to duties as such. That                          notice should include:
       representative will have all your rights and
       duties under this Coverage Part.                             (1)How,when and where the "injury" took
                                                                       place;
3. Any organization you newly acquire or form, other
   than a partnership, joint venture or limited liability           (2)The names and addresses of any injured
   company, and over which you maintain                                persons and witnesses; and
   ownership or majority interest, will qualify as a               (3) The nature and location of any "injury".
   Named Insured if there is no other similar
                                                                b. If a claim is made or "suit" is brought against
   insurance available to that organization.
                                                                    any insured, you must:
   However:
                                                                   (1)Immediately record the specifics of the
   a. Coverage under this provision is afforded only
                                                                      claim or "suit" and the date received; and
       until the 90th day after you acquire or form


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      (2)Notify us as soon as practicable.                          insurer contributes equal amounts until it has
      You must see to it that we receive written                    paid its applicable limit of insurance or none
      notice of the claim or "suit" as soon as                      of the loss remains, whichever comes first.
      practicable.                                                  If any of the other insurance does not permit
    c. You and any other involved insured must:                     contribution by equal shares, we will
                                                                    contribute by limits. Under this method, each
       (1) Immediately send us copies of any                        insurer's share is based on the ratio of its
            demands, notices, summonses or legal                    applicable limit of insurance to the total
            papers received in connection with the                  applicable limits of insurance of all insurers.
            claim or "suit";
                                                            5. Premium Audit
       (2)Authorize us to obtain records and other
          information;                                          a.We will compute all premiums for this
                                                                  Coverage Part in accordance with our rules
       (3)Cooperate with us in the investigation or               and rates.
          settlement of the claim or defense against
          the "suit"; and                                       b. Premium shown in this Coverage Part as
                                                                   advance premium is a deposit premium only.
       (4) Assist us, upon our request, in the                     At the close of each audit period we will
            enforcement of any right against any                   compute the earned premium for that period
            person or organization which may be                    and send notice to the first Named Insured.
            liable to the insured because of "injury" to           The due date for audit and retrospective
            which this insurance may also apply.                   premiums is the date shown as the due date
    d. No insured will, except at that insured's own               on the bill. If the sum of the advance and
       cost, voluntarily make a payment, assume                    audit premiums paid for the policy period is
       any obligation, or incur any expense, other                 greater than the earned premium, we will
       than for first aid, without our consent.                    return the excess to the first Named Insured.
3. Legal Action Against Us                                      c. The first Named Insured must keep records
   No person or organization has a right under this                of the information we need for premium
   Coverage Part:                                                  computation, and send us copies at such
                                                                   times as we may request.
     a.To join us as a party or otherwise bring us into
       a "suit" asking for damages from an insured; or      6. Representations
    b.To sue us on this Coverage Part unless all of            By accepting this policy, you agree:
       its terms have been fully complied with.                 a.The statements in the Declarations are
   A person or organization may sue us to recover on              accurate and complete;
   an agreed settlement or on a final judgment                  b.Those    statements      are    based upon
   against an insured; but we will not be liable for              representations you made to us; and
   damages that are not payable under the terms of              c.We have issued this policy in reliance upon
   this Coverage Part or that are in excess of the                your representations.
   applicable limit of insurance. An agreed settlement
   means a settlement and release of liability signed       7. Separation Of Insureds
   by us, the insured and the claimant or the                  Except with respect to the Limits of Insurance, and
   claimant's legal representative.                            any rights or duties specifically assigned in this
4. Other Insurance                                             Coverage Part to the first Named Insured, this
                                                               insurance applies:
   If other valid and collectible insurance is available
   to the insured for a loss we cover under this                 a.As if each Named Insured were the only
   Coverage Part, our obligations are limited as                   Named Insured; and
   follows:                                                      b.Separately to each insured against whom claim
    a. Primary Insurance                                           is made or "suit" is brought.
       This insurance is primary. Our obligations are       8. Transfer Of Rights Of Recovery Against Others
       not affected unless any of the other insurance          To Us
       is also primary. Then, we will share with all           If the insured has rights to recover all or part of
       that other insurance by the method described            any payment we have made under this Coverage
       in b. below.                                            Part, those rights are transferred to us. The
    b. Method Of Sharing                                       insured must do nothing after loss to impair them.
                                                               At our request, the insured will bring "suit" or
       If all of the other insurance permits                   transfer those rights to us and help us enforce
       contribution by equal shares, we will follow            them.
       this method also. Under this approach each


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9. When We Do Not Renew                                       6. "Leased worker" means a person leased to you
                                                                  by a labor leasing firm under an agreement
   If we decide not to renew this Coverage Part, we               between you and the labor leasing firm, to
   will mail or deliver to the first Named Insured                perform duties related to the conduct of your
   shown in the Declarations written notice of the                business. "Leased worker" does not include a
   nonrenewal not less than 30 days before the                    "temporary worker".
   expiration date.
                                                              7. "Property damage" means:
   If notice is mailed, proof of mailing will be sufficient
   proof of notice.                                               a. Physical injury to tangible property, including
                                                                      all resulting loss of use of that property. All
SECTION V – DEFINITIONS                                               such loss of use shall be deemed to occur at
1. "Bodily injury" means bodily injury, sickness or                   the time of the physical injury that caused it;
    disease sustained by a person, including death                    or
    resulting from any of these at any time.                      b. Loss of use of tangible property that is not
2. "Coverage territory" means:                                        physically injured. All such loss of use shall
    a.The United States of America (including its                     be deemed to occur at the time of the
       territories and possessions), Puerto Rico and                  occurrence that caused it.
       Canada;                                                8. "Suit" means a civil proceeding in which damages
    b. International waters or airspace, but only if              because of "injury" to which this insurance
         the "injury" occurs in the course of travel or           applies are alleged. "Suit" includes:
         transportation between any places included in            a. An arbitration proceeding in which such
         Paragraph a. above; or                                       damages are claimed and to which the
    c.All other parts of the world if the "injury" arises             insured must submit or does submit with our
       out of:                                                        consent; or
        (1)Goods or products made or sold by you in               b. Any other alternative dispute resolution
           the territory described in Paragraph a.                    proceeding in which such damages are
           above; or                                                  claimed and to which the insured submits
                                                                      with our consent.
        (2) The activities of a person whose home is
             in the territory described in Paragraph a.       9. "Temporary worker" means a person who is
             above, but is away for a short time on your          furnished to you to substitute for a permanent
             business;                                            "employee" on leave or to meet seasonal or
                                                                  short-term workload conditions.
       provided the insured's responsibility to pay
       damages is determined in a "suit" on the               10. "Your product":
       merits, in the territory described in Paragraph             a. Means:
       a. above or in a settlement we agree to.                       (1) Any goods or products, other than real
3. "Employee" includes a "leased worker".                                 property, manufactured, sold, handled,
   "Employee" does not include a "temporary                               distributed or disposed of by:
   worker".                                                            (a) You;
4. "Executive officer" means a person holding any of                   (b) Others trading under your name; or
    the officer positions created by your charter,
    constitution, bylaws or any other similar                          (c) A person or organization whose
    governing document.                                                    business or assets you have acquired;
                                                                           and
5. "Injury" means damages because of "bodily
    injury" and "property damage", including                         (2) Containers     (other    than    vehicles),
    damages for care, loss of services or loss of                        materials, parts or equipment furnished in
    support.                                                             connection with such goods or products.




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POLICY NUMBER: 1000305221181
                                              REDACTED                     COMMERCIAL GENERAL LIABILITY
                                                                                          CG 04 35 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EMPLOYEE BENEFITS LIABILITY COVERAGE
                        THIS ENDORSEMENT PROVIDES CLAIMS-MADE COVERAGE.
                         PLEASE READ THE ENTIRE ENDORSEMENT CAREFULLY.

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

                                                                   Each Employee
    Coverage                    Limit Of Insurance                   Deductible                  Premium
 Employee Benefits      $ 1,000,000         each employee        $ 1,000

 Programs               $ 2,000,000          aggregate
 Retroactive Date:      07/31/2018
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to Section I – Coverages:                  (1) The act, error or omission, is negligently
                                                                          committed in the "administration" of your
   COVERAGE          –   EMPLOYEE         BENEFITS                        "employee benefit program";
   LIABILITY
                                                                     (2) The act, error or omission, did not take
   1. Insuring Agreement                                                  place before the Retroactive Date, if
      a. We will pay those sums that the insured                          any, shown in the Schedule nor after the
          becomes legally obligated to pay as                             end of the policy period; and
          damages because of any act, error or                       (3) A "claim" for damages, because of an
          omission, of the insured, or of any other                       act, error or omission, is first made
          person for whose acts the insured is legally                    against any insured, in accordance with
          liable, to which this insurance applies. We                     Paragraph c. below, during the policy
          will have the right and duty to defend the                      period or an Extended Reporting Period
          insured against any "suit" seeking those                        we provide under Paragraph F. of this
          damages. However, we will have no duty to                       endorsement.
          defend the insured against any "suit"
          seeking damages to which this insurance                  c. A "claim" seeking damages will be deemed
          does not apply. We may, at our discretion,                  to have been made at the earlier of the
          investigate any report of an act, error or                  following times:
          omission and settle any "claim" or "suit" that             (1) When notice of such "claim" is received
          may result. But:                                                and recorded by any insured or by us,
         (1) The amount we will pay for damages is                        whichever comes first; or
              limited as described in Paragraph D.
              (Section III – Limits Of Insurance); and
         (2) Our right and duty to defend ends when
              we have used up the applicable limit of
              insurance in the payment of judgments
              or settlements.
          No other obligation or liability to pay sums
          or perform acts or services is covered
          unless explicitly provided for under
          Supplementary Payments.
      b. This insurance applies to damages only if:


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        (2) When      we      make    settlement     in           g. ERISA
             accordance with Paragraph a. above.                     Damages for which any insured is liable
         A "claim" received and recorded by the                      because of liability imposed on a fiduciary
         insured within 60 days after the end of the                 by the Employee Retirement Income
         policy period will be considered to have                    Security Act of 1974, as now or hereafter
         been received within the policy period, if no               amended, or by any similar federal, state or
         subsequent policy is available to cover the                 local laws.
         claim.                                                   h. Available Benefits
      d. All "claims" for damages made by an                         Any "claim" for benefits to the extent that
         "employee" because of any act, error or                     such benefits are available, with reasonable
         omission, or a series of related acts, errors               effort and cooperation of the insured, from
         or omissions, including damages claimed                     the applicable funds accrued or other
         by such "employee's" dependents and                         collectible insurance.
         beneficiaries, will be deemed to have been               i. Taxes, Fines Or Penalties
         made at the time the first of those "claims"
         is made against any insured.                                Taxes, fines or penalties, including those
                                                                     imposed under the Internal Revenue Code
   2. Exclusions                                                     or any similar state or local law.
      This insurance does not apply to:                           j. Employment-Related Practices
      a. Dishonest, Fraudulent, Criminal Or                          Damages      arising  out    of    wrongful
         Malicious Act                                               termination of employment, discrimination,
         Damages arising out of any intentional,                     or other employment-related practices.
         dishonest, fraudulent, criminal or malicious      B. For the purposes of the coverage provided by this
         act, error or omission, committed by any             endorsement:
         insured, including the willful or reckless
         violation of any statute.                            1. All references to Supplementary Payments –
                                                                 Coverages A and B are replaced by
      b. Bodily Injury, Property Damage, Or                      Supplementary Payments – Coverages A, B
         Personal And Advertising Injury                         and Employee Benefits Liability.
         "Bodily injury", "property damage" or                2. Paragraphs 1.b. and 2. of the Supplementary
         "personal and advertising injury".                      Payments provision do not apply.
      c. Failure To Perform A Contract                     C. For the purposes of the coverage provided by this
         Damages arising out of failure             of        endorsement, Paragraphs 2. and 3. of Section II –
         performance of contract by any insurer.              Who Is An Insured are replaced by the following:
      d. Insufficiency Of Funds                               2. Each of the following is also an insured:
         Damages arising out of an insufficiency of              a. Each of your "employees" who is or was
         funds to meet any obligations under any                     authorized to administer your "employee
         plan included in the "employee benefit                      benefit program".
         program".                                               b. Any persons, organizations or "employees"
      e. Inadequacy      Of   Performance       Of                   having proper temporary authorization to
         Investment/Advice Given With Respect                        administer your "employee benefit program"
         To Participation                                            if you die, but only until your legal
         Any "claim" based upon:                                     representative is appointed.
        (1) Failure of any investment to perform;                c. Your legal representative if you die, but only
                                                                     with respect to duties as such. That
        (2) Errors in providing information on past                  representative will have all your rights and
            performance of investment vehicles; or                   duties under this Endorsement.
        (3) Advice given to any person with respect           3. Any organization you newly acquire or form,
            to that person's decision to participate or          other than a partnership, joint venture or limited
            not to participate in any plan included in           liability company, and over which you maintain
            the "employee benefit program".                      ownership or majority interest, will qualify as a
      f. Workers' Compensation And Similar                       Named Insured if no other similar insurance
         Laws                                                    applies to that organization. However:
         Any "claim" arising out of your failure to              a. Coverage under this provision is afforded
         comply with the mandatory provisions of                     only until the 90th day after you acquire or
         any workers' compensation, unemployment                     form the organization or the end of the
         compensation insurance, social security or                  policy period, whichever is earlier.
         disability benefits law or any similar law.


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       b. Coverage under this provision does not                     amount stated in the Schedule as
           apply to any act, error or omission that was              applicable to Each Employee. The limits of
           committed before you acquired or formed                   insurance shall not be reduced by the
           the organization.                                         amount of this deductible.
D. For the purposes of the coverage provided by this             b. The deductible amount stated in the
   endorsement, Section III – Limits Of Insurance                    Schedule applies to all damages sustained
   is replaced by the following:                                     by any one "employee", including such
   1. Limits Of Insurance                                            "employee's" dependents and beneficiaries,
                                                                     because of all acts, errors or omissions to
      a. The Limits of Insurance shown in the                        which this insurance applies.
         Schedule and the rules below fix the most
         we will pay regardless of the number of:                 c. The terms of this insurance, including those
                                                                     with respect to:
         (1) Insureds;
                                                                    (1) Our right and duty to defend any "suits"
         (2) "Claims" made or "suits" brought;                          seeking those damages; and
         (3) Persons or organizations making                        (2) Your duties, and the duties of any other
             "claims" or bringing "suits";                              involved insured, in the event of an act,
        (4) Acts, errors or omissions; or                               error or omission, or "claim"
        (5) Benefits included in your "employee                      apply irrespective of the application of the
             benefit program".                                       deductible amount.
      b. The Aggregate Limit is the most we will pay             d. We may pay any part or all of the
         for all damages because of acts, errors or                  deductible amount to effect settlement of
         omissions negligently committed in the                      any "claim" or "suit" and, upon notification
         "administration" of your "employee benefit                  of the action taken, you shall promptly
         program".                                                   reimburse us for such part of the deductible
      c. Subject to the Aggregate Limit, the Each                    amount as we have paid.
         Employee Limit is the most we will pay for        E. For the purposes of the coverage provided by this
         all damages sustained by any one                     endorsement, Conditions 2. and 4. of Section IV –
         "employee", including damages sustained              Commercial General Liability Conditions are
         by such "employee's" dependents and                  replaced by the following:
         beneficiaries, as a result of:                       2. Duties In The Event Of An Act, Error Or
         (1) An act, error or omission; or                       Omission, Or "Claim" Or "Suit"
         (2) A series of related acts, errors or                  a. You must see to it that we are notified as
              omissions                                              soon as practicable of an act, error or
          negligently       committed      in      the               omission which may result in a "claim". To
          "administration" of your "employee benefit                 the extent possible, notice should include:
          program".                                                 (1) What the act, error or omission was and
          However, the amount paid under this                           when it occurred; and
          endorsement shall not exceed, and will be                 (2) The names and addresses of anyone
          subject to, the limits and restrictions that                  who may suffer damages as a result of
          apply to the payment of benefits in any plan                  the act, error or omission.
          included in the "employee benefit program".            b. If a "claim" is made or "suit" is brought
      The Limits of Insurance of this endorsement                    against any insured, you must:
      apply separately to each consecutive annual                   (1) Immediately record the specifics of the
      period and to any remaining period of less than                   "claim" or "suit" and the date received;
      12 months, starting with the beginning of the                     and
      policy period shown in the Declarations of the
      policy to which this endorsement is attached,                 (2) Notify us as soon as practicable.
      unless the policy period is extended after                     You must see to it that we receive written
      issuance for an additional period of less than                 notice of the "claim" or "suit" as soon as
      12 months. In that case, the additional period                 practicable.
      will be deemed part of the last preceding                   c. You and any other involved insured must:
      period for purposes of determining the Limits
      Of Insurance.                                                 (1) Immediately send us copies of any
                                                                        demands, notices, summonses or legal
   2. Deductible                                                        papers received in connection with the
      a. Our obligation to pay damages on behalf of                     "claim" or "suit";
         the insured applies only to the amount of                  (2) Authorize us to obtain records and other
         damages in excess of the deductible


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            information;                                                 and self-insured amounts under all that
        (3) Cooperate with us in the investigation or                    other insurance.
            settlement of the "claim" or defense                     (4) We will share the remaining loss, if any,
            against the "suit"; and                                      with any other insurance that is not
        (4) Assist us, upon our request, in the                          described in this Excess Insurance
            enforcement of any right against any                         provision    and    was   not    bought
            person or organization which may be                          specifically to apply in excess of the
            liable to the insured because of an act,                     Limits of Insurance shown in the
            error or omission to which this insurance                    Schedule of this endorsement.
            may also apply.                                       c. Method Of Sharing
      d. No insured will, except at that insured's own                If all of the other insurance permits
         cost, voluntarily make a payment, assume                     contribution by equal shares, we will follow
         any obligation or incur any expense without                  this method also. Under this approach each
         our consent.                                                 insurer contributes equal amounts until it
   4. Other Insurance                                                 has paid its applicable limit of insurance or
                                                                      none of the loss remains, whichever comes
      If other valid and collectible insurance is                     first.
      available to the insured for a loss we cover
      under this endorsement, our obligations are                     If any of the other insurance does not
      limited as follows:                                             permit contribution by equal shares, we will
                                                                      contribute by limits. Under this method,
      a. Primary Insurance                                            each insurer's share is based on the ratio of
         This insurance is primary except when                        its applicable limits of insurance to the total
         Paragraph b. below applies. If this                          applicable limits of insurance of all insurers.
         insurance is primary, our obligations are not      F. For the purposes of the coverage provided by this
         affected unless any of the other insurance            endorsement, the following Extended Reporting
         is also primary. Then, we will share with all         Period provisions are added, or, if this
         that other insurance by the method                    endorsement is attached to a claims-made
         described in Paragraph c. below.                      Coverage Part, replaces any similar Section in that
      b. Excess Insurance                                      Coverage Part:
         (1) This insurance is excess over any of the          EXTENDED REPORTING PERIOD
             other insurance, whether primary,                 1. You will have the right to purchase an
             excess, contingent or on any other basis             Extended Reporting Period, as described
             that is effective prior to the beginning of          below, if:
             the policy period shown in the Schedule
             of this insurance and that applies to an             a. This endorsement is canceled or not
             act, error or omission on other than a                   renewed; or
             claims-made basis, if:                               b. We renew or replace this endorsement with
            (a) No Retroactive Date is shown in the                   insurance that:
                  Schedule of this insurance; or                     (1) Has a Retroactive Date later than the
            (b) The other insurance has a policy                         date shown in the Schedule of this
                  period which continues after the                       endorsement; or
                  Retroactive Date shown in the                      (2) Does not apply to an act, error or
                  Schedule of this insurance.                            omission on a claims-made basis.
         (2) When this insurance is excess, we will            2. The Extended Reporting Period does not
             have no duty to defend the insured                   extend the policy period or change the scope
             against any "suit" if any other insurer              of coverage provided. It applies only to "claims"
             has a duty to defend the insured against             for acts, errors or omissions that were first
             that "suit". If no other insurer defends,            committed before the end of the policy period
             we will undertake to do so, but we will              but not before the Retroactive Date, if any,
             be entitled to the insured's rights against          shown in the Schedule. Once in effect, the
             all those other insurers.                            Extended Reporting Period may not be
         (3) When this insurance is excess over                   canceled.
             other insurance, we will pay only our             3. An Extended Reporting Period of five years is
             share of the amount of the loss, if any,             available, but only by an endorsement and for
             that exceeds the sum of the total                    an extra charge.
             amount that all such other insurance                 You must give us a written request for the
             would pay for the loss in absence of this            endorsement within 60 days after the end of
             insurance; and the total of all deductible           the policy period. The Extended Reporting


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      Period will not go into effect unless you pay the         3. "Claim" means any demand, or "suit", made by
      additional premium promptly when due.                        an "employee" or an "employee's" dependents
      We will determine the additional premium in                  and beneficiaries, for damages as the result of
      accordance with our rules and rates. In doing                an act, error or omission.
      so, we may take into account the following:               4. "Employee benefit program" means a program
      a. The "employee benefit programs" insured;                  providing some or all of the following benefits
                                                                   to "employees", whether provided through a
      b. Previous types and amounts of insurance;                  "cafeteria plan" or otherwise:
      c. Limits of insurance available under this                  a. Group life insurance, group accident or
         endorsement for future payment of                            health insurance, dental, vision and hearing
         damages; and                                                 plans, and flexible spending accounts,
      d. Other related factors.                                       provided that no one other than an
      The additional premium will not exceed 100%                     "employee" may subscribe to such benefits
      of the annual premium for this endorsement.                     and such benefits are made generally
                                                                      available to those "employees" who satisfy
       The Extended Reporting Period endorsement                      the plan's eligibility requirements;
       applicable to this coverage shall set forth the
                                                                   b. Profit sharing plans, employee savings
       terms, not inconsistent with this Section,
                                                                      plans, employee stock ownership plans,
       applicable to the Extended Reporting Period,
                                                                      pension plans and stock subscription plans,
       including a provision to the effect that the
                                                                      provided that no one other than an
       insurance afforded for "claims" first received
                                                                      "employee" may subscribe to such benefits
       during such period is excess over any other
                                                                      and such benefits are made generally
       valid and collectible insurance available under
                                                                      available to all "employees" who are eligible
       policies in force after the Extended Reporting
                                                                      under the plan for such benefits;
       Period starts.
                                                                   c. Unemployment insurance, social security
   4. If the Extended Reporting Period is in effect,
                                                                      benefits, workers' compensation and
       we will provide an extended reporting period
                                                                      disability benefits;
       aggregate limit of insurance described below,
       but only for claims first received and recorded             d. Vacation plans, including buy and sell
       during the Extended Reporting Period.                          programs; leave of absence programs,
                                                                      including military, maternity, family, and civil
       The extended reporting period aggregate limit
                                                                      leave;      tuition       assistance     plans;
       of insurance will be equal to the dollar amount
                                                                      transportation and health club subsidies;
       shown in the Schedule of this endorsement
                                                                      and
       under Limits of Insurance.
       Paragraph D.1.b. of this endorsement will be                e. Any other similar benefits designated in the
       amended accordingly. The Each Employee                          Schedule     or    added      thereto    by
       Limit shown in the Schedule will then continue                  endorsement.
       to apply as set forth in Paragraph D.1.c.             H. For the purposes of the coverage provided by this
G. For the purposes of the coverage provided by this            endorsement, Definitions 5. and 18. in the
   endorsement, the following definitions are added             Definitions Section are replaced by the following:
   to the Definitions Section:                                  5. "Employee" means a person actively
                                                                   employed, formerly employed, on leave of
   1. "Administration" means:
                                                                   absence or disabled, or retired. "Employee"
      a. Providing information to "employees",                     includes a "leased worker". "Employee" does
         including      their     dependents          and          not include a "temporary worker".
         beneficiaries, with respect to eligibility for or
         scope of "employee benefit programs";                 18. "Suit" means a civil proceeding in which
                                                                   damages because of an act, error or omission
      b. Handling records in connection with the                   to which this insurance applies are alleged.
         "employee benefit program"; or                            "Suit" includes:
      c. Effecting, continuing or terminating any                  a. An arbitration proceeding in which such
         "employee's" participation in any benefit                     damages are claimed and to which the
         included in the "employee benefit program".                   insured must submit or does submit with
      However, "administration" does not include                       our consent; or
      handling payroll deductions.                                 b. Any other alternative dispute resolution
   2. "Cafeteria plans" means plans authorized by                      proceeding in which such damages are
      applicable law to allow employees to elect to                    claimed and to which the insured submits
      pay for certain benefits with pre-tax dollars.                   with our consent.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 04 24 10 93

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         COVERAGE FOR INJURY TO LEASED WORKERS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

With respect to the Employer's Liability exclusion (Section I) only, the definition of "employee" in the
DEFINITIONS Section is replaced by the following:

   "Employee" does not include a "leased worker" or a "temporary worker".




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POLICY NUMBER: 1000305221181                    REDACTED                  COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 11 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   ADDITIONAL INSURED – MANAGERS OR LESSORS OF
                     PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                  SCHEDULE

Designation Of Premises (Part Leased To You):
Any premises or part thereof leased to you.
Name Of Person(s) Or Organization(s) (Additional Insured):
Any person or organization from whom you lease premises or who manages premises you own and to whom
you become obligated to include as an additional insured under this policy as a result of any lease or
management agreement you enter into with such parties.
Additional Premium:       $


Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Section II – Who Is An Insured is amended to               2. If coverage provided to the additional insured is
   include as an additional insured the person(s) or             required by a contract or agreement, the
   organization(s) shown in the Schedule, but only               insurance afforded to such additional insured
   with respect to liability arising out of the                  will not be broader than that which you are
   ownership, maintenance or use of that part of the             required by the contract or agreement to
   premises leased to you and shown in the                       provide for such additional insured.
   Schedule and subject to the following additional        B. With respect to the insurance afforded to these
   exclusions:                                                additional insureds, the following is added to
   This insurance does not apply to:                          Section III – Limits Of Insurance:
   1. Any "occurrence" which takes place after you
                                                              If coverage provided to the additional insured is
       cease to be a tenant in that premises.
                                                              required by a contract or agreement, the most we
   2. Structural alterations, new construction or             will pay on behalf of the additional insured is the
       demolition operations performed by or on               amount of insurance:
       behalf of the person(s) or organization(s)
       shown in the Schedule.                                 1. Required by the contract or agreement; or
   However:                                                   2. Available under the applicable Limits of
                                                                  Insurance shown in the Declarations;
   1. The insurance afforded to such additional
       insured only applies to the extent permitted by        whichever is less.
       law; and                                               This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.




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POLICY NUMBER: 1000305221181                                               COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 12 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    ADDITIONAL INSURED – STATE OR GOVERNMENTAL
         AGENCY OR SUBDIVISION OR POLITICAL
      SUBDIVISION – PERMITS OR AUTHORIZATIONS
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                      SCHEDULE


State Or Governmental Agency Or Subdivision Or Political Subdivision:
Where Required By Written Contract
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to                   a. "Bodily injury", "property damage" or
   include as an additional insured any state or                     "personal and advertising injury" arising out
   governmental agency or subdivision or political                   of operations performed for the federal
   subdivision shown in the Schedule, subject to the                 government, state or municipality; or
   following provisions:                                          b. "Bodily injury" or "property damage"
   1. This insurance applies only with respect to                    included within the "products-completed
       operations performed by you or on your behalf                 operations hazard".
       for which the state or governmental agency or       B. With respect to the insurance afforded to these
       subdivision or political subdivision has issued a      additional insureds, the following is added to
       permit or authorization.                               Section III – Limits Of Insurance:
       However:                                               If coverage provided to the additional insured is
       a. The insurance afforded to such additional           required by a contract or agreement, the most we
          insured only applies to the extent permitted        will pay on behalf of the additional insured is the
          by law; and                                         amount of insurance:
       b. If coverage provided to the additional               1. Required by the contract or agreement; or
          insured is required by a contract or                 2. Available under the applicable Limits         of
          agreement, the insurance afforded to such               Insurance shown in the Declarations;
          additional insured will not be broader than          whichever is less.
          that which you are required by the contract
          or agreement to provide for such additional          This endorsement shall not increase the
          insured.                                             applicable Limits of Insurance shown in the
                                                               Declarations.
    2. This insurance does not apply to:




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 15 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       ADDITIONAL INSURED – VENDORS
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                      SCHEDULE

       Name Of Additional Insured Person(s) Or
                     Organization(s):                                          Your Products
Vendors who sell or distribute your products                 All Products
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to                      original container;
   include as an additional insured any person(s) or             e. Any failure to make such inspections,
   organization(s) (referred to throughout this                      adjustments, tests or servicing as the
   endorsement as vendor) shown in the Schedule,                     vendor has agreed to make or normally
   but only with respect to "bodily injury" or "property             undertakes to make in the usual course of
   damage" arising out of "your products" shown in                   business, in connection with the distribution
   the Schedule which are distributed or sold in the                 or sale of the products;
   regular course of the vendor's business.                      f. Demonstration, installation, servicing or
   However:                                                          repair operations, except such operations
                                                                     performed at the vendor's premises in
   1. The insurance afforded to such vendor only                     connection with the sale of the product;
      applies to the extent permitted by law; and                g. Products which, after distribution or sale by
   2. If coverage provided to the vendor is required                 you, have been labeled or relabeled or
      by a contract or agreement, the insurance                      used as a container, part or ingredient of
      afforded to such vendor will not be broader than               any other thing or substance by or for the
      that which you are required by the contract or                 vendor; or
      agreement to provide for such vendor.                      h. "Bodily injury" or "property damage" arising
                                                                     out of the sole negligence of the vendor for
B. With respect to the insurance afforded to these                   its own acts or omissions or those of its
   vendors, the following additional exclusions apply:               employees or anyone else acting on its
   1. The insurance afforded the vendor does not                     behalf. However, this exclusion does not
      apply to:                                                      apply to:
      a. "Bodily injury" or "property damage" for                    (1) The    exceptions      contained      in
          which the vendor is obligated to pay                           Sub-paragraphs d. or f.; or
          damages by reason of the assumption of                     (2) Such inspections, adjustments, tests or
          liability in a contract or agreement. This                     servicing as the vendor has agreed to
          exclusion does not apply to liability for                      make or normally undertakes to make
          damages that the vendor would have in the                      in the usual course of business, in
          absence of the contract or agreement;                          connection with the distribution or sale
      b. Any express warranty unauthorized by you;                       of the products.
      c. Any physical or chemical change in the               2. This insurance does not apply to any insured
         product made intentionally by the vendor;               person or organization, from whom you have
      d. Repackaging, except when unpacked solely                acquired such products, or any ingredient, part
         for   the     purpose       of    inspection,           or container, entering into, accompanying or
         demonstration, testing, or the substitution of          containing such products.
         parts   under    instructions    from      the
         manufacturer, and then repackaged in the          C. With respect to the insurance afforded to these



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  vendors, the following is added to Section III –        Insurance shown in the Declarations;
  Limits Of Insurance:                                  whichever is less.
  If coverage provided to the vendor is required by a   This endorsement shall not increase the applicable
  contract or agreement, the most we will pay on        Limits of Insurance shown in the Declarations.
  behalf of the vendor is the amount of insurance:
  1. Required by the contract or agreement; or
  2. Available under the applicable Limits         of




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Wells Fargo Bank, NA as Trustee for Morgan Stank Bank of 530 Providence Park Dr E location
America
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Choice Hotels International Inc.                             51 Gulf Breeze Pkwy location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Deutsche Bank Trust Company Americas                         35 Bluffton Rd location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Redwood Commercial Mortgage Corp c/o Keycorp Real            35 Bluffton Rd location
Estate Capital Markets, Inc
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
US Bank NA, as Trustee c/o Midland Loan Services             25 Chapel St location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Branch Banking & Trust Co                                    2485 George Busbee Pkwy location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Wells Fargo Bank, NA as Trustee c/o Midland Loan             25 Chapel St location
Services
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Wells Fargo Bank, NA                                         4070 E Main St location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
German American Capital Corp                                 3325 US 41 S location
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

          Name Of Person(s) Or Organization(s)                            Designation Of Premises
Citigroup Global Markets Realty Corp c/o Wells Fargo         25 Chapel St location
Bank
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 18 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ADDITIONAL INSURED –
                 MORTGAGEE, ASSIGNEE OR RECEIVER
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

         Name Of Person(s) Or Organization(s)                             Designation Of Premises
Where Required By Written Contract                           Where Required By Written Contract
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to               alterations, new construction and demolition
   include as an additional insured any person(s) or          operations performed by or for that person or
   organization(s) shown in the Schedule, but only            organization.
   with respect to their liability as mortgagee,
   assignee, or receiver and arising out of the            C. With respect to the insurance afforded to these
   ownership, maintenance, or use of the premises by          additional insureds, the following is added to
   you and shown in the Schedule.                             Section III – Limits Of Insurance:
  However:                                                    If coverage provided to the additional insured is
  1. The insurance afforded to such additional                required by a contract or agreement, the most we
     insured only applies to the extent permitted by          will pay on behalf of the additional insured is the
     law; and                                                 amount of insurance:
  2. If coverage provided to the additional insured is        1. Required by the contract or agreement; or
     required by a contract or agreement, the                 2. Available under the applicable Limits         of
     insurance afforded to such additional insured               Insurance shown in the Declarations;
     will not be broader than that which you are
                                                              whichever is less.
     required by the contract or agreement to
     provide for such additional insured.                     This endorsement shall not increase the applicable
                                                              Limits of Insurance shown in the Declarations.
B. This insurance does not apply to structural




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POLICY NUMBER: 1000305221181                                               COMMERCIAL GENERAL LIABILITY
                                                                                          CG 20 29 04 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       ADDITIONAL INSURED – GRANTOR OF FRANCHISE

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                    SCHEDULE
Name Of Person(s) Or Organization(s):
Where Required By Written Contract
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Section II – Who Is An Insured is amended to            B. With respect to the insurance afforded to these
   include as an additional insured the person(s) or          additional insureds, the following is added to
   organization(s) shown in the Schedule, but only            Section III – Limits Of Insurance:
   with respect to their liability as grantor of a            If coverage provided to the additional insured is
   franchise to you.                                          required by a contract or agreement, the most we
   However:                                                   will pay on behalf of the additional insured is the
                                                              amount of insurance:
  1.    The insurance afforded to such additional
        insured only applies to the extent permitted          1.    Required by the contract or agreement; or
        by law; and                                           2.    Available under the applicable Limits of
  2.    If coverage provided to the additional insured              Insurance shown in the Declarations;
        is required by a contract or agreement, the           whichever is less.
        insurance afforded to such additional insured         This endorsement shall not increase the
        will not be broader than that which you are           applicable Limits of Insurance shown in the
        required by the contract or agreement to              Declarations.
        provide for such additional insured.




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 07 05 14

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                          CAREFULLY.

      EXCLUSION – ACCESS OR DISCLOSURE OF
    CONFIDENTIAL OR PERSONAL INFORMATION AND
   DATA-RELATED LIABILITY – LIMITED BODILY INJURY
             EXCEPTION NOT INCLUDED
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Exclusion 2.p. of Section I – Coverage A –                      stored as or on, created or used on, or
   Bodily Injury And Property Damage Liability is                  transmitted to or from computer software,
   replaced by the following:                                      including    systems      and     applications
                                                                   software, hard or floppy disks, CD-ROMs,
   2. Exclusions                                                   tapes, drives, cells, data processing
      This insurance does not apply to:                            devices or any other media which are used
      p. Access Or Disclosure Of Confidential Or                   with electronically controlled equipment.
         Personal Information And Data-related             B. The following is added to Paragraph 2.
         Liability                                            Exclusions of Section I – Coverage B –
                                                              Personal And Advertising Injury Liability:
          Damages arising out of:
         (1) Any access to or disclosure of any                2. Exclusions
              person's or organization's confidential or          This insurance does not apply to:
              personal information, including patents,            Access Or Disclosure Of Confidential Or
              trade secrets, processing methods,                  Personal Information
              customer lists, financial information,
              credit      card   information,     health          "Personal and advertising injury" arising out of
              information or any other type of                    any access to or disclosure of any person's or
              nonpublic information; or                           organization's     confidential   or    personal
                                                                  information, including patents, trade secrets,
         (2) The loss of, loss of use of, damage to,              processing methods, customer lists, financial
              corruption of, inability to access, or              information, credit card information, health
              inability to manipulate electronic data.            information or any other type of nonpublic
          This exclusion applies even if damages are              information.
          claimed for notification costs, credit                  This exclusion applies even if damages are
          monitoring expenses, forensic expenses,                 claimed for notification costs, credit monitoring
          public relations expenses or any other loss,            expenses, forensic expenses, public relations
          cost or expense incurred by you or others               expenses or any other loss, cost or expense
          arising out of that which is described in               incurred by you or others arising out of any
          Paragraph (1) or (2) above.                             access to or disclosure of any person's or
          As used in this exclusion, electronic data              organization's     confidential   or    personal
          means information, facts or programs                    information.




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POLICY NUMBER: 1000305221181                                               COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 16 04 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  EXCLUSION – DESIGNATED PROFESSIONAL SERVICES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                    SCHEDULE

                                    Description Of Professional Services
1. Any and all professional services


Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


With respect to any professional services shown in         professional service.
the Schedule, the following exclusion is added to          This exclusion applies even if the claims against any
Paragraph 2. Exclusions of Section I – Coverage A          insured allege negligence or other wrongdoing in the
– Bodily Injury And Property Damage Liability and          supervision,   hiring,  employment,      training  or
Paragraph 2. Exclusions of Section I – Coverage B          monitoring of others by that insured, if the
– Personal And Advertising Injury Liability:               "occurrence" which caused the "bodily injury" or
This insurance does not apply to "bodily injury",          "property damage", or the offense which caused the
"property damage" or "personal and advertising             "personal and advertising injury", involved the
injury" due to the rendering of or failure to render any   rendering of or failure to render any professional
                                                           service.




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                                                                          COMMERCIAL GENERAL LIABILITY
                                                                                         CG 21 47 12 07

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,      B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B –
   Injury And Property Damage Liability:                     Personal And Advertising Injury Liability:
   This insurance does not apply to:                          This insurance does not apply to:
   "Bodily injury" to:                                        "Personal and advertising injury" to:
  (1) A person arising out of any:                           (1) A person arising out of any:
     (a) Refusal to employ that person;                         (a) Refusal to employ that person;
     (b) Termination of that person's employment;               (b) Termination of that person's employment;
          or                                                         or
     (c) Employment-related practices, policies,                (c) Employment-related practices, policies,
          acts or omissions, such as coercion,                       acts or omissions, such as coercion,
          demotion,     evaluation,     reassignment,                demotion,      evaluation,     reassignment,
          discipline,    defamation,      harassment,                discipline,    defamation,       harassment,
          humiliation, discrimination or malicious                   humiliation, discrimination or malicious
          prosecution directed at that person; or                    prosecution directed at that person; or
  (2) The spouse, child, parent, brother or sister of        (2) The spouse, child, parent, brother or sister of
      that person as a consequence of "bodily injury"            that person as a consequence of "personal and
      to that person at whom any of the                          advertising injury" to that person at whom any
      employment-related practices described in                  of the employment-related practices described
      Paragraphs (a), (b), or (c) above is directed.             in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                    This exclusion applies:
  (1) Whether the injury-causing event described in          (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before             Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after                     employment, during employment or after
      employment of that person;                                 employment of that person;
  (2) Whether the insured may be liable as an                (2) Whether the insured may be liable as an
      employer or in any other capacity; and                     employer or in any other capacity; and
  (3) To any obligation to share damages with or             (3) To any obligation to share damages with or
      repay someone else who must pay damages                    repay someone else who must pay damages
      because of the injury.                                     because of the injury.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 65 12 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    TOTAL POLLUTION EXCLUSION WITH A BUILDING
  HEATING, COOLING AND DEHUMIDIFYING EQUIPMENT
      EXCEPTION AND A HOSTILE FIRE EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2. Exclusions of                             is or was at any time used by or for any
Section I – Coverage A – Bodily Injury And                                insured or others for the handling,
Property Damage Liability is replaced by the                              storage,    disposal,   processing    or
following:                                                                treatment of waste; or
This insurance does not apply to:                                    (ii) At any premises, site or location on
                                                                          which any insured or any contractors or
f. Pollution                                                              subcontractors working directly or
  (1) "Bodily injury" or "property damage" which                          indirectly on any insured's behalf are
       would not have occurred in whole or part but                       performing operations to test for,
       for the actual, alleged or threatened discharge,                   monitor, clean up, remove, contain,
       dispersal, seepage, migration, release or                          treat, detoxify, neutralize or in any way
       escape of "pollutants" at any time.                                respond to, or assess the effects of,
       This exclusion does not apply to:                                  "pollutants".
      (a) "Bodily injury" if sustained within a building       (2) Any loss, cost or expense arising out of any:
          which is or was at any time owned or                    (a) Request, demand, order or statutory or
          occupied by, or rented or loaned to, any                    regulatory requirement that any insured or
          insured and caused by smoke, fumes,                         others test for, monitor, clean up, remove,
          vapor or soot produced by or originating                    contain, treat, detoxify or neutralize, or in
          from equipment that is used to heat, cool or                any way respond to, or assess the effects
          dehumidify the building, or equipment that                  of, "pollutants"; or
          is used to heat water for personal use, by              (b) Claim or suit by or on behalf of a
          the building's occupants or their guests; or                governmental authority for damages
      (b) "Bodily injury" or "property damage" arising                because of testing for, monitoring, cleaning
          out of heat, smoke or fumes from a "hostile                 up,     removing,    containing,     treating,
          fire" unless that "hostile fire" occurred or                detoxifying or neutralizing, or in any way
          originated:                                                 responding to, or assessing the effects of,
          (i) At any premises, site or location which                 "pollutants".




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 67 12 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily            B. The following exclusion is added to Paragraph 2.
   Injury And Property Damage Liability:                       Exclusions of Section I – Coverage B –
   2. Exclusions                                               Personal And Advertising Injury Liability:
      This insurance does not apply to:                        2. Exclusions
      Fungi Or Bacteria                                            This insurance does not apply to:
      a. "Bodily injury" or "property damage" which                Fungi Or Bacteria
         would not have occurred, in whole or in                   a. "Personal and advertising injury" which
         part, but for the actual, alleged or                         would not have taken place, in whole or in
         threatened inhalation of, ingestion of,                      part, but for the actual, alleged or
         contact with, exposure to, existence of, or                  threatened inhalation of, ingestion of,
         presence of, any "fungi" or bacteria on or                   contact with, exposure to, existence of, or
         within a building or structure, including its                presence of any "fungi" or bacteria on or
         contents, regardless of whether any other                    within a building or structure, including its
         cause, event,        material    or    product               contents, regardless of whether any other
         contributed concurrently or in any sequence                  cause, event,        material    or   product
         to such injury or damage.                                    contributed concurrently or in any sequence
      b. Any loss, cost or expenses arising out of                    to such injury.
         the abating, testing for, monitoring, cleaning            b. Any loss, cost or expense arising out of the
         up,     removing,     containing,     treating,              abating, testing for, monitoring, cleaning up,
         detoxifying, neutralizing, remediating or                    removing, containing, treating, detoxifying,
         disposing of, or in any way responding to,                   neutralizing, remediating or disposing of, or
         or assessing the effects of, "fungi" or                      in any way responding to, or assessing the
         bacteria, by any insured or by any other                     effects of, "fungi" or bacteria, by any
         person or entity.                                            insured or by any other person or entity.
      This exclusion does not apply to any "fungi" or       C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a        Section:
      good or product intended for bodily                      "Fungi" means any type or form of fungus,
      consumption.                                             including mold or mildew and any mycotoxins,
                                                               spores, scents or byproducts produced or
                                                               released by fungi.




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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 21 71 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      EXCLUSION OF OTHER ACTS OF TERRORISM
    COMMITTED OUTSIDE THE UNITED STATES; CAP ON
     LOSSES FROM CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                dispersal or application of pathogenic or
   This insurance does not apply to:                                poisonous biological or chemical materials; or
   TERRORISM                                                    5. Pathogenic or poisonous biological or chemical
                                                                    materials are released, and it appears that one
   "Any injury or damage" arising, directly or                      purpose of the terrorism was to release such
   indirectly, out of an "other act of terrorism" that is           materials.
   committed outside of the United States (including
   its territories and possessions and Puerto Rico),            With respect to this exclusion, Paragraphs 1. and
   but within the "coverage territory". However, this           2. describe the thresholds used to measure the
   exclusion applies only when one or more of the               magnitude of an incident of an "other act of
   following are attributed to such act:                        terrorism" and the circumstances in which the
                                                                threshold will apply for the purpose of determining
   1. The total of insured damage to all types of               whether this exclusion will apply to that incident.
       property exceeds $25,000,000 (valued in U.S.
       dollars).    In    determining    whether     the    B. The following definitions are added:
       $25,000,000 threshold is exceeded, we will              1. For the purposes of this endorsement, "any
       include all insured damage sustained by                    injury or damage" means any injury or damage
       property of all persons and entities affected by           covered under any Coverage Part to which this
       the terrorism and business interruption losses             endorsement is applicable, and includes but is
       sustained by owners or occupants of the                    not limited to "bodily injury", "property
       damaged property. For the purpose of this                  damage", "personal and advertising injury",
       provision, insured damage means damage that                "injury" or "environmental damage" as may be
       is covered by any insurance plus damage that               defined in any applicable Coverage Part.
       would be covered by any insurance but for the           2. "Certified act of terrorism" means an act that is
       application of any terrorism exclusions; or                certified by the Secretary of the Treasury, in
   2. Fifty or more persons sustain death or serious              accordance with the provisions of the federal
       physical injury. For the purposes of this                  Terrorism Risk Insurance Act, to be an act of
       provision, serious physical injury means:                  terrorism pursuant to such Act. The criteria
       a. Physical injury that involves a substantial             contained in the Terrorism Risk Insurance Act
           risk of death; or                                      for a "certified act of terrorism" include the
                                                                  following:
       b. Protracted       and     obvious      physical
           disfigurement; or                                      a. The act resulted in insured losses in excess
                                                                      of $5 million in the aggregate, attributable to
       c. Protracted loss of or impairment of the                     all types of insurance subject to the
           function of a bodily member or organ; or                   Terrorism Risk Insurance Act;
   3. The terrorism involves the use, release or                   b. The act resulted in damage:
      escape of nuclear materials, or directly or
      indirectly results in nuclear reaction or radiation             (1) Within the United States (including its
      or radioactive contamination; or                                    territories and possessions and Puerto
                                                                          Rico); or
   4. The terrorism is carried out by means of the


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        (2) Outside of the United States in the case             individual or individuals and that appears to be
             of:                                                 part of an effort to coerce a civilian population
            (a) An air carrier (as defined in Section            or to influence the policy or affect the conduct
                 40102 of title 49, United States                of any government by coercion, and the act is
                 Code) or United States flag vessel              not a "certified act of terrorism".
                 (or a vessel based principally in the           Multiple incidents of an "other act of terrorism"
                 United States, on which United                  which occur within a seventy-two hour period
                 States income tax is paid and whose             and appear to be carried out in concert or to
                 insurance coverage is subject to                have a related purpose or common leadership
                 regulation in the United States),               shall be considered to be one incident.
                 regardless of where the loss occurs;     C. The terms and limitations of any terrorism
                 or                                          exclusion, or the inapplicability or omission of a
            (b) The premises of any United States            terrorism exclusion, do not serve to create
                 mission; and                                coverage for injury or damage that is otherwise
      c. The act is a violent act or an act that is          excluded under this Coverage Part.
         dangerous to human life, property or             D. If aggregate insured losses attributable to terrorist
         infrastructure and is committed by an               acts certified under the federal Terrorism Risk
         individual or individuals as part of an effort      Insurance Act exceed $100 billion in a calendar
         to coerce the civilian population of the            year and we have met our insurer deductible
         United States or to influence the policy or         under the Terrorism Risk Insurance Act, we shall
         affect the conduct of the United States             not be liable for the payment of any portion of the
         Government by coercion.                             amount of such losses that exceeds $100 billion,
   3. "Other act of terrorism" means a violent act or        and in such case insured losses up to that amount
      an act that is dangerous to human life, property       are subject to pro rata allocation in accordance
      or infrastructure that is committed by an              with procedures established by the Secretary of
                                                             the Treasury.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 21 84 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           EXCLUSION OF CERTIFIED NUCLEAR,
     BIOLOGICAL, CHEMICAL OR RADIOLOGICAL ACTS
     OF TERRORISM; CAP ON LOSSES FROM CERTIFIED
                 ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                terrorism pursuant to such Act. The criteria
   This insurance does not apply to:                                contained in the Terrorism Risk Insurance Act
                                                                    for a "certified act of terrorism" include the
   TERRORISM                                                        following:
   "Any injury or damage" arising, directly or                      a. The act resulted in insured losses in excess
   indirectly, out of a "certified act of terrorism".                   of $5 million in the aggregate, attributable to
   However, this exclusion applies only when one or                     all types of insurance subject to the
   more of the following are attributed to such act:                    Terrorism Risk Insurance Act; and
   1. The terrorism involves the use, release or                    b. The act is a violent act or an act that is
       escape of nuclear materials, or directly or                      dangerous to human life, property or
       indirectly results in nuclear reaction or radiation              infrastructure and is committed by an
       or radioactive contamination; or                                 individual or individuals as part of an effort
   2. The terrorism is carried out by means of the                      to coerce the civilian population of the
       dispersal or application of pathogenic or                        United States or to influence the policy or
       poisonous biological or chemical materials; or                   affect the conduct of the United States
   3. Pathogenic or poisonous biological or chemical                    Government by coercion.
       materials are released, and it appears that one       C. The terms and limitations of any terrorism
       purpose of the terrorism was to release such             exclusion, or the inapplicability or omission of a
       materials.                                               terrorism exclusion, do not serve to create
                                                                coverage for injury or damage that is otherwise
B. The following definitions are added:
                                                                excluded under this Coverage Part.
   1. For the purposes of this endorsement, "any
      injury or damage" means any injury or damage           D. If aggregate insured losses attributable to terrorist
      covered under any Coverage Part to which this             acts certified under the federal Terrorism Risk
      endorsement is applicable, and includes but is            Insurance Act exceed $100 billion in a calendar
      not limited to "bodily injury", "property                 year and we have met our insurer deductible
      damage", "personal and advertising injury",               under the Terrorism Risk Insurance Act, we shall
      "injury" or "environmental damage" as may be              not be liable for the payment of any portion of the
      defined in any applicable Coverage Part.                  amount of such losses that exceeds $100 billion,
                                                                and in such case insured losses up to that amount
   2. "Certified act of terrorism" means an act that is         are subject to pro rata allocation in accordance
      certified by the Secretary of the Treasury, in            with procedures established by the Secretary of
      accordance with the provisions of the federal             the Treasury.
      Terrorism Risk Insurance Act, to be an act of




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 93 07 04

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                   EXTENDED REPORTING PERIOD FOR
                        TERRORISM COVERAGE
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART (CLAIMS-MADE VERSION)
   LIQUOR LIABILITY COVERAGE PART (CLAIMS-MADE VERSION)
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART (CLAIMS-MADE VERSION)
   UNDERGROUND STORAGE TANK POLICY


The following provision is added and supersedes any      c. That claim is for any injury or damage arising out
provision to the contrary when an exclusion of               of the incident of terrorism and it is made within 5
terrorism contained in a Conditional Exclusion of            years after the date the conditional exclusion went
Terrorism endorsement attached to this policy goes           into effect;
into effect.                                             that claim will be considered to have been first made
If:                                                      prior to the time that the conditional exclusion went
                                                         into effect.
a. An incident of terrorism occurred before the
    conditional exclusion went into effect, but not      This provision does not apply to claims covered by
    before November 26, 2002;                            subsequent insurance you purchase, or that would
                                                         have been covered but for the exhaustion of the
b. A claim arising out of that incident would have       amount of insurance applicable to such claims.
    been covered under the provisions of this
    insurance had the claim been made prior to the       The phrase, any injury or damage, means "any injury
    conditional exclusion taking effect; and             or damage" as defined in a Conditional Exclusion of
                                                         Terrorism endorsement.




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POLICY NUMBER: 1000305221181                                                COMMERCIAL GENERAL LIABILITY
                                                                                           CG 22 74 10 01

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     LIMITED CONTRACTUAL LIABILITY COVERAGE FOR
           PERSONAL AND ADVERTISING INJURY
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

 Designated Contract Or Agreement:
 Per schedule on file with this Company.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)

A. With respect to the contract or agreement                              (2) Liability for "personal and advertising
   designated in the Schedule above, Subparagraph                             injury" if:
   e. of Paragraph 2. Exclusions of Section I –                              (a) The liability pertains to your
   Coverage B – Personal And Advertising Injury                                   business and is assumed in the
   Liability is replaced by the following:                                        designated contract or agreement
   2. Exclusions                                                                  shown in the Schedule in which
                                                                                  you assume the tort liability of
      This insurance does not apply to:                                           another. Tort liability means a
      e. Contractual Liability                                                    liability that would be imposed by
         "Personal and advertising injury" for which                              law in the absence of any
         the insured has assumed liability in a                                   contract or agreement;
         contract or agreement.                                              (b) The "personal and advertising
          This exclusion does not apply to:                                       injury" occurs subsequent to the
                                                                                  execution of the designated
            (1) Liability for damages that the insured                            contract or agreement shown in
                would have in the absence of the                                  the Schedule; and
                contract or agreement; or
                                                                             (c) The "personal and advertising
                                                                                  injury" arises out of the offenses
                                                                                  of false arrest, detention or
                                                                                  imprisonment.




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                Solely for the purposes of liability so           5. The indemnitee and the insured ask us to
                assumed in such designated contract or               conduct and control the defense of that
                agreement, reasonable attorney fees                  indemnitee against such "suit" and agree that
                and necessary litigation expenses                    we can assign the same counsel to defend the
                incurred by or for a party other than an             insured and the indemnitee; and
                insured are deemed to be damages                  6. The indemnitee:
                because of "personal injury" described               a. Agrees in writing to:
                in Paragraph A.2.e.(2)(c) above,
                provided:                                              (1) Cooperate with us in the investigation,
                                                                           settlement or defense of the "suit";
                    (i) Liability to such party for, or for
                        the cost of, that party's defense              (2) Immediately send us copies of any
                        has also been assumed in the                       demands, notices, summonses or legal
                        same designated contract or                        papers received in connection with the
                        agreement; and                                     "suit";
                   (ii) Such attorney fees and litigation              (3) Notify any other insurer whose coverage
                        expenses are for defense of that                   is available to the indemnitee; and
                        party against a civil or alternative           (4) Cooperate with us with respect to
                        dispute resolution proceeding in                   coordinating other applicable insurance
                        which damages to which this                        available to the indemnitee; and
                        insurance applies are alleged.
                                                                       b. Provides us with written authorization to:
B. With respect to the contract or agreement                              (1) Obtain records and other information
   designated in the Schedule above, the following is                         related to the "suit"; and
   added to Section I – Supplementary Payments
   – Coverages A And B:                                                   (2) Conduct and control the defense of the
                                                                              indemnitee in such "suit".
   If we defend an insured against a "suit" and an
   indemnitee of the insured is also named as a party             So long as the above conditions are met,
   to the "suit", we will defend that indemnitee if all of        attorneys fees incurred by us in the defense of that
   the following conditions are met:                              indemnitee, necessary litigation expenses incurred
   1. The "suit" against the indemnitee seeks                     by us and necessary litigation expenses incurred
       damages for which the insured has assumed                  by the indemnitee at our request will be paid as
       tort liability of the indemnitee in a designated           Supplementary Payments. Notwithstanding the
       contract or agreement shown in the Schedule,               provisions of Paragraph A.2.e.(2) of this
       if such liability pertains to your business. Tort          endorsement, such payments will not be deemed
       liability means a liability that would be imposed          to be damages for "personal and advertising
       by law in the absence of any contract or                   injury" as described in Paragraph A.2.e.(2)(c)
       agreement;                                                 above and will not reduce the limits of insurance.
   2. This insurance applies to such liability                    Our obligation to defend an insured's indemnitee
       assumed by the insured;                                    and to pay for attorneys fees and necessary
                                                                  litigation expenses as Supplementary Payments
   3. The obligation to defend, or the cost of the
                                                                  ends when:
       defense of, that indemnitee, has also been
       assumed by the insured in the same                         1. We have used up the applicable limit of
       designated contract or agreement;                               insurance in the payment of judgments or
   4. The allegations in the "suit" and the information                settlements; or
       we know about the offense are such that no                 2. The conditions set forth above, or the terms of
       conflict appears to exist between the interests               the agreement described in Paragraph 6.
       of the insured and the interests of the                       above, are no longer met.
       indemnitee;




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POLICY NUMBER: 1000305221181                                              COMMERCIAL GENERAL LIABILITY
                                                                                         CG 24 04 05 09


      WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                  SCHEDULE

Name Of Person Or Organization:
 Any person or organization to whom you become obligated to waive your rights of recovery against, under any
 contract or agreement you enter into prior to the occurrence of loss.
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

The following is added to Paragraph 8. Transfer Of
Rights Of Recovery Against Others To Us of Section
IV – Conditions:
We waive any right of recovery we may have against the
person or organization shown in the Schedule above
because of payments we make for injury or damage
arising out of your ongoing operations or "your work"
done under a contract with that person or organization
and included in the "products-completed operations
hazard". This waiver applies only to the person or
organization shown in the Schedule above.




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                                                                                                                    REDACTED

                 Dallas, TX 1-866-519-2522



                        Composite Rating Plan Premium Endorsement

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.

                                       Commercial General Liability Coverage Form
                                           Business Auto Coverage Form


The Class Code, Premium Basis, and Rate section of the Policy Declarations is changed to apply as
follows:

A. The premium for this policy will be computed upon a composite basis as shown below in accordance with our
   rules, rates, rating plans, premiums and minimum premiums and the other policy terms.

            Premium
 Coverage     Type    Estimated Basis                Composite                 Estimated                     Minimum         Deposit
(CGL or BA) (S or NS)   of Premium                    Rate(s)                  Premium                       Premium        Premium
Vacant Land
    Hotel
   Rooms
                                                            Totals:

B. The Composite Rate(s) shown above apply per 1 of Units, (a basis of premium type defined below or on page
   2 of this endorsement).

C. If no number or no basis of premium type is inserted, for Commercial General Liability Insurance (CGL
   Coverage) the rate shall apply per 1000 of "Sales"; or for Business Auto Insurance (BA Coverage) the rate
   shall apply per 1 Unit where "Unit" means a powered covered "auto".

D. If "Sales" is selected as the basis of premium, such "Sales" will include both foreign and domestic sales and
   sales by one named insured to another unless otherwise indicated by "x" below:

             "Sales" do NOT include foreign sales.
             "Sales" do NOT include sales by one named insured to another.

E. If "Units" is selected as the basis of premium, a Unit is a(n) Hotel Room.

F. Other Basis of Premium Type: (Define herein or in "Exceptions" on Page 3)

G. DEFINITIONS OF "BASIS OF PREMIUM TYPE" (Subject to "Exceptions", if any, described below)

    1. Admissions means the total number of persons, other than you, your partners and your employees,
       admitted during the policy period, to events conducted on premises you own, rent, lease, or otherwise
       control, whether on paid admission tickets, complimentary tickets or passes.


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    2. Cost means the total cost to you for all work performed for you during the policy period by independent
       contractors and their subcontractors at all levels, including the cost of all labor, materials, equipment and
       supplies furnished, used or delivered for use in the execution of such work, whether furnished by the
       owner, by contractors or subcontractors at any level, including, but not limited to, all fees, allowances,
       bonuses, and commissions either made, paid or due, as well as taxes other than taxes which you collect
       as a separate item and remit directly to a governmental division.

    3. Receipts means the gross amount of money you have charged others for work that you, your partners,
       your employees, your contractors and subcontractors at all levels have performed during the policy
       period, including taxes other than taxes which you collect as a separate item and remit directly to a
       governmental division.

    4. Remuneration or Payroll means all of the money or the substitute for money earned during the policy
       period by you if you are the proprietor of the insured business, by all partners if you are a partnership or
       by all members if you are a Limited Liability Company, and by all your employees for their services to you
       during the policy period, subject to the following:

             Total Gross Remuneration or Payroll, without limitation; or
             Determined and limited in accordance with our Workers' Compensation Insurance Manual's rules
             respectively for the states in which you have employment; or
             Determined and limited in accordance with our General Liability Insurance Manual's rules respectively
             for the states in which you have employment.

    5. Sales means the gross amount of money you or others trading in your name have charged for all goods
       and services you or they have sold or distributed during the policy period, including charges for delivery,
       installation, service and repair, and including taxes other than taxes which you or such others collect as a
       separate item and remit directly to a governmental division.

    6. Units means the number of items of the types specified in this endorsement.

         a. Units that you hold for use in your business shall mean half the sum of their number at the
            policy's inception and their number at its expiration or termination, (if terminated then pro-rated by the
            fraction of an annual period that the policy remained in effect).
         b. Units that you sell to others whether for your own account or the account of another, shall mean
            the total number of such units that you sell during the policy term.

    7. Other Definitions

         a. Subject is a Premium Type that is subject to adjustment under a retrospective rating plan described
            in an endorsement attached to the policy. "Subject" is signified on Page 1 by a Premium Type "S".

         b. Non-Subject is a Premium Type that is NOT subject to adjustment under a retrospective rating plan
            described in an endorsement attached to the policy. "Non-Subject" is signified on Page 1 by a
            Premium Type "NS".

         c. Exceptions:Vacant Land - Acreage




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                                                         Exhibit 3
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All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                                        Primary and Non-Contributory Condition

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured:Banyan Tree Management, LLC


This endorsement modifies insurance provided under the:

                                     Commercial General Liability Coverage Part


A. SECTION IV – CONDITIONS, condition 4. Other Insurance is amended as follows:
    1. The following is added to paragraph 4.a. of the Other Insurance condition:
         This insurance is primary insurance as respects our coverage to the additional insured, where the written
         contract or written agreement requires that this insurance be primary and non-contributory. In that event,
         we will not seek contribution from any other insurance policy available to the additional insured on which
         the additional insured is a Named Insured.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                            CAREFULLY

                                                                              Broad Form Named Insured
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured:Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.


                                    Commercial General Liability Coverage Form


  Policy Declarations, "Named Insured" is revised to include:

  "Named Insured" means the person or organization first named as the Named Insured on the
  Declarations Page of this policy (the "First Named Insured").

  Named Insured also includes (1) any other person or organization named as a Named Insured on the
  Declarations Page;

  (2) any subsidiary, associated, affiliated, allied or acquired company or corporation (including
      subsidiaries thereof) of which any insured named as the Named Insured on the Declarations Page
      has more than 50% ownership interest in or exercises management or financial control over at the
      inception date of this policy, or perform substantially similar operations as the first named insured.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 Dallas, TX 1-866-519-2522



                  Unintentional Errors and Omissions Endorsement

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured:Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.


                                       Commercial General Liability Coverage Form

Section IV - Commercial General Liability Conditions, 6. – Representations is amended by adding:

The unintentional failure by you or any Insured to provide accurate and complete representations as of the
inception of the policy will not prejudice the coverages afforded by this policy.*


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                     Dallas, TX 1-866-519-2522



                                          Amendment of Limits of Insurance
                               (Per Project or Per Location Aggregate Limit)
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies insurance provided under the following:

                                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM

I.     Your policy is amended to include either a Per Project General Aggregate Limit, a Per Location General
      Aggregate Limit or a Per Project and Per Location General Aggregate Limit. Please select only one of the
      following:

         1.
                 [ ]       Per Project General Aggregate Limit
                 [X]       Per Location General Aggregate Limit                                                                 $ 2,000,000

                 [     ]   Per Project and Per Location General Aggregate Limit

         2.
                 [     ]   Overall Policy Aggregate Limit



IF NEITHER OF THESE BOXES ARE CHECKED, THIS ENDORSEMENT IS VOID. IF MORE THAN ONE OF
THE THESE BOXES ARE CHECKED, THIS ENDORSEMENT IS VOID.


II.    SECTION III – LIMITS OF INSURANCE, is amended to include the following:

        1.     The Limits of Insurance and the rules below fix the most we will pay regardless of the number of:

                     a. Insureds;
                     b. Claims made or "suits" brought; or
                     c. Persons or organizations making claims or bringing "suits".


        2.     The General Aggregate Limit is the most we will pay for the sum of:

                     a. Medical expenses under Coverage C;
                     b. Damages under Coverage A, except damages because of "bodily injury" or "property
                        damage" included in the products-completed operations hazard"; and
                     c. Damages under Coverage B.

        3.     Persons or organizations making claims or bringing "suits".

        4.     The Products-Completed Operations Aggregate Limit is the most we will pay under Coverage A for
               damages because of "bodily injury" and "property damage" included in the "products-completed
               operations hazard".

        5.     Subject to 2 above, the Personal and Advertising Injury Limit is the most we will pay under
OG 139 (07/11)                                                                                                                                Page 1 of 3


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                  Dallas, TX 1-866-519-2522


               Coverage B for the sum of all damages because of all "personal and advertising injury" sustained
               by any one person or organization.

        6.     Subject to 2 or 3 above, whichever applies, the Each Occurrence Limit is the most we will pay for
               the sum of:

                   a. Damages under Coverage A; and
                   b. Medical expenses under Coverage C because of all "bodily injury" and "property damage"
                      arising out of any one “occurrence”.

        7.     Subject to 5 above, the Damage to Premises Rented to You Limit is the most we will pay under
               Coverage A because of "property damage" to any one premises, while rented to you, or in the case
               of damage by fire, while rented to you or temporarily occupied by you with permission by the owner.

        8.     Subject to 5 above, the Medical Expense Limit is the most we will pay under Coverage C for all
               medical expenses because of "bodily injury" sustained by any one person.

        9.    Subject to 2, 4, 5, 6, and/or 7 above, the Per Project Aggregate Limit is the most we will pay under
              Coverages A, B, and C combined for the sum of:

                   a. Damages under Coverage A;
                   b. Damages under Coverage B; and
                   c. Medical expenses under Coverage C

               arising out of the any single Location described above.

        10. Subject to 2, 4, 5, 6, and/or 7 above, the Per Location Aggregate Limit is the most we will pay under
            Coverages A, B, and C combined for the sum of:

                   d. Damages under Coverage A;
                   e. Damages under Coverage B; and
                   f. Medical expenses under Coverage C

                  arising out of the any single Location described above.

        11. The Overall Policy Aggregate is the most we will pay in any policy period regardless of number of
            projects or locations.
       The Limits of Insurance of this Coverage Part apply separately to each consecutive annual period and to
       any remaining period of less than 12 months, starting with the beginning of the policy period shown in the
       Declarations, unless the policy period is extended after issuance for an additional period of less than 12
       months. In that case, the additional period will be deemed part of the last preceding period for purposes of
       determining the Limits of Insurance.
III. The Limits of Insurance shown in the Declarations are deleted in their entirety and replaced by the Limits of
     Insurance set forth below.
                                                                       Limits of Insurance
 General Aggregate Limit                                                $ 2,000,000
 Each Occurrence Limit                                                  $ 1,000,000
 Products-Completed Operations Aggregate Limit                          $ 2,000,000
 Personal & Advertising Injury Limit                                    $ 1,000,000
 Damage to Premises Rented to You                                       $ 1,000,000
 Medical Expense Limit                                                  $ 10,000
 Overall Policy Aggregate Limit Capped At                               $ 10,000,000


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                 Dallas, TX 1-866-519-2522




IV.    SECTION V – DEFINITIONS: is amended to include the following:

             23. "Location" means premises involving the same or connecting lots, or premises whose
             connection is interrupted only by a street, roadway, waterway, or right-of-way railroad.



All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 Dallas, TX 1-866-519-2522


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



                                                     EARLY NOTICE OF CANCELLATION
                                                                   PROVIDED BY US

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC

This endorsement modifies insurance provided under the following:

                                    Commercial General Liability Coverage Form


COMMON POLICY CONDITIONS, A. - Cancellation, 2. is amended to read:

2. We may cancel this policy by mailing or delivering to the first Named Insured written notice of
   cancellation at least:

       a. (10)* days before the effective date of cancellation if we cancel for nonpayment of premium; or

       b. (30)* days before the effective date of cancellation if we cancel for any other reason.

    * The notice period provided shall not be less than that required by applicable state laws.



All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 Dallas, TX 1-866-519-2522


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                            CAREFULLY

                                                    ASBESTOS AND SILICA EXCLUSION
                                                                    ENDORSEMENT
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies insurance provided under the following:

                                         Commercial General Liability Coverage Form

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
LIABILITY, 2. - Exclusions, and COVERAGE B PERSONAL AND ADVERTISING INJURY
LIABILITY, 2. - Exclusions, are amended to include the following exclusions:

        Asbestos

        "Bodily injury" or "property damage" or "personal and advertising injury" arising out of the
        manufacture of, mining of, use of, sale of, installation of, removal of, distribution of, or
        exposure to asbestos products, asbestos fibers or asbestos dust, or to any obligation of the
        insured to indemnify any party because of "bodily injury" or "property damage" or "personal
        and advertising injury" arising out of the manufacture of, mining of, use of, sale of,
        installation of, removal of, distribution of, or exposure to asbestos products, asbestos fibers
        or asbestos dust.

        Silica

        "Bodily injury" or "property damage" or "personal and advertising injury" or any other loss,
        cost or expense arising out of the presence, ingestion, inhalation or absorption of or
        exposure to silica products, silica fibers, silica dust or silica in any form, or to any obligation
        of the insured to indemnify any party because of "bodily injury" or "property damage" or
        "personal and advertising injury" arising out of the presence, ingestion, inhalation or
        absorption of or exposure to silica products, silica fibers, silica dust or silica in any form.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                           Nehemiah E. Ginsburg, General Counsel




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         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                            CAREFULLY

                                                                                   TOTAL LEAD EXCLUSION

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured:Banyan Tree Management, LLC


This endorsement modifies insurance provided under the following:

                                      Commercial General Liability Coverage Part
                                          Commercial Umbrella Liability

This insurance does not apply to any "bodily injury", "property damage", "personal and advertising injury", or any
other loss, cost or expense arising out of the presence, ingestion, inhalation, or absorption of or exposure to lead
in any form or products containing lead.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                   Dallas, TX 1-866-519-2522


              THIS ENDORSEMENT CHANGES THE POLICY, PLEASE READ
                                 CAREFULLY

                                        BODILY INJURY DEFINITION EXTENSION
                                                             ENDORSEMENT

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC

This endorsement modifies insurance provided under the following:

         COMMERCIAL GENERAL LIABILITY COVERAGE PART

COMMERCIAL GENERAL LIABILITY COVERAGE FORM Section V - Definitions, 3. - "Bodily injury" is amended
to read:
         3.        "Bodily injury" means physical injury, sickness ordisease, including death
                    resulting from any of these; or the following when accompanied by physical
                    injury, sickness or disease: mental anguish; shock; or emotional distress.



All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



              Steve Blakey, President                                        Nehemiah E. Ginsburg, General Counsel




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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                   Violation of Statutes in Connection with Sending,
                     Transmitting or Communicating any Material or
                             Information Exclusionary Endorsement
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.


                                   Commercial General Liability Coverage Form

It is hereby agreed as follows:

1.       SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
         LIABILITY, 2. Exclusions is amended to include the following:

             Violation of Statutes in Connection with Sending, Transmitting or Communicating any
             Material or Information

             “Bodily injury” or “property damage” arising directly or indirectly out of any action or omission
             that violates or is alleged to violate any statute, ordinance, or regulation of any federal, state
             or local government, including any amendment of or addition to such laws, that addresses or
             applies to the sending, transmitting or communicating of any material or information, by any
             means whatsoever.

2.       SECTION I – COVERAGES, COVERAGE B – PERSONAL AND ADVERTISING INJURY LIABILITY, 2.
         Exclusions is amended to include the following:

             Violation of Statutes in Connection with Sending, Transmitting or Communicating any
             Material or Information

             “Personal and advertising injury” arising directly or indirectly out of any action or omission that
             violates or is alleged to violate any statute, ordinance, or regulation of any federal, state or
             local government, including any amendment of or addition to such laws, that addresses or
             applies to the sending, transmitting or communicating of any material or information, by any
             means whatsoever.

ALL OTHER TERMS AND CONDITIONS REMAIN UNCHANGED.

Signed for STARR INDEMNITY & LIABILITY COMPANY



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                 Dallas, TX 1-866-519-2522




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                 Dallas, TX 1-866-519-2522


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                     Expected or Intended Injury Endorsement

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.


                                    Commercial General Liability Coverage Form


  SECTION 1 – COVERAGES, COVERAGE A. BODILY INJURY AND PROPERTY DAMAGE
  LIABILITY, 2. Exclusions, a. Expected or Intended Injury is deleted in its entirety and replaced by the
  following:


"Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion does
not apply to "bodily injury" or "property damage" resulting from the use of force to protect persons or property.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
                                                         CAREFULLY

                                    Insured’s Duties in the Event of a Claim,
                                                          Occurrence or Suit

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.

                                    Commercial General Liability Coverage Form

SECTION IV - Commercial General Liability Conditions, 2. - Duties in the Event of Occurrence, Offense,
Claim or Suit, a. is hereby deleted and replaced with the following:

You must see to it that we are notified as soon as practicable of any "occurrence" or an offense which may result
in a claim. Knowledge of an "occurrence" or an offense by your agent, your servant, or your employee will not in
itself constitute knowledge to you unless the Director of Risk Management (or one with similar or equivalent title)
or his/her designee, at the address shown in the policy declarations, will have received such notice. To the extent
possible notice should include:

How, when and where the "occurrence" or offense took place;
The names and addresses of any injured persons and witnesses; and

The nature and location of any injury or damage arising out of the "occurrence" or offense.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 Dallas, TX 1-866-519-2522


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                                         Newly Acquired or Formed Entities
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.

                                    Commercial General Liability Coverage Form

SECTION II – WHO IS AN INSURED 3. is amended as
Any organization you newly acquire or form, other than a partnership, joint venture or limited liability company,
and over which you maintain ownership or majority interest, will qualify as a Named Insured, if there is no
other similar insurance available to that organization .However:
a. Coverage under this provision is afforded only until the 120th day after you acquire or form the organization, or
to the end of the policy period, whichever is earlier.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                 Dallas, TX 1-866-519-2522


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                                                     Non Owned Watercraft Endorsement
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies the insurance coverage form(s) listed below that have been purchased by you and
evidenced as such on the Declarations page. Please read the endorsement and respective policy(ies) carefully.

                                     Commercial General Liability Coverage Form

SECTION I – COVERAGES, COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. -
            Exclusions, g. - Aircraft, Auto or Watercraft, (2), is amended to read:

(2)    A watercraft you do not own that is:

      (a)     Less than 26 feet long; and

      (b)     Not being used to carry persons or property for a charge.

However, this exception does not apply to watercraft you do not own that is used in any pre-arranged race
or speed contest.


Section II - WHO IS AN INSURED, is amended to add following the last unmarked paragraph: No person is an
insured with respect to any watercraft owned in whole or in part by such person or by a member of his household.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



            Steve Blakey, President                                         Nehemiah E. Ginsburg, General Counsel




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                   Dallas, TX 1-866-519-2522




                       ADDITIONAL INSURED- OWNERS, LESSEES, OR
                          CONTRACTORS - SCHEDULED PERSON OR
                                                ORGANIZATION
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                                                       SCHEDULE

NAME OF PERSON OR ORGANIZATION:
. Where Required By Written Contract

(If no entry appears above, information required to complete this endorsement will be shown in the
Declarations as applicable to the endorsement.)

   A.    SECTION II -WHO IS AN INSURED is amended to include as an insured;
         The person or organization shown in the schedule, but only with respect to liability arising out
         of your ongoing operations performed for that additional insured.
   B.    With respect to the insurance afforded to these additional insureds, SECTION I -
         COVERAGES, COVERAGE A - BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2.
         -Exclusions, is amended to include the following additional exclusion;
         This insurance does not apply to "bodily injury" or "property damage" occurring after:
         (1) all work, including materials, parts or equipment furnished in connection with such work,
             on the project (other than service, maintenance or repairs) to be performed by or on
             behalf of the additional insured(s) at the site of the covered operations has been
             completed; or,
         (2)     that portion of "your work" out of which the injury or damage arises has been put to its
                 intended use by any person or organization other than another contractor or
                 subcontractor engaged in performing operations for a principal as a part of the same
                 project.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                            Nehemiah E. Ginsburg, General Counsel




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                  Dallas, TX 1-866-519-2522



                              ADDITIONAL INSURED - WHERE REQUIRED
                                    UNDER CONTRACT OR AGREEMENT
Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC


This endorsement modifies insurance provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE FORM

SECTION II - WHO IS AN INSURED, is amended to include as an additional insured:

   Any person or organization to whom you become obligated to include as en additional insured under this
   policy, as a result of any contract or agreement you enter into which requires you to furnish insurance to that
   person or organization of the type provided by this policy, but only with respect to liability arising out of your
   operations or premises owned by or rented to you. However, the insurance provided will not exceed the lesser
   of:

         •        The coverage and/or limits of this policy, or
         •        The coverage and/or limits required by said contract or agreement.

All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



             Steve Blakey, President                                        Nehemiah E. Ginsburg, General Counsel




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                    Dallas, TX 1-866-519-2522



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                ADDITIONAL INSURED – DESIGNATED
                                                        PERSON OR ORGANIZATION

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                   SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s)
 Where Required By Written Contract
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
shown in the Schedule, but only with respect to liability for "bodily injury", "property damage" or "personal and
advertising injury" caused, in whole or in part, by your acts or omissions or the acts or omissions of those acting
on your behalf:
A. In the performance of your ongoing operations; or
B. In connection with your premises owned by or rented to you.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                            Nehemiah E. Ginsburg, General Counsel




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                                                           Exhibit 3
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                    Dallas, TX 1-866-519-2522



      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                ADDITIONAL INSURED – DESIGNATED
                                                        PERSON OR ORGANIZATION

Policy Number: 1000305221181        Effective Date: July 31, 2018 at 12:01 A.M.
Named Insured: Banyan Tree Management, LLC



                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                                   SCHEDULE

Name Of Additional Insured Person(s) Or Organization(s)
 HD Realty, LLC
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
shown in the Schedule, but only with respect to liability for "bodily injury", "property damage" or "personal and
advertising injury" caused, in whole or in part, by your acts or omissions or the acts or omissions of those acting
on your behalf:
A. In the performance of your ongoing operations; or
B. In connection with your premises owned by or rented to you.


All other terms and conditions of this Policy remain unchanged.

Signed for STARR INDEMNITY & LIABILITY COMPANY



           Steve Blakey, President                                            Nehemiah E. Ginsburg, General Counsel




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                                                           Exhibit 3
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